         Case: 22-1511       Document: 4            Filed: 04/15/2022      Pages: 207


                                          NO. 22-1511


                 U.S. COURT OF APPEALS for the SEVENTH CIRCUIT



In Re Hanson Aggregates Midwest, Inc., Lehigh Hanson Services LLC, Lehigh Hanson, Inc. and
                              Captain Kenneth L. Stubbs,
                                        Petitioners



On Petition for a Writ of Mandamus to the United States District Court for the Northern District
                             of Illinois in No. 1:21-cv-03936-SLE



                                 RESPONSE OF
                  REAL PARTY IN INTEREST, MARIANA M. OCOHA




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                Case: 22-1511                 Document: 4                        Filed: 04/15/2022                    Pages: 207


                                                             Table of Contents

Table of Contents ........................................................................................................................... ii

Table of Authorities ..................................................................................................................... iii

Summary of the Argument............................................................................................................. 1

Facts ............................................................................................................................................... 2

Procedural History ......................................................................................................................... 3

Argument ...................................................................................................................................... 5

           I.          The District Court’s order remanding the matter to state court is not reviewable by
                       this Court. .............................................................................................................. 5

           II.         The District Court properly remanded Plaintiff’s in personum claim pursuant to the
                       Savings to Suitors Clause....................................................................................... 6

           III.        The District Court properly remanded Plaintiff’s claim pursuant to § 1447(c) based
                       on a lack of subject matter jurisdiction due to the Savings to Suitors Clause. ...... 9


Conclusion............................................................................................................. ...................... 11

Certificate of Service................................................................................................ ................. . 12




                                                                           ii
              Case: 22-1511                  Document: 4                        Filed: 04/15/2022                   Pages: 207


                                                          Table of Authorities
Cases

Madruga v. Superior Ct., 346 U.S. 556, 560–61 (1954) ............................................................ 1,8

Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 444 (2001) ............................................... 1,8

Curry v. Boeing Co., 542 F. Supp. 3d 804, 819 (N.D. Ill. Mar. 22, 2021) .................................... 2

Brown v. Porter, 149 F.Supp.3d 963, 965-70, 973 (N.D. Ill. 2016) ........................................ 2,7,8

Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 34 (1980)...................................................... 5

Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 26, 31, 35 (1943) .................................................. 5

Cheney v. United States District Court, 542 U.S. 367, 379-81 (2004) .......................................... 5

Holmstrom v. Peterson, 492 F.3d 833, 839 (7th Cir. 2007) .......................................................... 5

Kircher v. Putnam Funds Trust, 547 U.S. 633, 126 S.Ct. 2145, 2153 (2006)............................... 5

Osborn v. Haley, 549 U.S. 225, 127 S.Ct. 881, 895-96, (2007) .................................................... 6

Thermtron, 423 U.S. at 351, 96 S.Ct. 584 ..................................................................................... 6

Lu Junhong v. Boeing Co., 792 F.3d 805, 379-380 (2015) ........................................................ 6,8

In re Chimenti, 79 F.3d 534, 537-38 (6th Cir. 1996) .................................................................. 7,9

Romero v. International Terminal Operating Co., 358 U.S. 354, 371-72 (1959) ......................... 7

In re Lockheed Martin Corp., 503 F.3d 351, 354 (4th Cir. 2007), cert. denied, 553 U.S. 1017
(2008) ............................................................................................................................................. 9

In re Dutile, 935 F.2d 61, 65 (5th Cir.1991) ................................................................................. 9

In re Burlington N. Santa Fe Ry. Co., 606 F.3d 379, 380 (7th Cir. 2010)..................................... 9

Rockwell Intern. Corp. v. U.S., 549 U.S. 457, 473-74 (2007) ..................................................... 10

Wellness Cmty—Nat'l v. Wellness House, 70 F.3d 46, 49 (7th Cir.1995) ................................... 10

Jass v. Prudential Healthcare Plan, Inc., 88 F.3d 1482, 1492 (7th Cir.1996) ............................ 10

Perez v. Arcobaleno Pasta Machs., Inc., 261 F. Supp. 2d 997, 999–1000 (N.D. Ill. 2003) ........ 10


                                                                         iii
             Case: 22-1511                  Document: 4                       Filed: 04/15/2022                   Pages: 207


Schur v. L.A. Weight Loss Ctrs., Inc., 577 F.3d 752, 759 (7th Cir. 2009) ................................... 10

Johnlewis v. Apache Indus. Servs., Inc., No. 21-504, 2021 WL 6112558, at *3–4 (E.D. La. Dec.
27, 2021) ...................................................................................................................................... 10



Statutes

28 U.S.C. § 1447(d) ....................................................................................................................... 1

28 U.S.C. § 1442 ......................................................................................................................... 1,5

28 U.S.C. § 1443 ......................................................................................................................... 1,5

28 U.S.C. § 1333(1) ......................................................................................................... 1,2,7,8,11

28 U.S.C. § 1447(c) ............................................................................................................ 5,6,9,11

28 U.S.C. § 1441 ......................................................................................................................... 6,7

28 U.S.C. § 1333 ............................................................................................................................ 7

28 U.S.C. § 1332(a) ....................................................................................................................... 8

28 U.S.C. § 1441(b) ....................................................................................................................... 8

28 U.S.C. § 1447(e) ..................................................................................................................... 10




                                                                        iv
         Case: 22-1511        Document: 4            Filed: 04/15/2022       Pages: 207


                                 SUMMARY OF ARGUMENT
       The petition suffers three fatal flaws. First, 28 U.S.C. § 1447(d) explicitly states that an

“order remanding a case to the State court from which it was removed is not reviewable on appeal

or otherwise, except that an order remanding a case to the State court from which it was removed

pursuant to §1442 or §1443 of this title shall be reviewable by appeal or otherwise.” Therefore,

the district court’s decision to remand Plaintiff’s in personam wrongful death claim is not

reviewable by this Court.

       Second, Defendants have a fundamental misunderstanding of the “exclusive” jurisdiction

provided to federal courts over maritime matters. 28 U.S.C. § 1333(1) provides a federal court

with exclusive jurisdiction over “[a]ny civil case of admiralty or maritime jurisdiction, saving to

suitors in all cases all other remedies to which they are otherwise entitled.” Defendants fail to

acknowledge that 28 U.S.C. §1331(1) provides the federal court with “exclusive” jurisdiction

“only as to those maritime causes of action begun and carried on as proceedings in rem, that is,

where a vessel or thing is itself treated as the offender and made the defendant.” (Exhibit B,

District Court March 9, 2022 Order granting motion to remand pg.6; quoting Madruga v. Superior

Ct., 346 U.S. 556, 560–61 (1954).

       As the district court properly held, the Savings to Suitors Clause contained within 28

U.S.C. § 1333(1) serves “‘as a grant to state courts of in personam jurisdiction, concurrent with

admiralty courts.’” (Exh. B. pg.6; quoting Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438,

444 (2001). In other words, “in in personam cases like respondent’s wrongful death case, state

and federal courts have concurrent jurisdiction over admiralty claims.” (Exh. B, pg.6; citing

Madruga, 346 U.S. at 560–61 (1954)). The district court properly held “the Savings to Suitors

Clause bar[s] removal of a case filed in state court based solely on admiralty jurisdiction.” (Exh.



                                                 1
           Case: 22-1511        Document: 4            Filed: 04/15/2022        Pages: 207


B, pg.7). Therefore, Defendants’ argument that the federal court has “exclusive jurisdiction” over

this in personam matter finds no support in the law.

          Finally, Defendants’ argument that 28 U.S.C. § 1333(1) provides federal jurisdiction over

state law claims in this matter is in direct conflict with the Savings to Suitors Clause. Again, the

district court properly held that “under the saving to suitors clause, a defendant may only remove

a suit to federal court based on admiralty jurisdiction if an additional basis for federal jurisdiction

exists.” (Exh. B, pg.6; citing Curry v. Boeing Co., 542 F. Supp. 3d 804, 819 (N.D. Ill. Mar. 22,

2021); Brown v. Porter, 149 F. Supp. 3d 963, 969 (N.D. Ill. 2016). Defendants fail to cite any

opinion from this Court, or from a district court within the Circuit, that establishes the federal

court has exclusive jurisdiction over an in personam admiralty matter that was originally filed in

State court absent diversity. Therefore, the district court properly remanded the matter once

diversity was destroyed and the court no longer had jurisdiction pursuant to the Savings to Suitors

Clause.

                                               FACTS

          On July 22, 2020, at approximately 6:40 p.m., Defendant Celio San Gabriel (“San

Gabriel”) was operating a 16-17 foot long open motorboat on the Chicago River with eight

additional passengers, including three adults and five small children. (Exhibit A, Second Amended

Complaint ¶25). All eight occupants of the motorboat were wearing Personal Flotation Devises

(PFD) including the Plaintiff Mariana M. Ochoa (“Mariana” and “Plaintiff”) and seven year-old

Victor Ochoa (“Victor”). (Exh. A, ¶26). At that time, Defendant Captain Kenneth L. Stubbs

(“Stubbs”) was operating the towboat Kiowa (“Kiowa”) which was 76 feet long and 26 feet wide.

(Id. at. ¶ 12). The Kiowa was pushing a barge that was 195 feet long and 35 feet wide, while being

fully loaded with aggregate. (Id. at ¶12). The approximate combined weight of the towboat and



                                                   2
         Case: 22-1511         Document: 4             Filed: 04/15/2022     Pages: 207


barge was more than 500,000 pounds. (Id.). The Second Amended Complaint alleged that

defendant Stubbs was an employee of Defendants Material Service Corporation (“Material”) d/b/a

Hanson Material Service Corporation (“Hanson”), Lehigh Hanson Service LLC. (“Hanson”)

and/or Lehigh Hanson Inc. (“Defendants”) (Id. at ¶13-14).

        According to witness accounts and an investigation by the Illinois Department of Natural

Resources (“IDNR”), the Kiowa was traveling at a speed that created large wakes in the Chicago

River, which was a strict no-wake zone. (Id. at ¶¶35-38). At that time, the wakes created by the

Kiowa and barge washed over the open bow of the motorboat and resulted in it capsizing and the

occupants being thrown overboard. (Id. at ¶33). Victor was trapped underneath the motorboat and

tragically drowned. (Id. at ¶34). A subsequent IDNR investigation concluded that the “cause of

the accident” was the “force of wake” created by the Kiowa and barge. (Id. at ¶38). The

investigation also found that San Gabriel “overload[ed]” the motorboat contributing to the

accident. (Id. at ¶39).

                                    PROCEDURAL HISTORY

        On July 1, 2021, Plaintiff filed her original Complaint in the Circuit Court of Cook County,

Illinois, County Department, under Case No. 2021-L-006726. (21-cv-03936, Dkt. 11, Plaintiff

Motion for leave to amend Exh. 2, Complaint). Plaintiff filed her First Amended Complaint in the

Circuit Court of Cook County on July 22, 2021, correcting a Scribner’s error. (Dkt. 11, Exh. 3).

Plaintiff subsequently filed their Notice of Removal (“Notice”) of Respondent’s original

Complaint on July 24, 2021, and the matter was assigned to this Judge Sara L. Ellis of the United

States District Court, Northern District of Illinois. (Dkt. 1).

        On August 23, 2021, Plaintiff sought leave of court pursuant to Fed. R. Civ. Pro. 15(a) to

file her Second Amended Complaint naming San Gabriel as a defendant. (Dkt. 11, pg.1). Plaintiff’s



                                                   3
         Case: 22-1511        Document: 4            Filed: 04/15/2022        Pages: 207


motion for leave provided a six-page memorandum establishing that her addition of San Gabriel

as defendant was allowed under Rule 15(a), and provided the proposed Second Amended

Complaint which explicitly alleged that San Gabriel was a resident of Chicago, Illinois. (Dkt. 11,

pg.1-6; Dkt. 11, Exh. A, ¶3). On that same day, Plaintiff filed her Motion to remove the matter to

state court based on the district court lacking subject matter jurisdiction pursuant to 28 U.S.C. §

1333(1) under the Savings to Suitors Clause, and based on a lack of complete diversity amongst

the Defendants. (Exhibit C, Motion to remand pg.3-6).

       Defendants failed to object or respond to Plaintiff’s motion, and this district court properly

granted Plaintiff leave to file her Second Amended Complaint adding Defendant San Gabriel on

August 30, 2021. (Dkt. 15). Unbeknownst to Plaintiff or her attorney, on August 8, 2021,

Defendant Hanson had filed a Complaint claiming ownership of the river towboat M/V KIOWA

and barge MSC0103, and seeking exoneration from, or limitation of, liability pursuant to 28 U.S.C.

§ 1333. (21-cv-04295, Dkt. 1, pg.1). On September 9, 2021, Plaintiff and her counsel first received

notice of Hanson’s Complaint and Judge Manish Shah’s Order granting a stay and injunction on

matters related to Hanson’s Complaint. (21-cv-03936 Dkt. 18).

       On January 14, 2022, the limitation case was reassigned to Judge Ellis and the matters were

consolidated. On March 30, 2022, Judge Sarah Ellis granted Plaintiff’s motion to lift the stay and

her motion to remand the matter to state court. (Exh. B). Defendants do not challenge the district

court’s its application of the “Single Claimant Exception” to the Limitation Liability Act, nor do

they question the court’s decision to lift the stay. (Exhibit D, Petition for Writ pg.4). Defendants

also concede the court’s decision to allow Plaintiff leave to file her Second Amended Complaint

adding San Gabriel as a defendant was proper. Finally, Defendants concede that adding San

Gabriel as a defendant destroyed diversity. (Exhibit D, pg.3)



                                                 4
         Case: 22-1511         Document: 4             Filed: 04/15/2022       Pages: 207


                                           ARGUMENT

       “It is not disputed that the remedy of mandamus is a drastic one, to be invoked

only in extraordinary situations.” Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 34 (1980).

The writ is for rare cases in which a district court abuses its power – amounting to “judicial

usurpation.” Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 35 (1943). The Supreme Court has

cautioned that the writ may not be used “as a substitute for the appeal procedure,” id. at 26 (1943)

or to address “inconvenience to the litigants” resulting from decision of Congress that review of

district court orders should happen “only on review of final judgment.” Id. at 31.

       Cheney v. United States District Court, 542 U.S. 367, 380-81 (2004), sets forth a standard

for evaluating a petition for a writ for mandamus. First, the party seeking the writ must have no

other adequate means to attain the relief it desires. Second, that party must show that the right to

issuance of the writ is "clear and indisputable." Third, even if the first two conditions are met,

this Court must also be satisfied that the writ is appropriate under the circumstances.

I.     The District Court’s order remanding the matter to state court is not reviewable by
       this Court.
       First, 28 U.S.C.A. § 1447(d) explicitly states that an “order remanding a case to the State

court from which it was removed is not reviewable on appeal or otherwise, except that an order

remanding a case to the State court from which it was removed pursuant to §1442 or §1443 of this

title shall be reviewable by appeal or otherwise.”

       In Holmstrom v. Peterson, the Court held that defendant was jurisdictionally barred from

appealing the district court’s order remanding the matter. 492 F.3d 833, 839 (7th Cir. 2007). The

Court recognized that the “[a]ny remand order falling within the scope of § 1447(c) lies outside

our jurisdiction, regardless of the correctness of the district court's reasoning.” Id.; citing Kircher

v. Putnam Funds Trust, 547 U.S. 633, 126 S.Ct. 2145, 2153 (2006). The Court “noted that


                                                  5
         Case: 22-1511         Document: 4            Filed: 04/15/2022        Pages: 207


appellate review of a remand order based on a district court's erroneous construction of even a

jurisdictional statute is available ‘[o]nly in the extraordinary case.’” Id.; quoting Osborn v.

Haley, 549 U.S. 225, 127 S.Ct. 881, 895-96, (2007). Instead, the “statute expresses the policy of

Congress to prevent delay in the trial of remanded cases by protracted litigation about jurisdictional

issues or other defects in the removal process by immunizing remand orders ‘issued on the grounds

specified in § 1447(c) from appellate review.” Id, quoting Thermtron, 423 U.S. at 351, 96 S.Ct.

584. Therefore, the district court’s decision to remand Plaintiff’s in personam wrongful death

claim is not reviewable by this Court.

II.    The District Court properly remanded Plaintiff’s in personum claim pursuant to the
       Savings to Suitors Clause.
       Defendants’ petition claims that whether or not the “Savings to Suitors Clause requires an

independent basis for jurisdiction in order for an admiralty case to be removed from state to federal

court” is a “contested question.” (Exh. D. pg.11). Defendants proceed to cite this Court’s decision

in Lu Junhong for apparent support. (Id.); 792 F.3d 805 (7th Cir. 2015). As with Defendants’

original response to the motion for remand, they provide absolutely no analysis or argument in

support of their claim. (Exh. D. pg.11).

       In Lu Junhong, the Seventh Circuit noted that the plaintiffs had not even argued that the

savings to suitors clause applied, and thus the Court’s discussion of it was dicta by its own

admission. 792 F.3d at 379-380 (“Perhaps it would be possible to argue that the saving-to-

suitors clause itself forbids removal, without regard to any language in § 1441. But plaintiffs, who

have not mentioned the saving-to-suitors clause, do not make such an argument. We do not think

that it is the sort of contention about subject-matter jurisdiction that a federal court must resolve

even if the parties disregard it.”). According to Plaintiff’s research, the only District Court within

this Circuit to analyze the Lu Junhong opinion in the context of the savings to suitors clause is the


                                                  6
         Case: 22-1511        Document: 4            Filed: 04/15/2022       Pages: 207


Honorable Judge Gary Feinerman (Judge Feinerman). Brown v. Porter, 149 F.Supp.3d 963 (N.D.

Ill. Feb. 2, 2016).

        In Brown, the plaintiff brought a personal injury action in Cook County against the operator

of a boat that had caused him injuries on Lake Michigan. Id. at 965. The defendant removed the

matter to federal court, claiming admiralty jurisdiction, and the plaintiff sought remand, arguing

that the “saving-to-suitors” clause of Section 1333(1) dictated remand to his state venue. Id. The

Brown court established that “because [the plaintiff] brought this suit in personam against a person

…, the state court has concurrent jurisdiction.” Id. at 968. The court then evaluated whether that

meant the “saving-to-suitors” clause would “prevent removal” and undertook a detailed

examination of the law on that point.

        The Brown court observed that “actions brought in state court under the ‘saving to suitors’

clause are not generally removable … since the entire purpose of the clause was to give claimants

pursuing a common law remedy the ability to choose their forum.” Id. at 968; quoting In re

Chimenti, 79 F.3d 534, 538 (6th Cir. 1996). Section 1333 “provides a basis for federal jurisdiction

in in personam actions if the claimant so chooses, [but] provides no basis for removal if the

claimant does not so choose.” Id. at 969; quoting Chimenti, 79 F.3d at 537-38 (emphasis in

original). In reaching that conclusion, the Sixth Circuit relied on Romero v. International Terminal

Operating Co., where the Supreme Court explained that:

        [T]he historic option of a maritime suitor pursuing a common-law remedy to select
        his forum, state or federal, would be taken away by an expanded view of § 1331,
        since saving-clause actions would then be freely removable under [28 U.S.C.] §
        1441… By making maritime cases removable to the federal courts it would make
        considerable inroads into the traditionally exercised concurrent jurisdiction of the
        state courts in admiralty matters - a jurisdiction which it was the unquestioned aim
        of the saving clause of 1789 to preserve. 358 U.S. 354, 371-72 (1959)




                                                 7
         Case: 22-1511         Document: 4                 Filed: 04/15/2022   Pages: 207


        The Brown court noted that “an exception to this rule provides that a defendant may remove

an admiralty case if there is an independent basis for federal subject matter jurisdiction - i.e., a

basis other than admiralty, such as complete diversity of citizenship with the requisite amount in

controversy under 28 U.S.C. § 1332(a).” Brown, 149 F.Supp.3d at 969; citing Chimenti, 79 F.3d

at 538. Thus, the court held: “[G]iven [the plaintiff’s] election to proceed in state court and his

invocation of § 1333(1)’s saving-to-suitors clause, and also given the lack of any alternative, non-

admiralty ground for federal jurisdiction, [the plaintiff] may forestall removal and insist upon a

remand.” Brown, 149 F. Supp.3d at 973.

        The Brown court also rejected the defendants’ claim that the 2011 amendment to §

1441(b) or the Lu Junhong opinion rendered the above interpretation of the savings to suitors

clause obsolete when it came to federal jurisdiction. Id. at 969-70. The court concluded after

“[h]aving carefully reviewed the arguments both pro and con, this court agrees with the decisions

holding that the amendment to § 1441(b) did not disturb the settled principle that § 1331(1)'s

saving-to-suitors clause allows a plaintiff to forestall removal where the only basis for federal

jurisdiction is the admiralty jurisdiction.” Id. at 970.

        In this matter, the district court also rejected Defendants’ argument by emphasizing that

the “saving to suitors clause serves ‘as a grant to state courts of in personam jurisdiction,

concurrent with admiralty courts.’” (Exh. B, pg.6; quoting Lewis, 531 U.S. at 444). In other words,

“in in personam cases like Mariana’s wrongful death case, state and federal courts have concurrent

jurisdiction over admiralty claims.” (Exh. B, pg.6; citing Madruga, 346 U.S. at 560–61 (1954)

(“Admiralty’s jurisdiction is ‘exclusive’ only as to those maritime causes of action begun and

carried on as proceedings in rem, that is, where a vessel or thing is itself treated as the offender

and made the defendant by name or description in order to enforce a lien. . . . But the jurisdictional



                                                   8
         Case: 22-1511        Document: 4             Filed: 04/15/2022       Pages: 207


act does leave state courts ‘competent’ to adjudicate maritime causes of action in proceedings ‘in

personam,’ that is, where the defendant is a person, not a ship or some other instrument of

navigation.” (citations omitted); see also In re Lockheed Martin Corp., 503 F.3d 351, 354 (4th

Cir. 2007), cert. denied, 553 U.S. 1017 (2008); quoting In re Chimenti, 79 F.3d 534, 537 (6th Cir.

1996) (Thus, “while ‘federal courts have exclusive jurisdiction over in rem actions, federal and

state courts have concurrent jurisdiction over in personam actions, and the effect of the [saving-

to-suitors] clause is to give an in personam plaintiff the choice of proceeding in an ordinary civil

action, rather than bringing a libel in admiralty.”’). Therefore, Defendants unsupported and

undeveloped claim that the Savings to Suitors Clause does not require an independent basis for

removal of admiralty case, should be rejected outright. In re Dutile, 935 F.2d 61, 65 (5th

Cir.1991) (maritime claims not removable without independent federal claim or complete

diversity).

        Undeterred, Defendant concludes by claiming the remand was barred because “diversity

 jurisdiction existed at the time of removal.” Defendant fails to cite any cases or legal precedent

 to support this argument. As explained more fully infra, 28 U.S.C. § 1447(c) allows for remand

 after the 30-day time period for a lack of subject matter jurisdiction.

III.    The District Court properly remanded Plaintiff’s claim pursuant to § 1447(c) based
        on a lack of subject matter jurisdiction due to the Savings to Suitors Clause.

        Defendants appear to have abandoned their argument that Plaintiff’s motion to remand

 was untimely, and now focus on the claim that remand was improper because there was diversity

 at the time of removal. (Exh. D, pg.11-12). Defendants begin by arguing the “well-established

 general rule is that jurisdiction is determined at the time of removal, and nothing filed after

 removal affects jurisdiction”. (Id. at 5; quoting In re Burlington N. Santa Fe Ry. Co., 606 F.3d

 379, 380 (7th Cir. 2010)).


                                                  9
         Case: 22-1511         Document: 4            Filed: 04/15/2022        Pages: 207


       However, the Supreme Court has explicitly held that “when a plaintiff files a complaint in

 federal court and then voluntarily amends the complaint, courts look to the amended complaint

 to determine jurisdiction”. Rockwell Intern. Corp. v. U.S., 549 U.S. 457, 473-74 (2007). In fact,

 the Supreme Court in Rockwell cited the Seventh Circuit’s holding in Wellness Cmty which stated

 “when considering a motion to remand, the amended complaint supersedes the original one, and

 the original complaint has ‘no function in the case.’” Rockwell Intern. Corp, 549 U.S. at 473-74;

 citing Wellness Cmty—Nat'l v. Wellness House, 70 F.3d 46, 49 (7th Cir.1995); see also Jass v.

 Prudential Healthcare Plan, Inc., 88 F.3d 1482, 1492 (7th Cir.1996) (The Court is to determine

 federal jurisdiction solely based on the amended complaint).

       The district court concurred and held that “ §1447(e) provides that ‘[i]f after removal the

plaintiff seeks to join additional defendants whose joinder would destroy subject matter

jurisdiction, the court may deny joinder, or permit joinder and remand the action to the State

court.’” (Exh. B, pg.8; quoting 28 U.S.C. § 1447(e); citing Perez v. Arcobaleno Pasta Machs.,

Inc., 261 F. Supp. 2d 997, 999–1000 (N.D. Ill. 2003) (Section 1447(e) displaces the general rule

that diversity jurisdiction is determined at the time a case is filed with respect to the post-removal

joinder of non-diverse defendants).

       The court emphasized that “[t]his is exactly the situation here: after removal of the case to

federal court, Mariana filed a second amended complaint that named San Gabriel, a non-diverse

party, as an additional defendant.” (Id.); citing Schur v. L.A. Weight Loss Ctrs., Inc., 577 F.3d 752,

759 (7th Cir. 2009) (“[T]he district court may not permit joinder of a nondiverse defendant and

retain jurisdiction.”); Johnlewis v. Apache Indus. Servs., Inc., No. 21-504, 2021 WL 6112558, at

*3–4 (E.D. La. Dec. 27, 2021) (“The Court lacks jurisdiction because Plaintiff originally filed his

claim in state court pursuant to the Savings to Suitors Clause. Although the case was removed



                                                 10
         Case: 22-1511        Document: 4             Filed: 04/15/2022       Pages: 207


based on diversity jurisdiction, diversity has been destroyed by the addition of a non-diverse

defendant. And, because Plaintiff originally filed suit pursuant to the Savings to Suitors Clause

‘exception’ to original jurisdiction, this Court cannot exercise jurisdiction based on § 1333.”).

        Therefore, the district court properly remanded Plaintiff’s claim pursuant to § 1447(c)

based on a lack of subject matter jurisdiction due to the Savings to Suitors Clause and lack of

diversity.

                                         CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that this Court deny the

 Petition for Writ of Mandamus.




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                                                 11
         Case: 22-1511        Document: 4            Filed: 04/15/2022       Pages: 207


                                CERTIFICATE OF SERVICE

        I, the undersigned, counsel for the Real Party of Interest, hereby certify that on April 15,
2022, I electronically filed the foregoing with the Clerk of the Court for the United States Court
of Appeals for the Seventh Circuit by using the CM/ECF System. Participants listed below in the
will be served by the CM/ECF system.

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                                                12
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 1 of 32 PageID #:312
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

 MARIANA M. OCHOA as Independent
 Administrator of the Estate of VICTOR
 LOBATO OCHOA, Deceased,

        Plaintiff,

                 v.                                 Case No. 1:21-cv-03936

 MATERIAL SERVICE CORPORATION                       Judge Sara L. Ellis
 d/b/a HANSON MATERIAL SERVICE
 CORPORATION; LEHIGH HANSON                         Magistrate Judge Sunil R. Harjani
 SERVICES LLC.; HEIDELBERG CEMENT
 GROUP; CAPTAIN KENNETH L. STUBBS;
 and CELIO SAN GABRIEL,

        Defendants.

                      SECOND AMENDED COMPLAINT AT LAW

       NOW COMES the Plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, by her attorneys WISE MORRISSEY, LLC

and complaining against the defendants, MATERIAL SERVICE CORPORATION d/b/a

HANSON MATERIAL SERVICE CORPORATION; LEHIGH HANSON SERVICES LLC.;

LEHIGH HANSON, INC., CAPTAIN KENNETH L. STUBBS and CELIO SAN GABRIEL,

states as follows:

                                          PARTIES

       1.      On July 22, 2020, and at all time relevant herein, plaintiff Mariana M. Ochoa

(“MARIANA”) is the mother and Independent Administrator of the Estate of seven year-old

decedent VICTOR LOBATO OCHOA (“VICTOR”).

       2.      On July 22, 2020, and at all time relevant herein, MARIANA and VICTOR were

residents of the City of Chicago, County of Cook.




                                          Exhibit A
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 2 of 32 PageID #:313
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


        3.    On July 22, 2020, and at all time relevant herein, defendant CELIO SAN GABRIEL

(“SAN GABRIEL”) was a resident of the City of Chicago, County of Cook.

        4.    On July 22, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE CORPORATION (“MATERIAL”) d/b/a HANSON MATERIAL SERVICE

CORPORATION (“HANSON”) was a Corporation registered to conduct business in Illinois.

        5.    On July 22, 2020, and at all times relevant herein, defendant MATERIAL d/b/a

HANSON maintained a principle place of business located in Westchester, Illinois.

        6.    On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC. (“LEHIGH”), was a limited liability company registered to conduct business in

Illinois.

        7.    On July 22, 2020, and at all times relevant herein, defendant LEHIGH maintained

places of business located in the City of Chicago and the Village of McCook in the County of

Cook.

        8.    On July, 22, 2020, and at all times relevant herein, defendant LEHIGH owned,

operated, maintained or controlled its subsidiary defendant MATERIAL d/b/a HANSON.

        9.    On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON,

INC., was one of the largest building materials companies in the country.

        10.   On July 22, 2020, defendant LEHIGH HANSON, INC. owned, operated,

maintained or controlled its subsidiary defendant MATERIAL d/b/a HANSON.

        11.   On July 22, 2020, defendant LEHIGH HANSON, INC. owned, operated,

maintained or controlled its subsidiary defendant LEHIGH.

        12.   On July 22, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS (“STUBBS”) was the captain of the inland river towboat Kiowa (“Kiowa”). The



                                                2
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 3 of 32 PageID #:314
       Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


Kiowa had a triple screw 1500 horse power engine with dimensions of 76 feet long and 26 feet

wide, while weighing approximately 292,000 pounds. At that time, the Kiowa was pushing a barge

MSCO103 that was 195 feet long and 35 feet wide and fully loaded with aggregate. The barge

MSCO103 weighed hundreds of thousands of pounds.

       13.    On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant MATERIAL d/b/a HANSON.

       14.    On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant LEHIGH.

       15.    On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant LEHIGH HANSON, INC.

       16.    On July 22, 2020, and at all times relevant herein, defendant MATERIAL d/b/a

HANSON owned, operated, maintained or controlled the Kiowa and barge.

       17.    On July 22, 2020, and at all times relevant herein, defendant LEHIGH owned,

operated, maintained or controlled the Kiowa and barge.

       18.    On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSO Inc.

owned, operated, maintained or controlled the Kiowa and barge.

                           FACTS COMMON TO ALL COUNTS

       19.    In March 2017, the National Transportation Safety Board (NTSB) issued a “Safety

Recommendation Report” (Report) regarding safety of recreational and commercial vessels in

shared waterways, like the Chicago River. (See below photo of the Chicago River from the Report)




                                               3
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 4 of 32 PageID #:315
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207




       20.     The NTSB Report stated that the Chicago River was unique among all shared

waterways in the United States because of the “limited area in which vessels can maneuver”, which

increased the risk of recreational and commercial vehicle accidents.

       21.     The NTSB Report stated the increased risk of recreational and commercial vehicle

accidents on the Chicago River was compounded by the numerous waterborne events (e.g.

fireworks and regattas) and multitude of recreational vessels (e.g. powerboats, kayaks, canoes and

standup paddleboards).

       22.     As a result, the NTSB Report stated the Chicago River posed the “greatest risk for

unsafe interaction between commercial and recreational waterway users” of any “Shared

Waterway” in the United States.

       23.     On July 22, 2020, and at all times relevant herein, defendants MATERIAL,

LEHIGH, LEHIGH HANSON, INC. and STUBBS were all aware of the increased risks of

“unsafe interaction between commercial and recreational waterway users” on the Chicago River,

including at the location of the tragic incident.

       24.     On July 22, 2020, and at all times relevant herein, defendant STUBBS was

captaining the Kiowa and barge northbound on the South Branch of the Chicago River.



                                                    4
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 5 of 32 PageID #:316
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


       25.     On July 22, 2020, and at all times relevant herein, Celio San Gabriel (San Gabriel)

was operating an open motorboat with three additional adults and five small children. Among the

occupants were MARIANA and VICTOR. The motorboat was a 16-17 foot long Capri Bayliner

(motorboat).

       26.     On July 22, 2020, and at all time relevant herein, all eight occupants were wearing

Personal Floatation Devices (PFD) except for one of the adults, Jesus Lobato.

       27.     On July 22, 2020, the Chicago Yacht Works was located at 2550 South Ashland

Avenue, Chicago Illinois. The Chicago Yacht Works facility was located on the Westside of the

South branch of the Chicago River and immediately south of the Ashland Avenue Bridge.

       28.     On July 22, 2020, the Chicago Yacht Works had a closed captioned video that

captured the Kiowa traveling northbound on the South Branch of the Chicago River. The video

footage showed the Kiowa and the barge it was pushing creating a series of large wakes. The wakes

created by the Kiowa and barge would then reverberate off the walls of the Chicago River

increasing the size of the original wakes.

       29.     At approximately 5:30 p.m., the Kiowa and barge were traveling southbound on

South branch of the Chicago River in the area of mile marker 324 and the Ping Tom Memorial

Park in Chinatown, Chicago.

       30.     At approximately 5:30 p.m., the motorboat was traveling northbound on South

branch of the Chicago River in the area of mile marker 324 and the Ping Tom Memorial Park in

Chinatown, Chicago.

       31.     At that time, San Gabriel and other occupants of the motorboat observed the Kiowa

and barge traveling at a speed that was generating a series of large wakes.




                                                5
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 6 of 32 PageID #:317
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


       32.     At that time, the Kiowa and barge created a series of wakes that were several feet

high. The wakes created by the Kiowa and barge would then reverberate off the walls of the

Chicago River increasing the size of the original wakes.

       33.     At that time, the wakes created by the Kiowa and barge washed over the open bow

of the motorboat and resulted in the motorboat capsizing. As a result, all of the occupants of the

boat were thrown overboard and into the water.

       34.     Tragically, VICTOR, was trapped underneath the overturned and capsized boat.

Law enforcement and rescue personnel were immediately notified and responded to the scene.

However, the first responders were unable to rescue VICTOR from under the motorboat and he

drowned.

       35.     On July 22, 2020, Illinois Department of Natural Resources (“IDNR”) Officer

Jeremy Swindle (Officer Swindle) was one of the many law enforcement, rescue and medical

personnel that responded to the scene of the incident.

       36.     Officer Swindle subsequently conducted an investigation into the incident. Officer

Swindle’s investigation included his first-hand observations at the scene, witness accounts and

closed circuit television footage of the Kiowa as it traveled northbound on the South branch of the

Chicago River only minutes before the incident.

       37.     Officer Swindle’s report stated that “[c]lear [video] footage of the Kiowa prior to

the incident shows a wake made by the Kiowa. The wake bouncing off the walls of the river

create[d] an even bigger movement in the water. The Chicago River is a no wake river”.

       38.     Officer Swindle’s report stated that the “cause of the accident” was the “force of

wake” created by the Kiowa and barge.




                                                  6
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 7 of 32 PageID #:318
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


       39.     Upon information and belief, the report also claimed that SAN GABRIEL’S

“overloading” of the motorboat contributed to the accident.

       40.     The Chicago Administrative Code 10-40-261(a) (Restrictions on wake of vessels)

states that “[n]o person shall operate a vessel in such a way that the boat creates a wake in any of

the following areas in the Lake Michigan portions of the Chicago Harbor or upon any waterway

within the City, except in the case of an actual emergency”.

       41.     The area of Chicago River where the incident occurred is designated as a “No

Wake” zone pursuant to the Chicago Administrative Code 10-40-261.

 COUNT I – NEGLIGENCE WRONGFUL DEATH – MATERIAL SERVICE INC. d/b/a
                  HANSON MATERIAL SERVICES CORP.

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant MATERIAL, owed a

duty to operate the Kiowa and barge in a reasonable manner.

       43.     On July 22, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., by and through the actions,

acts and/or omissions of its agent, servant and/or employee CAPTAIN KENNETH L. STUBBS

was negligent in one or more of the following respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:

                                                 7
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 8 of 32 PageID #:319
    Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


                (7) Proceeds at a safe speed taking into account the weather, visibility,
                   density of traffic, draft of tow, possibility of wake damage, speed and
                   direction of the current, and local speed-limits.

   c.    Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                interfering with the safe operation of a vessel, so as to endanger the life,
                limb, or property of a person.

   d.    Violated United States Coast Guard Navigation Rules
                Rule 5 – Look-out
                Every vessel shall at all times maintain a proper look-out by sight and
                hearing as well as by all available means appropriate in the prevailing
                circumstances and conditions so as to make a full appraisal of the situation
                and of the risk of collision.

                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                A wake is defined as a movement of the water created by a boat underway
                great enough to disturb a boat at rest, but under no circumstances shall a
                boat underway exceed 5 miles per hour while in a posted "No Wake"
                area.

   g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.

   h.    Violated Chicago Administrative Code 10-40-261



                                          8
    Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 9 of 32 PageID #:320
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


                       No person shall operate a vessel in such a way that the boat creates a wake
                       in any of the following areas in the Lake Michigan portions of the Chicago
                       Harbor or upon any waterway within the City, except in the case of an
                       actual emergency:

       i.      Failed to establish adequate policies or procedures for crew members, including
               but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
               barges from traveling at excessive speeds and creating wakes in the “No Wake”
               zones of the Chicago River;

       j.      Failed to properly train, supervise and monitor crew members, including but not
               limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

       44.     On and prior to July 22, 2020, and at all times relevant herein, defendant

MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., had privity and

knowledge of the their tow boats and barges repeatedly traveling at an excessive speed along the

Chicago River. Defendant MATERIAL SERVICE INC. d/b/a HANSON MATERIAL

SERVICES CORP., also had privity and knowledge that their tow boats and barges were

repeatedly causing wakes in the No Wake zone of the Chicago River.

       45.      On and prior to July 22, 2020, and at all times relevant herein, defendant

MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., had privity and

knowledge that there tow boats and barges were repeatedly violating local, State and Federal

guidelines by traveling at an excessive speed resulting in wakes that placed smaller recreational

watercraft at danger of capsizing.

       46.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       47.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

                                                9
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 10 of 32 PageID #:321
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP. for a sum in

excess of the jurisdiction limits of the Circuit Court of Cook County, Illinois.

             COUNT II – NEGLIGENCE – LEHIGH HANSON SERVICES LLC.

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH owned,

operated or maintained control over the Kiowa.

       43.     On July 22, 2020, and at times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS was an employee, agent or apparent agent of defendant LEHIGH.

       44.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC, by and through the actions, acts and/or omissions of its agent, servant and/or

employee CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following

respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.       Violated United States CFR Title 33 §164.78 (a)
                       The owner, master or operator of each vessel towing shall ensure that each
                       person directing and controlling the movement of the vessel:
                       (7) Proceeds at a safe speed taking into account the weather, visibility,
                          density of traffic, draft of tow, possibility of wake damage, speed and
                          direction of the current, and local speed-limits.

       c.        Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman

                                                 10
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 11 of 32 PageID #:322
    Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                interfering with the safe operation of a vessel, so as to endanger the life,
                limb, or property of a person.

   d.      Violated United States Coast Guard Navigation Rules
                Rule 5 – Look-out
                Every vessel shall at all times maintain a proper look-out by sight and
                hearing as well as by all available means appropriate in the prevailing
                circumstances and conditions so as to make a full appraisal of the situation
                and of the risk of collision.

                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                 A wake is defined as a movement of the water created by a boat underway
                 great enough to disturb a boat at rest, but under no circumstances shall a
                 boat underway exceed 5 miles per hour while in a posted "No Wake"
                 area.

   g.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.

   h.     Violated Chicago Administrative Code 10-40-261
                 (a) No person shall operate a vessel in such a way that the boat creates a
                 wake in any of the following areas in the Lake Michigan portions of the
                 Chicago Harbor or upon any waterway within the City, except in the case
                 of an actual emergency.




                                          11
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 12 of 32 PageID #:323
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       i.      Failed to establish adequate policies or procedures for crew members, including
               but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
               barges from traveling at excessive speeds and creating wakes in the “No Wake”
               zones of the Chicago River;

       j.      Failed to properly train, supervise and monitor crew members, including but not
               limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

       45.     On and prior to July 22, 2020, and at all times relevant herein, defendant LEHIGH

HANSON SERVICES LLC., had privity and knowledge of their tow boats and barges repeatedly

traveling at an excessive speed along the Chicago River. Defendant MATERIAL SERVICE INC.

d/b/a HANSON MATERIAL SERVICES CORP., also had privity and knowledge that their tow

boats and barges were repeatedly causing wakes in the No Wake zone of the Chicago River.

       46.     On and prior to July 22, 2020, and at all times relevant herein, defendant LEHIGH

HANSON SERVICES LLC., had privity and knowledge that there tow boats and barges were

repeatedly violating local, State and Federal guidelines by traveling at an excessive speed resulting

in wakes that placed smaller recreational watercraft at danger of capsizing.

       47.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       48.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

HANSON SERVICES LLC for a sum in excess of the jurisdiction limits of the Circuit Court of

Cook County, Illinois.



                                                 12
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 13 of 32 PageID #:324
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                 COUNT III – NEGLIGENCE – LEHIGH HANSON, INC.

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON,

INC. owned, operated or maintained control over the Kiowa.

       43.     On July 22, 2020, and at times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS was an employee, agent or apparent agent of defendant LEHIGH HANSON, INC.

       44.     On July 22, 2020, and at all times relevant herein, LEHIGH HANSON, INC., by

and through the actions, acts and/or omissions of its agent, servant and/or employee CAPTAIN

KENNETH L. STUBBS was negligent in one or more of the following respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the current, and local speed-limits.

       c.      Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                      Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                      interfering with the safe operation of a vessel, so as to endanger the life,
                      limb, or property of a person.

       d.          Violated United States Coast Guard Navigation Rules
                      Rule 5 – Look-out
                      Every vessel shall at all times maintain a proper look-out by sight and
                      hearing as well as by all available means appropriate in the prevailing
                      circumstances and conditions so as to make a full appraisal of the situation
                      and of the risk of collision.

                                                13
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 14 of 32 PageID #:325
    Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207



                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                A wake is defined as a movement of the water created by a boat underway
                great enough to disturb a boat at rest, but under no circumstances shall a
                boat underway exceed 5 miles per hour while in a posted "No Wake"
                area.

   g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.

   h.    Violated Chicago Administrative Code 10-40-261
                (a) No person shall operate a vessel in such a way that the boat creates a
                wake in any of the following areas in the Lake Michigan portions of the
                Chicago Harbor or upon any waterway within the City, except in the case
                of an actual emergency.

   i.    Failed to establish adequate policies or procedures for crew members, including
         but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
         barges from traveling at excessive speeds and creating wakes in the “No Wake”
         zones of the Chicago River;

   j.    Failed to properly train, supervise and monitor crew members, including but not
         limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
         from traveling at excessive speeds and creating wakes in the “No Wake” zones of
         the Chicago River;




                                         14
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 15 of 32 PageID #:326
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


        45.    On and prior to July 22, 2020, and at all times relevant herein, defendant LEHIGH

HANSON, INC., had privity and knowledge of their tow boats and barges repeatedly traveling at

an excessive speed along the Chicago River. Defendant LEHIGH HANSON, INC., also had privity

and knowledge that their tow boats and barges were repeatedly causing wakes in the No Wake

zone of the Chicago River.

        46.    On and prior to July 22, 2020, and at all times relevant herein, defendant LEHIGH

HANSON, INC., had privity and knowledge that there tow boats and barges were repeatedly

violating local, State and Federal guidelines by traveling at an excessive speed resulting in wakes

that placed smaller recreational watercraft at danger of capsizing.

        47.    As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

        48.    Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

        WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

HANSON, INC. for a sum in excess of the jurisdiction limits of the Circuit Court of Cook County,

Illinois.

                   COUNT IV – NEGLIGENCE – KENNETH L. STUBBS

        1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

        42.    On July 22, 2020, and at all times relevant herein, defendant KENNETH L.

STUBBS owned, operated or maintained control over the Kiowa.



                                                15
  Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 16 of 32 PageID #:327
      Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


      43.    On July 22, 2020, and at all times relevant herein, defendant, CAPTAIN

KENNETH L. STUBBS was negligent in one or more of the following respects:

      a.     Violated United States CFR Title 33 §164.11(p)
                    The person directing the movement of the vessel sets the vessel’s speed
                    with consideration for:
                    (4) The comparative proportions of the vessel and the channel;
                    (5) The density of marine traffic;
                    (6) The damage that might be caused by the vessel’s wake; and
                    (8) Any local vessel speed limit.

      b.     Violated United States CFR Title 33 §164.78 (a)
                    The owner, master or operator of each vessel towing shall ensure that each
                    person directing and controlling the movement of the vessel:
                    (7) Proceeds at a safe speed taking into account the weather, visibility,
                       density of traffic, draft of tow, possibility of wake damage, speed and
                       direction of the current, and local speed-limits.

      c.     Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                    Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                    interfering with the safe operation of a vessel, so as to endanger the life,
                    limb, or property of a person.

      d.     Violated United States Coast Guard Navigation Rules
                    Rule 5 – Look-out
                    Every vessel shall at all times maintain a proper look-out by sight and
                    hearing as well as by all available means appropriate in the prevailing
                    circumstances and conditions so as to make a full appraisal of the situation
                    and of the risk of collision.

                    Rule 6 - Safe Speed Inland
                    Every vessel shall at all times proceed at a safe speed so that she can take
                    proper and effective action to avoid collision and be stopped within a
                    distance appropriate to the prevailing circumstances and conditions

                    Rule 9 - Narrow Channels Inland
                    (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                    shall keep as near to the outer limit of the channel or fairway which lies on
                    her starboard side as is safe and practicable.

      e.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                    No person shall operate a watercraft within 150 feet of a public launching
                    ramp owned, operated or maintained by the Department or a political
                    subdivision of the State at greater than a "No Wake" speed as defined in



                                             16
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 17 of 32 PageID #:328
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                     Section 5-12 of this Act. Posting of the areas by the Department or a
                     political subdivision of the State is not required.

       f.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                     A wake is defined as a movement of the water created by a boat underway
                     great enough to disturb a boat at rest, but under no circumstances shall a
                     boat underway exceed 5 miles per hour while in a posted "No Wake"
                     area.

       g.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                     No person shall operate any watercraft... so as to approach or pass another
                     watercraft in such a manner or at such a rate of speed as to create a
                     hazardous wake or wash.

       h.     Violated Chicago Administrative Code 10-40-261
                     (a) No person shall operate a vessel in such a way that the boat creates a
                     wake in any of the following areas in the Lake Michigan portions of the
                     Chicago Harbor or upon any waterway within the City, except in the case
                     of an actual emergency.

       i.     Failed to establish adequate policies or procedures for crew members, including
              but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
              barges from traveling at excessive speeds and creating wakes in the “No Wake”
              zones of the Chicago River;

       j.     Failed to properly train, supervise and monitor crew members, including but not
              limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
              from traveling at excessive speeds and creating wakes in the “No Wake” zones of
              the Chicago River;

       44.    On and prior to July 22, 2020, and at all times relevant herein, defendant

KENNETH L. STUBBS, had privity and knowledge of the tow boats and barges he captained

repeatedly traveled at an excessive speed along the Chicago River. Defendant KENNETH L.

STUBBS, also had privity and knowledge that the tow boats and barges he captained were

repeatedly causing wakes in the No Wake zone of the Chicago River.

       45.    On and prior to July 22, 2020, and at all times relevant herein, defendant

KENNETH L. STUBBS, had privity and knowledge that the tow boats and barges he captained




                                              17
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 18 of 32 PageID #:329
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


were repeatedly violating local, State and Federal guidelines by traveling at an excessive speed

resulting in wakes that placed smaller recreational watercraft at danger of capsizing.

          46.    As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

          47.    Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

          WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

KENNETH L. STUBBS for a sum in excess of the jurisdiction limits of the Circuit Court of Cook

County, Illinois.

                     COUNT V – NEGLIGENCE – CELIO SAN GABRIEL

          1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

          42.    On July 22, 2020, and at all times relevant herein, defendant, CELIO SAN

GABRIEL, owned, operated or maintained control over the motorboat containing Plaintiff and

Victor.

          43.    On July 22, 2020, and at all times relevant herein and upon information and belief,

defendant, CELIO SAN GABRIEL was negligent in one or more of the following respects:

          a.     Improperly overloaded the motorboat with passengers;

          b.     Failed to exercise ordinary due care while operating the motorboat.




                                                 18
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 19 of 32 PageID #:330
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


        44.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

        45.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

        WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant CELIO

SAN GABRIEL for a sum in excess of the jurisdiction limits of the Circuit Court of Cook County,

Illinois.

             COUNT VI - SURVIVAL COUNT - MATERIAL SERVICE INC. d/b/a
                        HANSON MATERIAL SERVICES CORP.

        1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

        42.     On July 22, 2020, and at all times relevant herein, defendant MATERIAL, owed a

duty to operate the Kiowa and barge in a reasonable manner.

        43.     On July 22, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., by and through the actions,

acts and/or omissions of its agent, servant and/or employee CAPTAIN KENNETH L. STUBBS

was negligent in one or more of the following respects:

        a.      Violated United States CFR Title 33 §164.11(p)
                       The person directing the movement of the vessel sets the vessel’s speed
                       with consideration for:
                       (4) The comparative proportions of the vessel and the channel;
                       (5) The density of marine traffic;
                       (6) The damage that might be caused by the vessel’s wake; and
                       (8) Any local vessel speed limit.

        b.      Violated United States CFR Title 33 §164.78 (a)

                                                19
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 20 of 32 PageID #:331
    Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                The owner, master or operator of each vessel towing shall ensure that each
                person directing and controlling the movement of the vessel:
                (7) Proceeds at a safe speed taking into account the weather, visibility,
                   density of traffic, draft of tow, possibility of wake damage, speed and
                   direction of the current, and local speed-limits.

   c.    Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                interfering with the safe operation of a vessel, so as to endanger the life,
                limb, or property of a person.

   d.    Violated United States Coast Guard Navigation Rules
                Rule 5 – Look-out
                Every vessel shall at all times maintain a proper look-out by sight and
                hearing as well as by all available means appropriate in the prevailing
                circumstances and conditions so as to make a full appraisal of the situation
                and of the risk of collision.

                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                A wake is defined as a movement of the water created by a boat underway
                great enough to disturb a boat at rest, but under no circumstances shall a
                boat underway exceed 5 miles per hour while in a posted "No Wake"
                area.

   g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.



                                         20
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 21 of 32 PageID #:332
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       h.      Violated Chicago Administrative Code 10-40-261
                      (a) No person shall operate a vessel in such a way that the boat creates a
                      wake in any of the following areas in the Lake Michigan portions of the
                      Chicago Harbor or upon any waterway within the City, except in the case
                      of an actual emergency.

       i.      Failed to establish adequate policies or procedures for crew members, including
               but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
               barges from traveling at excessive speeds and creating wakes in the “No Wake”
               zones of the Chicago River;

       j.      Failed to properly train, supervise and monitor crew members, including but not
               limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

       44.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       45.     At the time of his death, Plaintiff’s decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

       46.     As a proximate result of one or more of the foregoing negligent acts or omissions,

VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

       47.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.



                                               21
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 22 of 32 PageID #:333
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       48.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP. for a sum in

excess of the jurisdiction limits of the Circuit Court of Cook County, Illinois.

        COUNT VII – SURVIVAL COUNT - LEHIGH HANSON SERVICES LLC

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC, owed a duty to operate the Kiowa and barge in a reasonable manner.

       43.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC, by and through the actions, acts and/or omissions of its agent, servant and/or

employee CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following

respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the current, and local speed-limits.

       c.      Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman

                                                 22
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 23 of 32 PageID #:334
    Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                interfering with the safe operation of a vessel, so as to endanger the life,
                limb, or property of a person.

   d.    Violated United States Coast Guard Navigation Rules
                Rule 5 – Look-out
                Every vessel shall at all times maintain a proper look-out by sight and
                hearing as well as by all available means appropriate in the prevailing
                circumstances and conditions so as to make a full appraisal of the situation
                and of the risk of collision.

                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                A wake is defined as a movement of the water created by a boat underway
                great enough to disturb a boat at rest, but under no circumstances shall a
                boat underway exceed 5 miles per hour while in a posted "No Wake"
                area.

   g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.

   h.    Violated Chicago Administrative Code 10-40-261
                (a) No person shall operate a vessel in such a way that the boat creates a
                wake in any of the following areas in the Lake Michigan portions of the
                Chicago Harbor or upon any waterway within the City, except in the case
                of an actual emergency.




                                         23
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 24 of 32 PageID #:335
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       i.      Failed to establish adequate policies or procedures for crew members, including
               but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
               barges from traveling at excessive speeds and creating wakes in the “No Wake”
               zones of the Chicago River;

       j.      Failed to properly train, supervise and monitor crew members, including but not
               limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

       44.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       45.     As a proximate result of one or more of the foregoing negligent acts or omissions,

VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

       46.     At the time of his death, Plaintiff’s decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

       47.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.

       48.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.




                                               24
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 25 of 32 PageID #:336
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

HANSON SERVICES LLC for a sum in excess of the jurisdiction limits of the Circuit Court of

Cook County, Illinois.

              COUNT VIII – SURVIVAL COUNT - LEHIGH HANSON, INC.

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON,

INC., owed a duty to operate the Kiowa and barge in a reasonable manner.

       43.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON,

INC., by and through the actions, acts and/or omissions of its agent, servant and/or employee

CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the current, and local speed-limits.

       c.      Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                      Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                      interfering with the safe operation of a vessel, so as to endanger the life,
                      limb, or property of a person.

       d.      Violated United States Coast Guard Navigation Rules
                      Rule 5 – Look-out

                                                25
Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 26 of 32 PageID #:337
    Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                Every vessel shall at all times maintain a proper look-out by sight and
                hearing as well as by all available means appropriate in the prevailing
                circumstances and conditions so as to make a full appraisal of the situation
                and of the risk of collision.

                Rule 6 - Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

   e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                No person shall operate a watercraft within 150 feet of a public launching
                ramp owned, operated or maintained by the Department or a political
                subdivision of the State at greater than a "No Wake" speed as defined in
                Section 5-12 of this Act. Posting of the areas by the Department or a
                political subdivision of the State is not required.

   f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                A wake is defined as a movement of the water created by a boat underway
                great enough to disturb a boat at rest, but under no circumstances shall a
                boat underway exceed 5 miles per hour while in a posted "No Wake"
                area.

   g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                No person shall operate any watercraft... so as to approach or pass another
                watercraft in such a manner or at such a rate of speed as to create a
                hazardous wake or wash.

   h.    Violated Chicago Administrative Code 10-40-261
                (a) No person shall operate a vessel in such a way that the boat creates a
                wake in any of the following areas in the Lake Michigan portions of the
                Chicago Harbor or upon any waterway within the City, except in the case
                of an actual emergency.

   i.    Failed to establish adequate policies or procedures for crew members, including
         but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
         barges from traveling at excessive speeds and creating wakes in the “No Wake”
         zones of the Chicago River;

   j.    Failed to properly train, supervise and monitor crew members, including but not
         limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges

                                         26
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 27 of 32 PageID #:338
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

        44.    As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

        45.    As a proximate result of one or more of the foregoing negligent acts or omissions,

VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

        46.    At the time of his death, Plaintiff’s decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

        47.    MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.

        48.    Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

        WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

HANSON, INC. for a sum in excess of the jurisdiction limits of the Circuit Court of Cook County,

Illinois.

                COUNT IX – SURVIVAL COUNT - KENNETH L. STUBBS

                                               27
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 28 of 32 PageID #:339
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS, owed a duty to operate the Kiowa and barge in a reasonable manner.

       43.     On July 22, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS was negligent in one or more of the following respects:

       a.      Violated United States CFR Title 33 §164.11(p)
                      The person directing the movement of the vessel sets the vessel’s speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel’s wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the current, and local speed-limits.

       c.      Violated United States Code 46 – Shipping – Subtitle II – Vessels and Seaman
                      Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                      interfering with the safe operation of a vessel, so as to endanger the life,
                      limb, or property of a person.

       d.      Violated United States Coast Guard Navigation Rules
                      Rule 5 – Look-out
                      Every vessel shall at all times maintain a proper look-out by sight and
                      hearing as well as by all available means appropriate in the prevailing
                      circumstances and conditions so as to make a full appraisal of the situation
                      and of the risk of collision.

                      Rule 6 - Safe Speed Inland
                      Every vessel shall at all times proceed at a safe speed so that she can take
                      proper and effective action to avoid collision and be stopped within a
                      distance appropriate to the prevailing circumstances and conditions

                      Rule 9 - Narrow Channels Inland



                                                28
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 29 of 32 PageID #:340
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


                       (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                       shall keep as near to the outer limit of the channel or fairway which lies on
                       her starboard side as is safe and practicable.

       e.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                      No person shall operate a watercraft within 150 feet of a public launching
                      ramp owned, operated or maintained by the Department or a political
                      subdivision of the State at greater than a "No Wake" speed as defined in
                      Section 5-12 of this Act. Posting of the areas by the Department or a
                      political subdivision of the State is not required.

       f.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                      A wake is defined as a movement of the water created by a boat underway
                      great enough to disturb a boat at rest, but under no circumstances shall a
                      boat underway exceed 5 miles per hour while in a posted "No Wake"
                      area.

       g.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                      No person shall operate any watercraft... so as to approach or pass another
                      watercraft in such a manner or at such a rate of speed as to create a
                      hazardous wake or wash.

       h.      Violated Chicago Administrative Code 10-40-261
                      (a) No person shall operate a vessel in such a way that the boat creates a
                      wake in any of the following areas in the Lake Michigan portions of the
                      Chicago Harbor or upon any waterway within the City, except in the case
                      of an actual emergency.

       i.      Failed to establish adequate policies or procedures for crew members, including
               but not limited to defendant Kenneth L. Stubbs, to prohibit their tug boats and
               barges from traveling at excessive speeds and creating wakes in the “No Wake”
               zones of the Chicago River;

       j.      Failed to properly train, supervise and monitor crew members, including but not
               limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
               from traveling at excessive speeds and creating wakes in the “No Wake” zones of
               the Chicago River;

       44.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.




                                                29
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 30 of 32 PageID #:341
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


       45.     As a proximate result of one or more of the foregoing negligent acts or omissions,

VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

       46.     At the time of his death, Plaintiff’s decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

       47.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.

       48.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

CAPTAIN KENNETH L. STUBBS for a sum in excess of the jurisdiction limits of the Circuit

Court of Cook County, Illinois.

                COUNT X – SURVIVAL COUNT - CELIO SAN GABRIEL

       1-41. Plaintiff re-pleads and re-alleges paragraphs 1-41 of this Complaint and hereby

incorporates them as though fully set forth herein.

       42.     On July 22, 2020, and at all times relevant herein, defendant, CELIO SAN

GABRIEL, owed a duty to operate the motorboat in a reasonable manner.



                                                30
   Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 31 of 32 PageID #:342
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


        43.   On July 22, 2020, and at all times relevant herein, defendant, CELIO SAN

GABRIEL, was negligent in one or more of the following respects:

        a.    Improperly overloaded the motorboat with passengers;

        b.    Failed to exercise ordinary due care while operating the motorboat.

        44.   As a proximate result of one or more of the foregoing negligent acts or omissions,

VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

        45.   At the time of his death, Plaintiff’s decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

        46.   MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.

        44.   Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

        WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant CELIO

SAN GABRIEL for a sum in excess of the jurisdiction limits of the Circuit Court of Cook County,

Illinois.

                                     By:    /s/ Michael L. Gallagher
                                            One of Her Attorneys

                                               31
  Case: 1:21-cv-03936 Document #: 16 Filed: 08/31/21 Page 32 of 32 PageID #:343
      Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207



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                                       32
    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 1 of 9 PageID #:450
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIANA M. OCHOA, as Independent       )
Administrator of the Estate of VICTOR  )
LOBATO OCHOA, deceased,                )
                                       )
            Plaintiff,                 )
                                       )                   No. 21 C 3936
       v.                              )
                                       )                   Judge Sara L. Ellis
MATERIAL SERVICE CORPORATION           )
d/b/a HANSON MATERIAL SERVICE          )
CORPORATION; LEHIGH HANSON             )
SERVICES LLC; LEHIGH HANSON INC.; )
CAPTAIN KENNETH L. STUBBS; and         )
CELIO SAN GABRIEL,                     )
                                       )
            Defendants.                )
_______________________________________)
IN THE MATTER OF THE COMPLAINT OF )
HANSON AGGREGATES MIDWEST, INC. )
F/K/A MATERIAL SERVICE                 )                   No. 21 C 4295
CORPORATION D/B/A HANSON               )
MATERIAL SERVICE CORPORATION           )                   Judge Sara L. Ellis
FOR EXONERATION FROM, OR               )
LIMITATION OF, LIABILITY               )

                                  OPINION AND ORDER

       On July 22, 2020, a motorboat operated by Celio San Gabriel that carried nine individuals

capsized on the Chicago River. Victor Lobato Ochoa, one of the motorboat’s passengers,

drowned. On July 1, 2021, his mother and the administrator of his estate, Mariana Ochoa, filed a

lawsuit against Defendants Material Service Corporation d/b/a Hanson Material Service

Corporation (“Hanson”), Lehigh Hanson Services LLC (“Lehigh LLC”), Heidelberg Cement

Group (“Heidelberg”), and Kenneth L. Stubbs in state court. Mariana claimed that a towboat and

barge that Stubbs operated as an employee of Hanson, Lehigh LLC, and Heidelberg caused the

motorboat to capsize. Hanson, Lehigh LLC, Heidelberg, and Stubbs removed Mariana’s




                                       Exhibit B
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 2 of 9 PageID #:451
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


wrongful death case, No. 21 C 3936, to this Court pursuant to admiralty and diversity

jurisdiction, 28 U.S.C. §§ 1332(a), 1333(1), on July 24, 2021. Mariana filed a second amended

complaint on August 31, 2021, naming Hanson, Lehigh LLC, Lehigh Hanson, Inc. (“Lehigh

Inc.”), and Stubbs (collectively, the “Hanson Defendants”), as well as San Gabriel as defendants.

Mariana also filed a motion to remand the case to state court on August 23, 2021, which she

supplemented with an amended motion on September 3, 2021, after she filed her second

amended complaint.

        Meanwhile, Hanson filed a limitation of liability case, No. 20 C 4295, seeking

exoneration from or limitation of its liability for any loss, injury, or damage resulting from the

July 22, 2020 incident pursuant to Supplemental Rule F of the Federal Rules of Civil Procedure

and the Limitation of Liability Act (the “Limitation Act”), 46 U.S.C. § 30501 et seq. 1 On

September 8, 2021, the court entered an order requiring all persons having claims arising out of

the July 22, 2020 incident to file claims with the Clerk of Court by November 1, 2021. The court

also stayed all proceedings arising out of or connected with the July 22, 2020 incident, a stay that

reached the wrongful death case. Mariana filed an answer on October 29, 2021, but no other

individual filed a claim as ordered by the court. The court then entered default against all

persons except Mariana and allowed Mariana to file a belated claim, which she did on December

20, 2021. Mariana also filed a motion to lift the stay so that she can pursue her wrongful death

case in state court.

        The Court now addresses the two interrelated motions pending in these cases: Mariana’s

motion to lift the stay in the limitation of liability case [No. 21 C 4295, Doc. 17] and Mariana’s

motions to remand the wrongful death case to state court [No. 21 C 3936, Docs. 13, 17]. The

1
  Although not initially assigned to this Court, the limitation of liability case, No. 21 C 4295, was
reassigned to this Court as related to the underlying wrongful death case, No. 21 C 3936, on January 14,
2022.
                                                    2
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 3 of 9 PageID #:452
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


Court finds it appropriate to lift the stay in the limitation of liability case to allow Mariana to

proceed with her wrongful death case because she is the only individual asserting a claim

involving the July 22, 2020 incident. And having lifted the stay, the Court must remand the

wrongful death case to state court because Mariana originally filed suit in state court pursuant to

the saving to suitors exception to federal courts’ exclusive admiralty jurisdiction and the addition

of San Gabriel as a defendant means that diversity jurisdiction no longer supplies the required

additional jurisdictional basis to support the case’s removal to federal court.

I.      Motion to Lift the Stay in the Limitation of Liability Case, No. 21 C 4295

        The Limitation Act “allows a vessel owner to limit liability for damage or injury,

occasioned without the owner’s privity or knowledge, to the value of the vessel or the owner’s

interest in the vessel.” Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 446 (2001); see 46

U.S.C. § 30505(b). The Limitation Act requires that “all claims and proceedings against the

owner related to the matter in question shall cease” while a court considers the owner’s liability

under the Act. 46 U.S.C. § 30511(c). But this stay requirement “must be interpreted in

conjunction with the ‘savings to suitors’ clause in 28 U.S.C. § 1333(1), which reserves to suitors

in admiralty or maritime cases their common-law remedies,” including “the right to select a

forum and the right to demand a jury trial.” Am. River Transp. Co. v. Ryan, 579 F.3d 820, 825

(7th Cir. 2009). Reading the provisions together gives a court discretion to lift the stay and allow

a claimant to proceed on their underlying claim against the owner in state court, while the

petition for limitation of liability remains pending in federal court. See Lewis, 531 U.S. at 449.

Courts exercise this discretion “when there is only one claimant, or when the total demanded by

multiple claimants does not exceed the value set by the Limitation Act.” Roen Salvage Co. v.

Sarter, 17 F.4th 761, 763 (7th Cir. 2021).



                                                   3
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 4 of 9 PageID #:453
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


        Here, Mariana argues that the Court should exercise its discretion under the single

claimant exception to lift the stay and allow the wrongful death case against Hanson to proceed

in state court. See id. (where only a single claimant seeks a recovery, the federal court “can set a

maximum level of liability based on the criteria in § 30505(a), which will fully protect [the

owner’s] federal statutory rights” and then “permit the substantive claim to proceed in state

court”). Hanson responds that the absence of any claims aside from Mariana’s does not

sufficiently establish the applicability of the single claimant exception, meaning that any

decision to lift the stay is premature. 2 But the court already entered default against any

additional potential claimants, see No. 21 C 4295, Doc. 21, and no indication exists that any of

the additional potential claimants would seek to set aside the default and assert a late claim. 3

Thus, the Court does not find Mariana’s motion to lift the stay premature and instead concludes

that the single claimant exception applies.

        Next, Hanson argues that the Court should reject Mariana’s request to lift the stay

because she does not have a pending state court lawsuit, meaning no conflict exists between the

Limitation Act and the saving to suitors clause, and this Court can provide her with a jury trial if

warranted. But Mariana contests the removal of the wrongful death case from state to federal

court, with resolution of her motion to remand in that case stayed in light of the limitation of

liability case. To resolve the propriety of the removal of the wrongful death case, the Court must

lift the stay imposed by § 30511(c). Therefore, regardless of whether this Court could fashion a


2
 Hanson also argued that Mariana lacks statutory standing to modify the stay because she had not filed a
proper claim in the limitation of liabilities case. But since making that argument, the court allowed
Mariana to file such a claim, mooting Hanson’s standing argument.
3
 Hanson speculates that San Gabriel may seek to assert his own claims against Hanson given Hanson’s
pursuit of a third-party claim against him in the limitation of liability case. But Hanson has since filed a
motion for entry of default against San Gabriel due to his failure to respond to the third-party complaint,
undermining Hanson’s argument that San Gabriel may appear and do so.
                                                      4
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 5 of 9 PageID #:454
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


proceeding that would simultaneously protect Mariana’s right to a jury trial for her wrongful

death claims and resolve the questions raised by the limitation of liability case, the Court finds it

appropriate to lift the stay to determine whether Marian’s wrongful death case should proceed in

state or federal court. See Lewis, 531 U.S. at 455 (saving to suitors clause preserves a claimant’s

right to select a forum).

        As Mariana acknowledges, however, lifting the stay on the wrongful death case does not

come without limitations, as the Court must ensure that Hanson’s “right to seek limitation will be

protected.” Id. at 454. To that end, Mariana offers to stipulate to the following: (1) this Court

has exclusive jurisdiction to decide all limitation of liability issues, including the value of the

limitations fund; (2) Hanson has the right to litigate all issues related to limitation of liability, as

opposed to exoneration, in the limitation proceeding; (3) Mariana stipulates to the value of the

limitations fund determined by the Court as long as she has an opportunity to obtain an

independent appraisal or related valuation; (4) she will not enforce or collect any judgment in

excess of the limitations fund unless and until the Court adjudicates the limitation of liability

case; and (5) she waives any claims of res judicata on issues of limited liability, as opposed to

exoneration, based on any judgment she obtains in other proceedings related to the July 22, 2020

incident. See No. 21 C 4295, Doc. 17-1; In re Ill. Marine Towing, 498 F.3d 645, 653 (7th Cir.

2007) (approving similar stipulations as adequately protecting the owner’s interests under the

Limitation Act while allowing the claimants to pursue their claims in state court); cf. Roen, 17

F.4th at 763–64 (noting that stipulations to protect an owner’s liability are not necessary as long

as the court makes clear “any provisos that are essential to safeguard the federal right under

§ 30505(a)”). Hanson has not raised any issues with Mariana’s stipulations or argued that they

do not adequately protect its interests. In light of Mariana’s concessions, which the Court



                                                    5
      Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 6 of 9 PageID #:455
         Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


adopts, the Court lifts the stay to allow Mariana to pursue the wrongful death case against

Hanson and others while the limitation of liability case remains pending.

II.     Motion to Remand the Wrongful Death Case, No. 21 C 4295, to State Court

        The Court thus turns to Mariana’s motion to remand the wrongful death case to state

court. 28 U.S.C. § 1333(1) provides a federal court with exclusive jurisdiction over “[a]ny civil

case of admiralty or maritime jurisdiction, saving to suitors in all cases all other remedies to

which they are otherwise entitled.” As discussed above, the saving to suitors clause serves “as a

grant to state courts of in personam jurisdiction, concurrent with admiralty courts.” Lewis, 531

U.S. at 444. In other words, in in personam cases like Mariana’s wrongful death case, state and

federal courts have concurrent jurisdiction over admiralty claims. Madruga v. Superior Ct., 346

U.S. 556, 560–61 (1954) (“Admiralty’s jurisdiction is ‘exclusive’ only as to those maritime

causes of action begun and carried on as proceedings in rem, that is, where a vessel or thing is

itself treated as the offender and made the defendant by name or description in order to enforce a

lien. . . . But the jurisdictional act does leave state courts ‘competent’ to adjudicate maritime

causes of action in proceedings ‘in personam,’ that is, where the defendant is a person, not a ship

or some other instrument of navigation.” (citations omitted)). And under the saving to suitors

clause, a defendant may only remove a suit to federal court based on admiralty jurisdiction if an

additional basis for federal jurisdiction exists. Curry v. Boeing Co., 542 F. Supp. 3d 804, 819

(N.D. Ill. Mar. 22, 2021); Brown v. Porter, 149 F. Supp. 3d 963, 969 (N.D. Ill. 2016).

        The Hanson Defendants removed the wrongful death case to federal court on the basis of

both admiralty and diversity jurisdiction. But Mariana maintains that they have not properly

alleged Hanson’s and Lehigh LLC’s citizenships and that the addition of San Gabriel as a

defendant defeats diversity jurisdiction and requires the Court to remand the wrongful death case



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    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 7 of 9 PageID #:456
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


to state court. Initially, the Court finds that the Hanson Defendants have sufficiently established

that Hanson and Lehigh LLC are not Illinois citizens, making these allegations in the notice of

removal and supplementing them by affidavit in response to Mariana’s motion to remand. See

Doc. 1 ¶¶ 26–27 (Hanson is a Kentucky corporation with its principal place of business in Texas,

while Lehigh LLC’s sole member is Lehigh Inc., a Delaware corporation with its principal place

of business in Texas); Doc. 20-1 (same). Thus, this argument of Mariana’s has no merit.

       As for the addition of San Gabriel, an Illinois citizen, the Hanson Defendants argue that

the Court should not take his citizenship into account because his addition as a defendant after

the time of removal does not affect the Court’s subject matter jurisdiction. The Hanson

Defendants first contend that the Court cannot consider the argument because Mariana raised it

over thirty days after the removal of the case and it does not go to the Court’s subject matter

jurisdiction. See 28 U.S.C. § 1447(c) (“A motion to remand the case on the basis of any defect

other than lack of subject matter jurisdiction must be made within 30 days after the filing of the

notice of removal under section 1446(a). If at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the case shall be remanded.”). But because the

saving to suitors clause’s bar on removal of a case filed in state court based solely on admiralty

jurisdiction goes to the Court’s subject matter jurisdiction, the Court must address whether San

Gabriel’s addition as a defendant requires remand of the wrongful death case to state court. See

Brown, 149 F. Supp. 3d at 969 (although admiralty jurisdiction does not on its own provide a

basis for federal jurisdiction in an in personam case where a claimant files in state court, “a

defendant may remove an admiralty case if there is an independent basis for federal subject

matter jurisdiction—i.e., a basis other than admiralty, such as complete diversity of citizenship

with the requisite amount in controversy under 28 U.S.C. § 1332(a).”).



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    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 8 of 9 PageID #:457
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


        As for the substance of the argument, the Hanson Defendants maintain that the Court

should only consider whether diversity jurisdiction existed at the time of removal and not take

into account any post-removal changes. See In re Burlington N. Santa Fe Ry. Co., 606 F.3d 379,

380 (7th Cir. 2010) (“The well-established general rule is that jurisdiction is determined at the

time of removal, and nothing filed after removal affects jurisdiction.”). But § 1447(e) provides

that “[i]f after removal the plaintiff seeks to join additional defendants whose joinder would

destroy subject matter jurisdiction, the court may deny joinder, or permit joinder and remand the

action to the State court.” 28 U.S.C. § 1447(e); Perez v. Arcobaleno Pasta Machs., Inc., 261 F.

Supp. 2d 997, 999–1000 (N.D. Ill. 2003) (Section 1447(e) displaces the general rule that

diversity jurisdiction is determined at the time a case is filed with respect to the post-removal

joinder of non-diverse defendants). This is exactly the situation here: after removal of the case to

federal court, Mariana filed a second amended complaint that named San Gabriel, a non-diverse

party, as an additional defendant. Although the Hanson Defendants argue in a conclusory

fashion that Mariana fraudulently joined San Gabriel in an attempt to manipulate jurisdiction, the

Court cannot conclude that Mariana has no chance of succeeding on her claim against him,

particularly in light of the Hanson Defendants’ own contentions that San Gabriel bears

responsibility for the capsizing of the motorboat and Victor’s death. See Poulos v. Naas, 959

F.2d 69, 73 (7th Cir. 1992) (to find fraudulent joinder, a court must conclude that “after resolving

all issues of fact and law in favor of the plaintiff, the plaintiff cannot establish a cause of action

against the [non-diverse] defendant”). Therefore, San Gabriel’s addition as a defendant destroys

diversity jurisdiction and requires the Court to remand the wrongful death case to state court.

See Schur v. L.A. Weight Loss Ctrs., Inc., 577 F.3d 752, 759 (7th Cir. 2009) (“[T]he district court

may not permit joinder of a nondiverse defendant and retain jurisdiction.”); Johnlewis v. Apache



                                                   8
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 9 of 9 PageID #:458
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


Indus. Servs., Inc., No. 21-504, 2021 WL 6112558, at *3–4 (E.D. La. Dec. 27, 2021) (“The

Court lacks jurisdiction because Plaintiff originally filed his claim in state court pursuant to the

Savings to Suitors Clause. Although the case was removed based on diversity jurisdiction,

diversity has been destroyed by the addition of a non-diverse defendant. And, because Plaintiff

originally filed suit pursuant to the Savings to Suitors Clause ‘exception’ to original jurisdiction,

this Court cannot exercise jurisdiction based on § 1333.”).

                                          CONCLUSION

        For the foregoing reasons, the Court grants Mariana’s motion to lift the stay in the

limitation of liability case [No. 21 C 4295, Doc. 17] and lifts the stay as to Mariana’s wrongful

death claims against Hanson, subject to the conditions outlined in the stipulation Mariana filed in

connection with her motion to lift the stay [No. 21 C 4295, Doc. 17-1]. In the wrongful death

case, the Court grants Mariana’s amended motion to remand [No. 21 C 3936, Doc. 17] and

denies Mariana’s initial motion to remand [No. 21 C 3936, Doc. 13] as moot. The Court

remands Mariana’s wrongful death case, No. 21 C 3936, to the Circuit Court of Cook County,

Illinois.



Dated: March 9, 2022                                           ______________________
                                                               SARA L. ELLIS
                                                               United States District Judge




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       Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 1 of 8 PageID #:346
          Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

    MARIANA M. OCHOA as Independent
    Administrator of the Estate of VICTOR
    LOBATO OCHOA, Deceased,

          Plaintiff,

                  v.
                                                           Case No. 1:21-cv-03936
    MATERIAL SERVICE CORPORATION
    d/b/a HANSON MATERIAL SERVICE                          Judge Sara L. Ellis
    CORPORATION; LEHIGH HANSON
    SERVICES LLC.; HEIDELBERG CEMENT
    GROUP; CAPTAIN KENNETH L. STUBBS;                      Magistrate Judge Sunil R. Harjani
    and CELIO SAN GABRIEL,

          Defendants.


PLAINTIFF’S AMENDED MOTION TO REMAND THE MATTER TO STATE COURT
         NOW COMES Plaintiff, MARIANA M. OCHOA (“Plaintiff”) as Independent

Administrator of the Estate of VICTOR LOBATO OCHOA (“Victor”), Deceased, by her attorneys

WISE MORRISSEY, LLC. against Defendants, MATERIAL SERVICE CORPORATION d/b/a

HANSON MATERIAL SERVICE CORPORATION (“Material”); LEHIGH HANSON

SERVICES LLC. (“Lehigh LLC.”); LEHIGH HANSON, INC. (“Lehigh Inc.”), CAPTAIN

KENNETH L. STUBBS (“Stubbs”) and CELIO SAN GABRIEL (“San Gabriel”), for her

Amended Motion to remand the matter to State Court1.

                                             Introduction




1
 Plaintiff’s Amended Motion to Remand is filed in response to the Plaintiff’s Second Amended Motion
being filed on August 31, 2021. (Dkt. 16). In particular, Plaintiff’s Second Amended Complaint added
Defendant Celio San Gabriel to the Complaint. Defendant San Gabriel is a resident of Cook County, Illinois.




                                          Exhibit C
    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 2 of 8 PageID #:347
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


       Plaintiff’s Motion seeks to remand the above matter to State Court pursuant to 28 U.S.

Code § 1447(c) for the following reasons: 1) the Court lacks subject matter jurisdiction since the

Single Claimant exception applies to the present matter; 2) Defendants’ Notice of Removal is

deficient for failing to list the citizenship of each of Defendant Lehigh Hanson Services LLC.’s

partners, limited partners and members; 3) the parties lack complete diversity where Defendant

San Gabriel is a citizen of Illinois and Material’s principle place of business is in Illinois.

                                        Procedural History

       On July 22, 2020, at approximately 6:40 p.m., San Gabriel was operating a 16-17 foot long

open motorboat on the Chicago River with eight additional passengers, including three adults and

five small children. (Exhibit 1, First Amended Complaint ¶21). All eight occupants of the

motorboat were wearing Personal Flotation Devises (PFD) including the Plaintiff and Victor. (Exh.

1, ¶22). At that time, Defendant Captain Kenneth L. Stubbs (“Stubbs”) was operating the towboat

Kiowa (“Kiowa”) which was 76 feet long and 26 feet wide. (Id. at. ¶ 11). The Kiowa was pushing

a barge that was 195 feet long and 35 feet wide, while being fully loaded with aggregate. (Id. at

¶11). The First Amended Complaint alleges that Defendant Stubbs was an employee of Defendants

Material, Lehigh LLC. and/or Lehigh Inc. (Id. at ¶12-14).

       According to witness accounts and an investigation by the Illinois Department of Natural

Resources (“IDNR”), the Kiowa was traveling at a speed that created large wakes in the Chicago

River, which was a strict no-wake zone. (Id. at ¶¶33-35). At that time, the wakes created by the

Kiowa and barge washed over the open bow of the motorboat and resulted in it capsizing and the

occupants being thrown overboard. (Id. at ¶29). Victor was trapped underneath the motorboat and

tragically drowned. (Id. at ¶30). A subsequent IDNR investigation concluded that the “cause of

the accident” was the “force of wake” created by the Kiowa and barge. (Id. at ¶34).



                                                   2
     Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 3 of 8 PageID #:348
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


        On July 1, 2021, Plaintiff filed her original Complaint in the Circuit Court of Cook County,

Illinois, County Department, under Case No. 2021-L-006726. (Exhibit 2, Original Complaint).

Plaintiff’s original Complaint was served on Defendants Material and Lehigh Hanson Services

LLC on July 14, 2021, and Defendant Stubbs on July 17, 2021. (Dkt. 1, pg.3, 43-45). Plaintiff filed

her First Amended Complaint in the Circuit Court of Cook County on July 22, 2021. (Exh. 1).

Defendants filed their Notice of Removal of Plaintiff’s original Complaint on July 24, 2021. (Dkt.

1). Finally, on August 31, 2021, plaintiff filed her Second Amended Complaint. (Dkt. 16).

                                              Argument

I)      The Court lacks subject matter jurisdiction where the Single Claimant exception
        applies.
        Defendants claim that this Court has original jurisdiction based on admiralty and pursuant

to 28 U.S.C. § 1333(1) which states “[a]ny civil case of admiralty or maritime jurisdiction, saving

to suitors in all cases all other remedies to which they are otherwise entitled”. (Dkt. 1, pg.3). As

stated, the “savings to suitors” clause in 28 U.S.C. § 1333(1), reserves to suitors in admiralty or

maritime cases their common-law remedies. These remedies include the right to select a forum

and the right to demand a jury trial. See American River Transp. Co. v. Ryan, 579 F.3d 820, 825

(7th Cir. 2009); citing Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 455 (2001); see also In

re McCarthy Brothers Co., 83 F.3d 821, 826–27 (7th Cir.1996) (describing the conflict between

the “savings to suitors” clause and the ship owner’s right to limited liability under 46 U.S.C §

30511(c) as “significant” because claimants have no right to a jury trial in admiralty actions in

federal court, and holding that a federal court must allow a claimant to proceed in state court if the

owner fails to prove her right to limited liability).

        The Supreme Court has determined that in light of this conflict between the public interest

in protecting the shipping industry reflected in the Limitation Act, and the strong interest in


                                                   3
     Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 4 of 8 PageID #:349
        Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


preserving common law remedies for injured parties underlying the “savings to suitors” clause

of § 1333(1), district courts have discretion to allow a case to proceed in state court if certain

conditions are met. Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 454 (2001). The Supreme

Court and the Seventh Circuit recognize two situations in which a district court should allow a

state court action involving a maritime claim to proceed: (1) the “single claimant” exception; and

(2) the “adequate fund” exception. See Lake Tankers Corp. v. Henn, 354 U.S. 147, 154

(1957); Langnes v. Green, 282 U.S. 531, 541 (1931); see also In re Illinois Marine Towing,

Inc., 498 F.3d 645, 650 (7th Cir.2007).

         As its name suggests, the “single claimant” exception exists when there is only a single

claimant asserting his claim(s) against the shipowner—in that case, the Supreme Court has held

that there is no need for the “peculiar and exclusive jurisdiction of an admiralty court,” and the

district court should allow the action to proceed in state court, while retaining exclusive jurisdiction

over the question of liability limitation. Langnes, 282 U.S. at 541–42. The Supreme Court

reasoned that for a district court to retain the suit when a state court could afford relief “would be

to preserve the right of the shipowner, but to destroy the right of the suitor in the state court to a

common law remedy; [whereas] to remit the cause to the state court would be to preserve the rights

of both parties.” Illinois Marine, 498 F.3d at 650; citing Langnes, 282 U.S. at 541.2 In the present

case, Plaintiff has brought a single claim against the Defendants on behalf of her son, Victor.

Therefore, the “single claimant” exception applies to the present matter and the “saving to suitors”




2
  Defendants have not sought to stay the underlying state matter pursuant to Limitation of Liability Act (Limitation
Act). 46 U.S.C. § 30505. Assuming Defendants seek such a stay, the Plaintiff is willing to enter into the requisite
stipulation needed to waive any claim of res judicata against Defendants based on a state court decision or judgment
with respect to issues arising under the Limitation Act. In addition, Plaintiff is willing to stipulate that she would not
seek to enforce any state court decision or judgment on any claim subject to limitation under the Act which exceeds
the value of the limitation fund as determined by the District Court.

                                                            4
    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 5 of 8 PageID #:350
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


clause of 28 U.S.C. § 1333(1) prevents the Court from having subject matter jurisdiction over the

present matter.

   II)      Defendants have failed to satisfy their burden to establish diversity.
         Defendants claim that this Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

because the corporate Defendants and tugboat captain are allegedly not “citizens” of the same state

as the Plaintiff. (Dkt. 1, pg.3). For an individual, “[s]tate citizenship for the purpose of the state

diversity provision is equated with domicile.” Sadat v. Mertes, 615 F.2d 1176, 1180 (7th Cir.

1980). For a corporation, it is “deemed to be a citizen of every State and foreign state by which it

has been incorporated and of the State or foreign state where it has its principal place of business.”

28 U.S.C. § 1332(c)(1).

         “When challenged on allegations of jurisdictional facts, the parties must support their

allegations by competent proof.” Hertz Corp. v. Friend, 559 U.S. 77, 96–97 (2010). Ultimately,

the removing party must establish the facts determining federal jurisdiction by a preponderance of

the evidence. Ill. Bell Tel. Co. v. Global NAPs Ill., Inc., 551 F.3d 587, 590 (7th Cir. 2008). The

party seeking removal has the burden of establishing federal jurisdiction, and federal courts should

interpret the removal statute narrowly, resolving any doubt in favor of the plaintiff's choice of

forum in state court. Doe v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th Cir.1993). As the Supreme

Court has long instructed, federal courts, as courts of limited jurisdiction, must make their own

inquiry to ensure that all statutory requirements are met before exercising jurisdiction. See Great

Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900).

         In the present case, defendant San Gabriel was the owner and operator of the open

motorboat that Plaintiff and Victor were traveling in at the time of the accident. (Dkt. 16, Second

Amended Complaint ¶25). Importantly, San Gabriel was a “citizen” and resident of Cook County,

Illinois at the time of the accident. Therefore, the parties lack “diversity” and this Court lacks

                                                  5
       Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 6 of 8 PageID #:351
          Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


jurisdiction over this matter whether both Plaintiff and Defendant San Gabriel are “citizens” of

Illinois.

         When it comes to corporations, the diversity statute itself makes clear that a corporation is

a citizen of both its state of incorporation and the state in which it maintains its “principal place of

business.” See 28 U.S.C. § 1332(c)(1). The Supreme Court has determined that a corporation's

principal place of business is the same as its “nerve center,” or “the place where the corporation's

high        level     officers    direct,    control,     and     coordinate      the     corporation's

activities.” Hertz Corp., 559 U.S. at 80. Determining the citizenship of other forms of business

associations is often more difficult. Page v. Democratic National Committee, 2 F.4th 630, 635 (7th

Cir. June 21, 2021). Partnerships, for example, are citizens of every state in which an individual

partner is a citizen. See Carden v. Arkoma Assocs., 494 U.S. 185, 195 (1990). The same rule

applies to other unincorporated entities, like limited liability companies, whose citizenship is also

determined by the citizenship of its “members.” See Americold Realty Trust v. Conagra Foods,

Inc., 577 U.S. 378, 381–82 (2016); see e.g., Carden v. Arkoma Associates, 494 U.S. 185, 195-96

(1990) (citizenship of a partnership is that of every partner or member, limited as well as

general). The only way to determine citizenship for diversity purposes is to look at the individual

partners—an analytical path repeatedly endorsed by the Supreme Court. See, e.g., Lincoln Prop.

Co. v. Roche, 546 U.S. 81 (2005)

            First, Defendants’ Notice fails to list the citizenship of Defendant Lehigh Hanson Services

LLC.’s individual partners or members. (Dkt. 1, ¶27). Instead, the Notice provides a single

paragraph regarding the citizenship of Lehigh Hanson Services LLC. claiming that it is “wholly

owned” by non-defendant Lehigh Hanson Inc. (Id.). As such, Defendants claim that Lehigh

Hanson Services LLC. is a Delaware Corporation with its principal place of business in Texas.



                                                    6
    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 7 of 8 PageID #:352
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


(Id.). As the Supreme Court and Seventh Circuit have repeatedly held, the party claiming diversity

jurisdiction must detail the citizenships of all its partners, limited partners and members. See.

Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998) (The citizenship of a partnership is the

citizenship of the partners, even if they are limited partners, so that if even one of the partners

(general or limited) is a citizen of the same state as the plaintiff, the suit cannot be maintained as

a diversity suit). In fact, a party’s failure to provide such requisite information has led to dismissal

for want of prosecution. See Guaranty National Title Co. v. J.E.G. Associates, 101 F.3d 57 (7th

Cir.1996) (Failure to go through all the layers can result in dismissal for want of jurisdiction).

       Second, Defendants’ Notice fails to satisfy their burden to establish that Defendant

Material d/b/a Hanson Material Service Corporation does not have its principal place of business

in Illinois. Defendants’ Notice contains the claim that Material “merged with and into” Hanson

Aggregate Midwest Inc. “on or about February 21, 2021”, approximately seven months after the

drowning occurred. (Dkt. 1, pg.1 n.1). The Notice goes on to make the conclusory claim that since

Hanson Aggregates Midwest Inc. was organized under the laws of Kentucky and has its principal

place of business in Texas, than Defendant Material shares the same citizenship. (Dkt. 1, ¶26).

However, the single paragraph in Defendants’ Notice fails to satisfy their burden to establish that

Material does not maintain its principal place of business in Illinois. In reality, Material was formed

in Chicago, Illinois by the Crown family in 1919 and has maintained its principal place of business

in this state ever since. Moreover, Material currently has more than 800 employees working in

Illinois and Indiana, and although Material purportedly merged with Hanson Aggregate Midwest

Inc. in February 2021, Material still maintains its principle place of business in Illinois. See

http://www.ceram.com/news/mar/material-service.htm last visited August 23, 2021).




                                                   7
    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 8 of 8 PageID #:353
       Case: 22-1511     Document: 4        Filed: 04/15/2022    Pages: 207


                                          Conclusion

       Wherefore, Plaintiff Mariana M. Ochoa as Independent Administrator of the Estate of

Victor Lobato Ochoa, Deceased respectfully requests that this Court grant her Motion to Remand

the matter to State Court.

                                           Respectfully submitted,
                                           MARIANA M. OCHOA

                                    By:    /s/ Michael L. Gallagher
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                                              8
           Case:
            Case:22-1511
                  22-1511      Document:
                                Document:1-1
                                          4            Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022     Pages:
                                                                               Pages:207
                                                                                      124              (1 of 128)


SHORT RECORD
NO. 22-1511
FILED 3/30/22


                                               No. 22 -


               U.S. COURT OF APPEALS for the SEVENTH CIRCUIT


    In Re Hanson Aggregates Midwest, Inc., Lehigh Hanson Services LLC, Lehigh Hanson, Inc. and
                                  Captain Kenneth L. Stubbs,
                                            Petitioners


    On Petition for a Writ of Mandamus to the United States District Court for the Northern District
                                 of Illinois in No. 1:21-cv-03936-SLE



                            PETITION FOR A WRIT OF MANDAMUS




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                                          Exhibit D
           Case:
            Case:22-1511
                  22-1511                Document:
                                          Document:1-1
                                                    4                       Filed:
                                                                             Filed:04/15/2022
                                                                                    03/30/2022                  Pages:
                                                                                                                 Pages:207
                                                                                                                        124                         (2 of 128)




                                                   TABLE OF CONTENTS


RELIEF SOUGHT.......................................................................................................................... 1

ISSUE PRESENTED...................................................................................................................... 1

FACTS NECESSARY TO UNDERSTAND THE ISSUE PRESENTED..................................... 1

REASONS WHY THE WRIT SHOULD ISSUE .......................................................................... 5

          I.           Introduction .......................................................................................................... 5

          II.          Review of the Remand Order is Appropriate by Writ of Mandamus .................. 5

          III.         Remand Was Not Authorized by 28 U.S.C. §1447(e) Because Defendant San
                       Gabriel’s Post-Removal Joinder Destroyed Only Diversity, Not Admiralty
                       Jurisdiction ........................................................................................................... 8

          IV.          Savings to Suitors Clause Does Not Affect Jurisdiction After Proper Removal 11

          V.           The Cases Relied Upon by the District Court Do Not Authorize Remand Here12

          VI.          The District Court Was Duty-Bound to Exercise Jurisdiction; The Writ Should
                       Compel the District Court to Properly Exercise its Authority ........................... 13

CONCLUSION............................................................................................................................. 14




                                                                       i
          Case:
           Case:22-1511
                 22-1511                 Document:
                                          Document:1-1
                                                    4                       Filed:
                                                                             Filed:04/15/2022
                                                                                    03/30/2022                Pages:
                                                                                                               Pages:207
                                                                                                                      124                         (3 of 128)




                                                TABLE OF AUTHORITIES
Cases

Adkins v. Illinois Central Railroad Company, 326 F.3d 828, 829-832 (7th Cir. 2003) ................ 14

Brown v. Porter, 149 F.Supp. 3d 963 (N.D. Ill. 2016) ........................................................... 12, 13

Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004) .................................................. 14

Curry v. Boeing Company, 2021 WL 1088325 (N.D. Ill. 3/22/2021) .......................................... 12

Foremost Ins. Co. v. Richardson, 457 U.S. 668, 674 (1982)........................................................ 10

Gossmeyer v. McDonald, 128 F.3d 481, 487-488 (7th Cir. 1997) .................................................. 5

In re Burlington N. Santa Fe Ry Co., 606 F.3d 379, 380 (7th Cir. 2010).................................. 5, 13

In re Garvey Marine, Inc., No. 03 C 5967, 2004 WL 2005824, at *2 (N.D. Ill. Sept. 3, 2004) .. 10

In the Matter of Amoco Petroleum Additives Company, 964 F.2d 706, 708-709

  (7th Cir. 1992) .................................................................................................................... 1, 6, 14

In the Matter of Shell Oil Company, 966 F.2d 1130 (7th Cir. 1992)............................................... 7

In the Matter of Shell Oil Company, 970 F.2d 355,356 (7th Cir. 1992).............................. 1,6 8, 14

Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527, 534 (1995)........ 9, 10

Lu Junhong v. Boeing Co., 792 F.3d 805 (7th Cir. 2015)............................................... 2,10, 11, 13

Madruga v. Superior Court of California, 346 U.S. 556, 560-561 (1954)................................... 11

Peyroux v. Howard, 32 U.S. 324, 341 (1833)................................................................................. 9

Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716 (1996) ....................................................... 13

Roche v. Evaporated Milk Assn., 319 U.S. 21, 26 (1943) ............................................................ 13

Schur v. LA Weight Loss Centers, Inc., 577 F.3d 752 (7th Cir. 2009) .......................................... 12

Sisson v. Ruby, 497 U.S. 358, 363–65, 364 n.2 (1990)................................................................... 9




                                                                      ii
           Case:
            Case:22-1511
                  22-1511                Document:
                                          Document:1-1
                                                    4                       Filed:
                                                                             Filed:04/15/2022
                                                                                    03/30/2022                 Pages:
                                                                                                                Pages:207
                                                                                                                       124                        (4 of 128)


Statutes

28 U.S.C. §1333(1) ................................................................................................................... 9, 11

28 U.S.C. §1441.............................................................................................................................. 9

28 U.S.C. §1441(a) ....................................................................................................................... 11

28 U.S.C. §1441(b) ....................................................................................................................... 11

28 U.S.C. §1447(c) ......................................................................................................................... 8

28 U.S.C. §1447(d) ......................................................................................................................... 8

28 U.S.C. §1447(e) ................................................................................................................ passim

28 U.S.C. §1651(a) ....................................................................................................................... 13

Other Legal Authorities
U.S. CONSTITUTION. Art. III section 2, cl 3............................................................................... 9




                                                                      iii
          Case:
           Case:22-1511
                 22-1511       Document:
                                Document:1-1
                                          4            Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022     Pages:
                                                                               Pages:207
                                                                                      124               (5 of 128)


RELIEF SOUGHT

          Petitioners respectfully seek a writ of mandamus compelling the U.S. District Court for the

Northern District of Illinois to vacate its Opinion and Order, filed March 9, 2022, that grants an

Amended Motion to Remand this case to state court despite (1) proper removal from the Circuit

Court of Cook County, Illinois based upon admiralty and diversity of citizenship jurisdiction and

(2) the continued presence of federal subject matter jurisdiction because this is an admiralty case

even after the Plaintiff amended her Complaint, following removal, to eliminate diversity.

ISSUE PRESENTED

          Whether a case that properly was removed from state to federal court can be remanded

because of a post-removal amended complaint that eliminates diversity jurisdiction but does not

destroy subject matter jurisdiction since this is an admiralty case. “When a district judge remands

a properly-removed case because of subsequent events, this court has both the authority and the

duty to rescind that remand.” In the Matter of Shell Oil Company, 970 F.2d 355 (7th Cir. 1992)

(per curiam), citing In the Matter Amoco Petroleum Additives Co., 964 F.2d 706, 708-709 (7th Cir.

1992); 28 U.S.C. §1447(e) (which requires remand only if a post-removal joinder of additional

Defendants “would destroy subject matter jurisdiction,” not just diversity jurisdiction) (emphasis

added).

FACTS NECESSARY TO UNDERSTAND THE ISSUE PRESENTED

          Plaintiff Mariana Ochoa filed her Complaint in Cook County, Illinois on July 1, 2021

seeking wrongful death and survival damages against Defendants Hanson Aggregates Midwest,

Inc. f/k/a Material Service Corporation d/b/a Hanson Material Service Corporation (“Hanson

Aggregates”), Lehigh Hanson Services LLC (“LHS”), Captain Kenneth L. Stubbs (“Captain

Stubbs”), and Heidelberg Cement Group (“Heidelberg”). Opinion and Order filed March 9, 2022,

Document 38, at 1 (Exhibit A in the attached Appendix); Notice of Removal, Document 1, at 1-2


                                                   1
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4             Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022      Pages:
                                                                                Pages:207
                                                                                       124                (6 of 128)


(Exhibit B in the attached Appendix); Complaint at Law (Exhibit C in the attached Appendix).

Captain Stubbs was navigating a Hanson Aggregates towboat and barge on the Chicago River,

indisputably a navigable waterway of the United States, when a pleasure boat operated by Celio

San Gabriel capsized and one of its occupants, a child, drowned. Exhibit A at 1. On July 24, 2021,

Defendants timely and properly removed this case to the U.S. District Court for the Northern

District of Illinois under both diversity jurisdiction and admiralty jurisdiction, citing Lu Junhong

v. Boeing Co., 792 F.3d 805 (7th Cir. 2015) (approving removal based on admiralty jurisdiction).

Exhibit A at 1-2; Exhibit B at 3-10. The case was assigned to the Honorable Sara L. Ellis. See

Exhibit A at 1.

       On August 23, 2021, Plaintiff moved to remand this matter to state court for three reasons,

each of which was meritless. Exhibit A at 2; Plaintiff’s Motion to Remand filed August 23, 2021,

Document 13 at 1-2, 4-7 (Exhibit D in the Appendix). First, Plaintiff misstated the applicable

admiralty law by improperly conflating admiralty jurisdiction with an abstention doctrine known

as the “Single Claimant Exception,” which was not then before the District Court. Second, Plaintiff

claimed Defendants did not adequately identify the citizenship of Defendant LHS, but the District

Court later rejected that assertion because, as stated in the Notice of Removal, LHS is a citizen of

Delaware and Texas because its sole owner (and, therefore, sole member) is Defendant Lehigh

Hanson, Inc., which is a citizen of Delaware (its state of incorporation) and Texas (its principal

place of business). Exhibit A at 6-7. Third, and finally, Plaintiff incorrectly asserted—based solely

on a 2006 news article—that Defendant Hanson Aggregates had its principal place of business in

Illinois and therefore was a citizen of Illinois. The District Court later rejected this allegation too

because Hanson Aggregate’s principal place of business, and nerve center, is—as stated in the

Notice of Removal—in Texas, not Illinois. Exhibit A at 6-7; Response in Opposition to Plaintiff’s

Motions to Remand filed September 21, 2021, Document 20 at 1-14 (Exhibit E in the Appendix).

                                                  2
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4             Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124               (7 of 128)


       On August 30, 2021, more than 30 days after removal, the District Court granted Plaintiff

leave to file a Second Amended Complaint, which she filed on August 31. Exhibit A at 2; Second

Amended Complaint at Law, Document 16 (excerpt) (Exhibit F in the Appendix). (A First

Amended Complaint was filed in Cook County and not served until after removal, so it did not

become part of this case. In any event, it did not alter the parties or substantive allegations.) The

Second Amended Complaint added Defendants Celio San Gabriel, the operator of the pleasure

boat, and Lehigh Hanson Inc. Exhibit A at 2; Exhibit F at 1-3. It deleted Heidelberg Cement Group,

actually known as Heidelberg Cement AG. Exhibit A at 2; Exhibit F at 1-3. On September 3,

2021—more than 30 days after the case had been removed—Plaintiff filed an “Amended Motion

to Remand the Matter to State Court.” Exhibit A at 2; Plaintiff’s Amended Motion to Remand the

Matter to State Court, Document 17 (Exhibit G in the Appendix). Plaintiff’s amended motion

largely repeated her original motion, but also argued that the post-removal addition of Defendant

San Gabriel (whom she did not serve) in her Second Amended Complaint destroyed diversity of

citizenship and—Plaintiff claimed—subject matter jurisdiction. Id.; Exhibit A at 6; Defendants’

Supplemental Brief in Opposition to Remand, Document 37 at 2 (Exhibit H in the Appendix).

       Petitioners timely opposed the motion to remand and amended motion to remand. Among

other things, Petitioners informed the District Court that the case had been properly removed to

federal court and explained that even if diversity jurisdiction were defeated, because of the

Amended Complaint, federal subject matter jurisdiction remained since this is an admiralty case.

Exhibit E at 5.

       On August 11, 2021, and pursuant to its rights under Rule F and the Limitation of Liability

Act, Defendant Hanson Aggregates filed a related Complaint in the Northern District of Illinois

seeking exoneration from, or limitation of, liability arising from the voyage that is the subject

matter of Plaintiff’s lawsuit. Exhibit A at 2. Defendant Hanson Aggregate’s limitation case was

                                                 3
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4             Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022      Pages:
                                                                                Pages:207
                                                                                       124                (8 of 128)


assigned to District Judge Manish S. Shah. Consistent with Rule F and the Limitation Act, Judge

Shah entered an injunction on September 8, 2021 to stay and restrain the prosecution of any legal

action against Defendant Hanson Aggregates, except in its limitation case, No. 1:21-cv-4295.

Exhibit A at 2. On January 14, 2022, the limitation case was reassigned to Judge Ellis. Exhibit A

at 2, Footnote 1. In the same Opinion and Order granting the remand that Petitioners hereby

challenge, Judge Ellis first lifted the stay in the limitation case so that she could decide the remand

issue in the instant Ochoa lawsuit. Exhibit A at 2-6. Petitioners do not challenge herein the portion

of the Opinion and Order that lifts the stay. Only the remand of the Ochoa lawsuit is at issue in

this Petition. The limitation case is not.

        In granting Plaintiff’s Amended Motion to Remand, the District Court did not question that

removal properly had been accomplished at the time of removal. See Exhibit A. Rather, the District

Court explained that it “must remand the wrongful death case to state court because Plaintiff Ochoa

originally filed suit in state court pursuant to the Savings to Suitors Clause exception to federal

courts’ exclusive admiralty jurisdiction and the addition of San Gabriel as a Defendant means that

diversity jurisdiction no longer supplies the required additional jurisdictional basis to support the

case’s removal to federal court.” Exhibit A at 3. The District Court also invoked 28 U.S.C.

§1447(e) to support its ruling on the basis that “Section 1447(e) displaces the general rule that

diversity jurisdiction is determined at the time a case is filed with respect to the post-removal

joinder of non-diverse defendants.” Exhibit A at 8. The District Court denied Plaintiff’s original

Motion to Remand as moot. Exhibit A at 9.

        As Petitioners will explain in greater detail in the following section, the District Court’s

Opinion and Order (1) ignored the essential fact that at the time of removal both diversity of

citizenship and admiralty jurisdiction existed such that removal unquestionably was proper; and

(2) 28 U.S.C. §1447(e) does not refer to post-removal joinder of additional defendants destroying

                                                  4
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4             Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022      Pages:
                                                                                Pages:207
                                                                                       124                (9 of 128)


diversity of citizenship jurisdiction and therefore requiring remand; rather, it refers to remand

being required when post-removal joinder destroys “subject matter jurisdiction,” which is not the

case here because admiralty jurisdiction continues to provide “subject matter jurisdiction” even in

the absence of diversity of citizenship.

REASONS WHY THE WRIT SHOULD ISSUE

       I.      Introduction

       The requested writ compelling the District Court to vacate its remand order should issue

because the District Court exceeded its authority by remanding to state court a case that properly

had been removed to federal court at the time of removal and which could not be remanded based

upon 28 U.S.C. §1447(e) because the post-removal amendment to Plaintiff’s Complaint destroyed

only diversity jurisdiction, not “subject matter jurisdiction” since admiralty jurisdiction remains.

       II.     Review of the Remand Order is Appropriate by Writ of Mandamus

       Despite the general limitation on appellate review of orders of remand, this Court has

jurisdiction here by writ petition because no part of 28 U.S.C. §1447, which governs procedure

after removal, permits remand under these circumstances. As this Court has recognized, a motion

to remand for lack of subject matter jurisdiction has a temporal component to it. Because federal

court jurisdiction is determined as of “the instant of removal,” a post-removal amendment of the

complaint generally does not affect whether a properly removed case shall remain in federal court.

In the Matter of Shell Oil Company, 970 F. 2d 355, 356 (7th Cir. 1992) (per curiam); In re

Burlington N. Santa Fe Ry Co., 606 F.3d 379, 380 (7th Cir. 2010) (“The well-established general

rule is that jurisdiction is determined at the time of removal, and nothing filed after removal affects

jurisdiction.”); Gossmeyer v. McDonald, 128 F.3d 481, 487-488 (7th Cir. 1997) (“Once an action

is properly removed from state court to federal court, an amendment of the complaint rendering it

outside the federal court’s jurisdiction does not defeat the original removal.”).


                                                  5
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4            Filed:
                                                      Filed:04/15/2022
                                                             03/30/2022      Pages:
                                                                              Pages:207
                                                                                     124          (10 of 128)


       There is, of course, an exception “if after removal the plaintiff seeks to join additional

defendants whose joinder would destroy subject matter jurisdiction…’’. 28 U.S.C. §1447(e). In

that instance, post-removal remand is permissible—indeed, it is required if joinder is allowed—

even though removal was proper at the time of removal; but that is not the circumstance here. Post-

removal amendment of Plaintiff’s Complaint destroyed diversity of citizenship jurisdiction, not

subject matter jurisdiction since this is an admiralty case. Accordingly, appellate review is

available by writ petition because this is not a case in which the District Court erred in believing

subject matter jurisdiction never existed or properly concluded that 28 U.S.C. §1447(e) afforded a

basis for remand because of a post-removal joinder that destroyed subject matter jurisdiction.

Rather, when “subsequent events” have caused a District Court to order remand without legal

authority, this Court has recognized not only its own authority, but its duty to review the order of

remand. In the Matter of Shell Oil Company, 970 F.2d 355, 356 (7th Cir. 1992) (per curiam), citing

In the Matter of   Amoco Petroleum Additives Company, 964 F.2d 706, 708-709 (7th Cir. 1992).

       In In the Matter of Amoco Petroleum Additives Company, plaintiffs, including a labor

union, sued in state court over alleged employer violations of privacy rights. The defendants

removed the case to federal court because the presence of the union as a plaintiff implicated a

federal question involving labor relations issues covered by federal statute. After removal, the

plaintiffs amended their complaint to remove the labor union as a plaintiff and argued therefore

that no federal question was present, such that federal subject matter jurisdiction was missing and

the case should be remanded. The District Court granted remand even though it appeared that the

District Court recognized the existence of federal subject matter jurisdiction at the time of the

removal, before the amendment had deleted the union as a party. The defendants petitioned this

Court for a writ of mandamus to compel the District Court to vacate its order of remand. This

Court granted the writ. Regarding the issue of whether the appellate court could review an order

                                                 6
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4            Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124          (11 of 128)


of remand, this Court stated: “But we understand Carnegie-Mellon to permit review when the

district judge believes that removal was proper and that later developments authorize remand. If

the judge believed that subject-matter jurisdiction was missing at the outset, however, §1447(d)

puts the remand beyond our ken.” 964 F. 2d at 708. Undoubtedly Judge Ellis thought removal was

proper in this case at the time of removal. It was only after the post-removal amendment to the

Complaint that she stated—incorrectly—that the addition of San Gabriel as a Defendant “no

longer” supplies the requisite jurisdictional basis. Exhibit A at 3.

       Similarly, in In the Matter of Shell Oil Company, 966 F. 2d 1130 (1992), Dennler sued

Shell Oil Company in state court for breaching his employment contract that included an annual

$70,000 salary. Shell removed the case to federal court on diversity of citizenship jurisdiction. Id.

at 1131. At that time, the jurisdictional minimum for diversity cases was more than $50,000. Shell

argued that the jurisdictional minimum was satisfied because the amount in dispute potentially

involved some multiple of Dennler’s annual $70,000 salary. Id. Dennler moved to remand the case

and included a stipulation that he was not seeking more than $50,000 in damages. Citing his post-

removal stipulation, Dennler argued the case did not satisfy the jurisdictional minimum to support

federal subject matter jurisdiction based upon diversity of citizenship. Id. at 1131-1132. The

District Court granted the motion for remand without explanation. Id. at 1132.

       Shell petitioned this Court for a writ of mandamus, urging that the remand had been granted

without proper authority because federal subject matter jurisdiction had existed at the time of

removal based upon diversity of citizenship. Id. at 1131-1132. This Court initially issued a partial

writ of mandamus compelling the District Court to explain the reason for the remand so that this

Court could determine whether it should set aside the remand order. Id. at 1133. Citing its prior

decision in the Amoco case, this Court explained that 28 U.S.C. §1447(d) did not bar its review of

the remand order if the District Court believed that the case was properly removed, but then granted

                                                  7
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4             Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022       Pages:
                                                                                Pages:207
                                                                                       124          (12 of 128)


a remand because of the post-removal stipulation about the damages being sought. Id. at 1132.

This Court explained that a District Court’s decision about whether to issue a remand under 28

U.S.C. §1447(d) and its companion subpart 28 U.S.C. §1447(c) carries with it a temporal

component; that is, the issue of whether federal subject matter jurisdiction exists such that the case

should remain in federal court, or does not exist such that the case should be remanded, depends

upon the circumstances as they existed at the time of removal, not as they might exist at some

subsequent point. Id. at 1133.

       Thereafter, in a related decision in the same case, In the Matter of Shell Oil Company, cited

earlier, this Court considered the District Court’s new opinion explaining the reasons for its

decision to remand the Shell case. 970 F. 2d 355. The District Court’s explanation proved that the

District Court had issued its remand because of the plaintiff’s post-removal stipulation that he was

not seeking less than the jurisdictional minimum. Id. at 356. Accordingly, this Court granted the

petition for a writ of mandamus and issued the writ compelling the District Court to vacate its

remand order. As this Court explained, “Because jurisdiction is determined as of the instant of

removal, a post-removal affidavit or stipulation is no more effective than a post-removal

amendment of the complaint. When a district judge remands a properly-removed case because of

subsequent events, this court has both the authority and the duty to rescind that remand.” Id. at

356. That is exactly the situation in the instant case. The only circumstance that the District Court

identified to support its remand was the post-removal addition of San Gabriel as a Defendant.

Exhibit A at 3. The District Court never questioned that removal was proper at the time removal

was accomplished before Defendant San Gabriel was joined.

       III.    Remand Was Not Authorized by 28 U.S.C. §1447(e) Because Defendant San
               Gabriel’s Post-Removal Joinder Destroyed Only Diversity, Not Admiralty
               Jurisdiction




                                                  8
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4             Filed:
                                                        Filed:04/15/2022
                                                               03/30/2022       Pages:
                                                                                 Pages:207
                                                                                        124           (13 of 128)


       Contrary to the District Court’s Opinion and Order, remand was not authorized or

compelled by 28 U.S.C. §1447(e) because of Defendant San Gabriel’s joinder. As this Court is

aware, that section requires a remand to state court if, after removal, joinder is permitted of an

additional defendant whose presence “would destroy subject matter jurisdiction.” 28 U.S.C.

§1447(e) (emphasis added). But the post-removal addition of alleged Illinois resident and

Defendant San Gabriel did not destroy subject matter jurisdiction. Rather, Defendant San Gabriel’s

addition only destroyed diversity of citizenship jurisdiction. His addition had no impact on

admiralty jurisdiction which, as case law has long held, is available regardless of the citizenship

of the parties. See, e.g., Peyroux v. Howard, 32 U.S. 324, 341 (1833) (“The want of jurisdiction in

the district court is not put on the ground set up in the plea in the court below, that all parties were

citizens of the same state. This has been very properly abandoned here, as entirely inapplicable to

admiralty proceedings in the district court.”)

       Defendants have the right to remove to federal court a case filed in state court that could

have been originally filed in federal court. 28 U.S.C. §1441. Federal courts “have original

jurisdiction…of…[a]ny civil case of admiralty or maritime jurisdiction, saving to suitors in all

cases all other remedies to which they are otherwise entitled.” 28 U.S.C. §1333(1); see U.S.

CONST. Art. III §2, cl. 3. A civil case is one of “admiralty jurisdiction” if (1) the alleged “tort

occurred on navigable water” (the location test), and (2) the activity in question has “a potentially

disruptive impact on maritime commerce” and bears a “substantial relationship to traditional

maritime activity” (the connection test). Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock

Co., 513 U.S. 527, 534 (1995) (quoting Sisson v. Ruby, 497 U.S. 358, 363–65, 364 n.2 (1990)); Lu

Junhong v. Boeing Co., 792 F.3d 805, 813–817 (7th Cir. 2015).

       The incident at issue centers around the drowning of a passenger when a motorboat

capsized allegedly because of a towboat and its barge then engaged in maritime commerce on a

                                                   9
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4             Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124             (14 of 128)


navigable waterway, the Chicago River. This incident not only potentially disrupted maritime

commerce, but actually disrupted maritime commerce. The towboat and barge were held up while

various government agencies, including the Illinois Department of Natural Resources, the Chicago

Fire and Police Departments, and the United States Coast Guard, undertook rescue operations. The

first prong of the connection test therefore is easily satisfied as the incident had more than the

required “potentially disruptive impact on maritime commerce.” Grubart, 513 U.S. at 534 (quoting

Sisson, 497 U.S. at 363–65, 364 n.2).

       The second prong of the connection test for admiralty jurisdiction asks whether the activity

bears a “substantial relationship to traditional maritime activity.” Grubart, 513 U.S. at 534. The

key question is “whether a tortfeasor’s activity, commercial or noncommercial, on navigable

waters is so closely related to activity traditionally subject to admiralty law.” Id. at 539.

“Navigation of boats in navigable waters clearly falls within the substantial relationship.” Id. at

540. The Supreme Court has also noted that the “primary focus of admiralty jurisdiction is

unquestionably the protection of maritime commerce.” Foremost Ins. Co. v. Richardson, 457 U.S.

668, 674 (1982).

       Here, the incident involved the operation of a towboat and barge engaged in maritime

commerce and a pleasure craft, all of which were travelling on navigable waters. This type of

maritime activity “clearly falls within the substantial relationship.” Grubart, 513 U.S. at 540; see

also In re Garvey Marine, Inc., No. 03 C 5967, 2004 WL 2005824, at *2 (N.D. Ill. Sept. 3, 2004)

(finding relation between traditional maritime activity and tugboat pushing two barges over

navigable waterway). The second prong of the connection test is therefore satisfied as the alleged

tort bears a “substantial relationship to traditional maritime activity.” Grubart, 513 U.S. at 534.

       Both prongs of the connection test for establishing admiralty jurisdiction are therefore

satisfied. Id. at 534; Lu Junhong, 792 F.3d at 815–16. Accordingly, because the location and

                                                 10
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4             Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124          (15 of 128)


connection tests are both satisfied, the District Court has admiralty jurisdiction over the present

case, and the case was removable under the plain language of 28 U.S.C. §1441(a); Lu Junhong,

792 F.3d at 818. Even Plaintiff Ochoa has acknowledged, in the companion limitation case, “that

the incident that forms the basis of this litigation is within the scope of federal admiralty and

maritime jurisdiction.” Exhibit I at 2.

       IV.     Savings to Suitors Clause Does Not Affect Jurisdiction After Proper Removal

       Contrary to the District Court’s Opinion and Order, the Savings to Suitors Clause does not

control or affect whether this case should have been remanded.

       Found in 28 U.S.C. §1331(1), the Savings to Suitors Clause leaves state courts competent

to adjudicate maritime causes of action that are brought in personam. Madruga v. Superior Court

of California, 346 U.S. 556, 560-561 (1954). The District Court held that the Savings to Suitors

Clause requires an independent basis for jurisdiction in order for an admiralty case to be removed

from state to federal court. That is a contested question, especially after an amendment to 28 U.S.C.

§1441(b) in 2011. See Lu Junhong, 792 F.3d at 817. But even if we assume for the sake of argument

that the Savings to Suitors Clause requires an independent basis for jurisdiction to remove an

admiralty case—a point we do not concede—it makes no difference for purposes of this case. At

the time this case was removed, diversity of citizenship unquestionably provided an independent

basis for subject matter jurisdiction if one was needed. Defendant San Gabriel (by Plaintiff’s own

choosing) was not a party Defendant at the time of removal. Plaintiff did not add San Gabriel as a

Defendant until more than 30 days after she found herself in federal court due to a proper removal.

Diversity existed in his absence at the time of removal, as the District Court’s Opinion and Order

confirms. Accordingly, whether one concludes that removal of an admiralty case from state to

federal court requires an independent basis for jurisdiction at the time of removal, diversity

jurisdiction existed at the time of removal and provided that independent basis, so there can be no


                                                 11
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4             Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124             (16 of 128)


question about whether removal was properly accomplished. In other words, to the extent, if any,

that the Savings to Suitors Clause affected the propriety of removal, its demand was satisfied. No

statute or common law jurisprudence holds that the Savings to Suitors Clause somehow exercises

an ongoing restraint on admiralty jurisdiction such that an independent basis for jurisdiction must

exist indefinitely, even after a proper removal, for an admiralty case to remain in federal court.

       V.      The Cases Relied Upon by the District Court Do Not Authorize Remand
               Here

       The three cases principally relied upon by the District Court to support its remand do not

authorize remand under the instant circumstances.

       In Schur v. LA Weight Loss Centers, Inc., 577 F.3d 752 (7th Cir. 2009), the sole basis for

subject matter jurisdiction was diversity of citizenship. This Court held that post-removal joinder

of non-diverse defendants required a remand to state court. The District Court had denied a

remand. Of course, remand was appropriate in that instance under 28 U.S.C. §1447(e) since no

other basis for subject matter jurisdiction remained after the post-removal joinder that destroyed

diversity. But that is not the situation here given the ongoing presence of admiralty jurisdiction.

       Curry v. Boeing Company, 2021 WL 1088325 (N.D. Ill. 3/22/2021) denied rather than

granted a remand. Removal in Curry, as in this case, was predicated upon admiralty and diversity

jurisdiction, but it did not involve the instant factual situation in which post-removal joinder

destroyed diversity but not admiralty jurisdiction. Nowhere does Curry suggest, let alone hold,

that diversity jurisdiction must remain indefinitely after a proper removal to maintain subject

matter jurisdiction and defeat remand in an admiralty case.

       Brown v. Porter, 149 F. Supp. 3d 963 (N.D. Ill. 2016), the third case principally relied upon

by the District Court to support its remand order, involved a remand of a boating accident case in

which the only basis for removal was admiralty jurisdiction. The District Court in Brown



                                                 12
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4              Filed:
                                                         Filed:04/15/2022
                                                                03/30/2022       Pages:
                                                                                  Pages:207
                                                                                         124           (17 of 128)


concluded that the Saving to Suitors Clause allows a plaintiff to forestall removal where the only

basis for federal jurisdiction is admiralty jurisdiction. 149 F. Supp. 3d at 973. Brown’s value as

precedent may be questionable because it disagrees with this Court’s reasoning in Lu Junhong, but

the more basic point for purposes of the instant petition is that Brown is factually different in an

essential way. The basis for remand in Brown, that at the time of removal only admiralty

jurisdiction existed, does not match the instant case in which removal was supported by both

admiralty and diversity jurisdiction and therefore unquestionably was proper “at the time of

removal” regardless of how one resolves the Savings to Suitors Clause issue. In re Burlington N.

Santa Fe Ry Co., 606 F. 3d at 380.

        VI.     The District Court Was Duty-Bound to Exercise Jurisdiction; The Writ
                Should Compel the District Court to Properly Exercise its Authority

        Lacking the authority to remand this case to state court, the District Court is duty-bound to

exercise the federal jurisdiction granted to it by the Constitution and Congress. Quackenbush v.

Allstate Ins. Co., 517 U.S. 706, 716 (1996) (“We have often acknowledged that federal courts have

a strict duty to exercise the jurisdiction that is conferred upon them by Congress.”) Having failed

to do so, the District Court is subject to the discretion of this Court in issuing a writ of mandamus.

        The writ of mandamus against a lower court derives from 28 U.S.C. §1651(a): “The

Supreme Court and all courts established by Act of Congress may issue all writs necessary or

appropriate in aid of their respective jurisdictions and agreeable to the usages and principles of

law.” The Supreme Court has explained that “[t]he traditional use of the writ in aid of appellate

jurisdiction both at common law and in the federal courts has been to confine all inferior courts to

a lawful exercise of its prescribed jurisdiction or to compel it to exercise its authority when it is its

duty to do so.” Roche v. Evaporated Milk Assn., 319 U.S. 21, 26 (1943). That is precisely the

situation here since the District Court has subject matter jurisdiction pursuant to a proper removal



                                                   13
        Case:
         Case:22-1511
               22-1511        Document:
                               Document:1-1
                                         4            Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022      Pages:
                                                                               Pages:207
                                                                                      124          (18 of 128)


but has declined to exercise it based upon a misapprehension of the meaning of 28 U.S.C. §1447(e)

and admiralty jurisdiction.

       Issuance of the writ is, of course, committed to the sound discretion of this Court. But the

factors which precedent identifies for exercise of the writ are satisfied here. See Cheney v. U.S.

Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004). First, Petitioners have no other adequate remedy

to preserve their right to a federal forum. As this Court has recognized, review of an order of

remand by appeal (rather than by writ petition) is not available. Adkins v. Illinois Central Railroad

Company, 326 F.3d 828, 829-832 (7th Cir. 2003). Second, Petitioners’ right to the writ is “clear

and indisputable” given their showing above that denial of their right to a federal forum is due to

an abuse of power by the District Court in remanding a case that was properly removed to federal

court and for which remand is not authorized. Cheney, 542 U.S. 381. Finally, issuance of the writ

is appropriate under the circumstances. Id. Indeed, under similar circumstances, as discussed

earlier, this Court has issued writs of mandamus when District Courts improperly have remanded

cases based upon post-removal events despite proper removal and the existence of subject matter

jurisdiction at the time of removal. See Shell Oil Company, 970 F.2d 355 and In re Amoco

Petroleum Additives Co., 964 F. 2d 706, 708-709 discussed above.

CONCLUSION

       Petitioners, as Defendants below, properly removed this case to the Northern District of

Illinois from Cook County based upon admiralty jurisdiction and diversity of citizenship

jurisdiction. More than 30 days later, Plaintiff Ochoa amended her Complaint to destroy diversity

of citizenship; but her post-removal amendment did not destroy subject matter jurisdiction in the

federal court because this is an admiralty case. By remanding this case based upon the Savings to

Suitors Clause and 28 U.S.C. §1447(e), neither of which authorizes a remand under these

circumstances, the District Court acted without legal authority and in violation of its duty to

                                                 14
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4            Filed:
                                                      Filed:04/15/2022
                                                             03/30/2022     Pages:
                                                                             Pages:207
                                                                                    124          (19 of 128)


exercise federal jurisdiction. Accordingly, the requested writ of mandamus should issue

compelling the District Court to vacate its March 9, 2022 Opinion and Order, insofar as it grants

remand, so that this case may proceed in the Northern District of Illinois where removal was proper

and subject matter jurisdiction exists.

                                             Respectfully Submitted,

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                                                15
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4            Filed:
                                                      Filed:04/15/2022
                                                             03/30/2022      Pages:
                                                                              Pages:207
                                                                                     124          (20 of 128)


                                 CERTIFICATE OF SERVICE
       I certify that on this 30th day of March, 2022. I caused the foregoing Petition for a Writ of

Mandamus and its accompanying appendix to be served by email and Federal Express on the

Counsel below:

Michael L. Gallagher
WISE MORRISEY, LLC
161 N. Clark, Suite 3250
Chicago, Illinois 60601


       I further certify that on the same date I caused the foregoing Petition for a Writ of

Mandamus and its accompanying appendix to be served by Federal Express to the District Court

at the following address:

The Honorable Sara L. Ellis
Judge, U.S. District Court, N.D. Ill.
Everett Dirksen U.S. Courthouse
219 South Dearborn Street
Chicago, Illinois 60604



                                                     /s/ Alan K. Goldstein




                                                16
        Case:
         Case:22-1511
               22-1511       Document:
                              Document:1-1
                                        4            Filed:
                                                      Filed:04/15/2022
                                                             03/30/2022      Pages:
                                                                              Pages:207
                                                                                     124          (21 of 128)


                             CERTIFICATE OF COMPLIANCE
       Pursuant to Fed. R. App. P. 32(g), I certify that this Petition complies with the type volume

limitation of Fed. R. App. P. 21(d)(1) because the Petition contains 4,860 words, excluding the

parts of the Petition excluded by Fed. Rs. App. P. 21(d) and 32(f).

       I further certify that this Petition complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this Petition has

been prepared using Times New Roman 12-point font, a proportionately spaced typeface.

       Dated this 30th day of March, 2022.


                                                     /s/ Alan K. Goldstein




                                                17
            Case:
             Case:22-1511
                   22-1511                 Document:
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                                                      4                       Filed:
                                                                               Filed:04/15/2022
                                                                                      03/30/2022                  Pages:
                                                                                                                   Pages:207
                                                                                                                          124               (22 of 128)


                                    APPELLATE RULE 21(a)(2)(C) APPENDIX
                                                                                                                                       Exhibit


Opinion and Order, Document 38..........................................................................................                   A

Notice of Removal, Document 1 (without its exhibits) .........................................................                             B

Complaint...............................................................................................................................   C

Plaintiff’s Motion to Remand, Document 13 (without its exhibits) ......................................                                    D

Opposition to Plaintiff’s Motions to Remand, Document 20 (without its exhibits)..............                                              E

Second Amended Complaint at Law (excerpt pp.1-3), Document 16 ...................................                                          F

Plaintiff’s Amended Motion to Remand, Document 17 ........................................................                                 G

Defendants’ Supplemental Brief in Opposition to Remand, Document 37 ..........................                                             H

Claimant’s Motion to Modify Stay, Document 17 in Limitation Case, 21-cv-04295 ..........                                                    I
    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 1 of 9 PageID #:450
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                   (23 of 128)


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIANA M. OCHOA, as Independent       )
Administrator of the Estate of VICTOR  )
LOBATO OCHOA, deceased,                )
                                       )
            Plaintiff,                 )
                                       )                   No. 21 C 3936
       v.                              )
                                       )                   Judge Sara L. Ellis
MATERIAL SERVICE CORPORATION           )
d/b/a HANSON MATERIAL SERVICE          )
CORPORATION; LEHIGH HANSON             )
SERVICES LLC; LEHIGH HANSON INC.; )
CAPTAIN KENNETH L. STUBBS; and         )
CELIO SAN GABRIEL,                     )
                                       )
            Defendants.                )
_______________________________________)
IN THE MATTER OF THE COMPLAINT OF )
HANSON AGGREGATES MIDWEST, INC. )
F/K/A MATERIAL SERVICE                 )                   No. 21 C 4295
CORPORATION D/B/A HANSON               )
MATERIAL SERVICE CORPORATION           )                   Judge Sara L. Ellis
FOR EXONERATION FROM, OR               )
LIMITATION OF, LIABILITY               )

                                  OPINION AND ORDER

       On July 22, 2020, a motorboat operated by Celio San Gabriel that carried nine individuals

capsized on the Chicago River. Victor Lobato Ochoa, one of the motorboat’s passengers,

drowned. On July 1, 2021, his mother and the administrator of his estate, Mariana Ochoa, filed a

lawsuit against Defendants Material Service Corporation d/b/a Hanson Material Service

Corporation (“Hanson”), Lehigh Hanson Services LLC (“Lehigh LLC”), Heidelberg Cement

Group (“Heidelberg”), and Kenneth L. Stubbs in state court. Mariana claimed that a towboat and

barge that Stubbs operated as an employee of Hanson, Lehigh LLC, and Heidelberg caused the

motorboat to capsize. Hanson, Lehigh LLC, Heidelberg, and Stubbs removed Mariana’s



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     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 2 of 9 PageID #:451
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                              (24 of 128)


wrongful death case, No. 21 C 3936, to this Court pursuant to admiralty and diversity

jurisdiction, 28 U.S.C. §§ 1332(a), 1333(1), on July 24, 2021. Mariana filed a second amended

complaint on August 31, 2021, naming Hanson, Lehigh LLC, Lehigh Hanson, Inc. (“Lehigh

Inc.”), and Stubbs (collectively, the “Hanson Defendants”), as well as San Gabriel as defendants.

Mariana also filed a motion to remand the case to state court on August 23, 2021, which she

supplemented with an amended motion on September 3, 2021, after she filed her second

amended complaint.

        Meanwhile, Hanson filed a limitation of liability case, No. 20 C 4295, seeking

exoneration from or limitation of its liability for any loss, injury, or damage resulting from the

July 22, 2020 incident pursuant to Supplemental Rule F of the Federal Rules of Civil Procedure

and the Limitation of Liability Act (the “Limitation Act”), 46 U.S.C. § 30501 et seq. 1 On

September 8, 2021, the court entered an order requiring all persons having claims arising out of

the July 22, 2020 incident to file claims with the Clerk of Court by November 1, 2021. The court

also stayed all proceedings arising out of or connected with the July 22, 2020 incident, a stay that

reached the wrongful death case. Mariana filed an answer on October 29, 2021, but no other

individual filed a claim as ordered by the court. The court then entered default against all

persons except Mariana and allowed Mariana to file a belated claim, which she did on December

20, 2021. Mariana also filed a motion to lift the stay so that she can pursue her wrongful death

case in state court.

        The Court now addresses the two interrelated motions pending in these cases: Mariana’s

motion to lift the stay in the limitation of liability case [No. 21 C 4295, Doc. 17] and Mariana’s

motions to remand the wrongful death case to state court [No. 21 C 3936, Docs. 13, 17]. The

1
  Although not initially assigned to this Court, the limitation of liability case, No. 21 C 4295, was
reassigned to this Court as related to the underlying wrongful death case, No. 21 C 3936, on January 14,
2022.
                                                    2
     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 3 of 9 PageID #:452
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                         (25 of 128)


Court finds it appropriate to lift the stay in the limitation of liability case to allow Mariana to

proceed with her wrongful death case because she is the only individual asserting a claim

involving the July 22, 2020 incident. And having lifted the stay, the Court must remand the

wrongful death case to state court because Mariana originally filed suit in state court pursuant to

the saving to suitors exception to federal courts’ exclusive admiralty jurisdiction and the addition

of San Gabriel as a defendant means that diversity jurisdiction no longer supplies the required

additional jurisdictional basis to support the case’s removal to federal court.

I.      Motion to Lift the Stay in the Limitation of Liability Case, No. 21 C 4295

        The Limitation Act “allows a vessel owner to limit liability for damage or injury,

occasioned without the owner’s privity or knowledge, to the value of the vessel or the owner’s

interest in the vessel.” Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 446 (2001); see 46

U.S.C. § 30505(b). The Limitation Act requires that “all claims and proceedings against the

owner related to the matter in question shall cease” while a court considers the owner’s liability

under the Act. 46 U.S.C. § 30511(c). But this stay requirement “must be interpreted in

conjunction with the ‘savings to suitors’ clause in 28 U.S.C. § 1333(1), which reserves to suitors

in admiralty or maritime cases their common-law remedies,” including “the right to select a

forum and the right to demand a jury trial.” Am. River Transp. Co. v. Ryan, 579 F.3d 820, 825

(7th Cir. 2009). Reading the provisions together gives a court discretion to lift the stay and allow

a claimant to proceed on their underlying claim against the owner in state court, while the

petition for limitation of liability remains pending in federal court. See Lewis, 531 U.S. at 449.

Courts exercise this discretion “when there is only one claimant, or when the total demanded by

multiple claimants does not exceed the value set by the Limitation Act.” Roen Salvage Co. v.

Sarter, 17 F.4th 761, 763 (7th Cir. 2021).



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     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 4 of 9 PageID #:453
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                                  (26 of 128)


        Here, Mariana argues that the Court should exercise its discretion under the single

claimant exception to lift the stay and allow the wrongful death case against Hanson to proceed

in state court. See id. (where only a single claimant seeks a recovery, the federal court “can set a

maximum level of liability based on the criteria in § 30505(a), which will fully protect [the

owner’s] federal statutory rights” and then “permit the substantive claim to proceed in state

court”). Hanson responds that the absence of any claims aside from Mariana’s does not

sufficiently establish the applicability of the single claimant exception, meaning that any

decision to lift the stay is premature. 2 But the court already entered default against any

additional potential claimants, see No. 21 C 4295, Doc. 21, and no indication exists that any of

the additional potential claimants would seek to set aside the default and assert a late claim. 3

Thus, the Court does not find Mariana’s motion to lift the stay premature and instead concludes

that the single claimant exception applies.

        Next, Hanson argues that the Court should reject Mariana’s request to lift the stay

because she does not have a pending state court lawsuit, meaning no conflict exists between the

Limitation Act and the saving to suitors clause, and this Court can provide her with a jury trial if

warranted. But Mariana contests the removal of the wrongful death case from state to federal

court, with resolution of her motion to remand in that case stayed in light of the limitation of

liability case. To resolve the propriety of the removal of the wrongful death case, the Court must

lift the stay imposed by § 30511(c). Therefore, regardless of whether this Court could fashion a


2
 Hanson also argued that Mariana lacks statutory standing to modify the stay because she had not filed a
proper claim in the limitation of liabilities case. But since making that argument, the court allowed
Mariana to file such a claim, mooting Hanson’s standing argument.
3
 Hanson speculates that San Gabriel may seek to assert his own claims against Hanson given Hanson’s
pursuit of a third-party claim against him in the limitation of liability case. But Hanson has since filed a
motion for entry of default against San Gabriel due to his failure to respond to the third-party complaint,
undermining Hanson’s argument that San Gabriel may appear and do so.
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     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 5 of 9 PageID #:454
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                              (27 of 128)


proceeding that would simultaneously protect Mariana’s right to a jury trial for her wrongful

death claims and resolve the questions raised by the limitation of liability case, the Court finds it

appropriate to lift the stay to determine whether Marian’s wrongful death case should proceed in

state or federal court. See Lewis, 531 U.S. at 455 (saving to suitors clause preserves a claimant’s

right to select a forum).

        As Mariana acknowledges, however, lifting the stay on the wrongful death case does not

come without limitations, as the Court must ensure that Hanson’s “right to seek limitation will be

protected.” Id. at 454. To that end, Mariana offers to stipulate to the following: (1) this Court

has exclusive jurisdiction to decide all limitation of liability issues, including the value of the

limitations fund; (2) Hanson has the right to litigate all issues related to limitation of liability, as

opposed to exoneration, in the limitation proceeding; (3) Mariana stipulates to the value of the

limitations fund determined by the Court as long as she has an opportunity to obtain an

independent appraisal or related valuation; (4) she will not enforce or collect any judgment in

excess of the limitations fund unless and until the Court adjudicates the limitation of liability

case; and (5) she waives any claims of res judicata on issues of limited liability, as opposed to

exoneration, based on any judgment she obtains in other proceedings related to the July 22, 2020

incident. See No. 21 C 4295, Doc. 17-1; In re Ill. Marine Towing, 498 F.3d 645, 653 (7th Cir.

2007) (approving similar stipulations as adequately protecting the owner’s interests under the

Limitation Act while allowing the claimants to pursue their claims in state court); cf. Roen, 17

F.4th at 763–64 (noting that stipulations to protect an owner’s liability are not necessary as long

as the court makes clear “any provisos that are essential to safeguard the federal right under

§ 30505(a)”). Hanson has not raised any issues with Mariana’s stipulations or argued that they

do not adequately protect its interests. In light of Mariana’s concessions, which the Court



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      Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 6 of 9 PageID #:455
        Case:
         Case:22-1511
                22-1511 Document:
                           Document:1-1
                                     4        Filed:
                                                Filed:04/15/2022
                                                       03/30/2022 Pages:
                                                                    Pages:207
                                                                           124                      (28 of 128)


adopts, the Court lifts the stay to allow Mariana to pursue the wrongful death case against

Hanson and others while the limitation of liability case remains pending.

II.     Motion to Remand the Wrongful Death Case, No. 21 C 4295, to State Court

        The Court thus turns to Mariana’s motion to remand the wrongful death case to state

court. 28 U.S.C. § 1333(1) provides a federal court with exclusive jurisdiction over “[a]ny civil

case of admiralty or maritime jurisdiction, saving to suitors in all cases all other remedies to

which they are otherwise entitled.” As discussed above, the saving to suitors clause serves “as a

grant to state courts of in personam jurisdiction, concurrent with admiralty courts.” Lewis, 531

U.S. at 444. In other words, in in personam cases like Mariana’s wrongful death case, state and

federal courts have concurrent jurisdiction over admiralty claims. Madruga v. Superior Ct., 346

U.S. 556, 560–61 (1954) (“Admiralty’s jurisdiction is ‘exclusive’ only as to those maritime

causes of action begun and carried on as proceedings in rem, that is, where a vessel or thing is

itself treated as the offender and made the defendant by name or description in order to enforce a

lien. . . . But the jurisdictional act does leave state courts ‘competent’ to adjudicate maritime

causes of action in proceedings ‘in personam,’ that is, where the defendant is a person, not a ship

or some other instrument of navigation.” (citations omitted)). And under the saving to suitors

clause, a defendant may only remove a suit to federal court based on admiralty jurisdiction if an

additional basis for federal jurisdiction exists. Curry v. Boeing Co., 542 F. Supp. 3d 804, 819

(N.D. Ill. Mar. 22, 2021); Brown v. Porter, 149 F. Supp. 3d 963, 969 (N.D. Ill. 2016).

        The Hanson Defendants removed the wrongful death case to federal court on the basis of

both admiralty and diversity jurisdiction. But Mariana maintains that they have not properly

alleged Hanson’s and Lehigh LLC’s citizenships and that the addition of San Gabriel as a

defendant defeats diversity jurisdiction and requires the Court to remand the wrongful death case



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    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 7 of 9 PageID #:456
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                         (29 of 128)


to state court. Initially, the Court finds that the Hanson Defendants have sufficiently established

that Hanson and Lehigh LLC are not Illinois citizens, making these allegations in the notice of

removal and supplementing them by affidavit in response to Mariana’s motion to remand. See

Doc. 1 ¶¶ 26–27 (Hanson is a Kentucky corporation with its principal place of business in Texas,

while Lehigh LLC’s sole member is Lehigh Inc., a Delaware corporation with its principal place

of business in Texas); Doc. 20-1 (same). Thus, this argument of Mariana’s has no merit.

       As for the addition of San Gabriel, an Illinois citizen, the Hanson Defendants argue that

the Court should not take his citizenship into account because his addition as a defendant after

the time of removal does not affect the Court’s subject matter jurisdiction. The Hanson

Defendants first contend that the Court cannot consider the argument because Mariana raised it

over thirty days after the removal of the case and it does not go to the Court’s subject matter

jurisdiction. See 28 U.S.C. § 1447(c) (“A motion to remand the case on the basis of any defect

other than lack of subject matter jurisdiction must be made within 30 days after the filing of the

notice of removal under section 1446(a). If at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the case shall be remanded.”). But because the

saving to suitors clause’s bar on removal of a case filed in state court based solely on admiralty

jurisdiction goes to the Court’s subject matter jurisdiction, the Court must address whether San

Gabriel’s addition as a defendant requires remand of the wrongful death case to state court. See

Brown, 149 F. Supp. 3d at 969 (although admiralty jurisdiction does not on its own provide a

basis for federal jurisdiction in an in personam case where a claimant files in state court, “a

defendant may remove an admiralty case if there is an independent basis for federal subject

matter jurisdiction—i.e., a basis other than admiralty, such as complete diversity of citizenship

with the requisite amount in controversy under 28 U.S.C. § 1332(a).”).



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    Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 8 of 9 PageID #:457
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                             (30 of 128)


        As for the substance of the argument, the Hanson Defendants maintain that the Court

should only consider whether diversity jurisdiction existed at the time of removal and not take

into account any post-removal changes. See In re Burlington N. Santa Fe Ry. Co., 606 F.3d 379,

380 (7th Cir. 2010) (“The well-established general rule is that jurisdiction is determined at the

time of removal, and nothing filed after removal affects jurisdiction.”). But § 1447(e) provides

that “[i]f after removal the plaintiff seeks to join additional defendants whose joinder would

destroy subject matter jurisdiction, the court may deny joinder, or permit joinder and remand the

action to the State court.” 28 U.S.C. § 1447(e); Perez v. Arcobaleno Pasta Machs., Inc., 261 F.

Supp. 2d 997, 999–1000 (N.D. Ill. 2003) (Section 1447(e) displaces the general rule that

diversity jurisdiction is determined at the time a case is filed with respect to the post-removal

joinder of non-diverse defendants). This is exactly the situation here: after removal of the case to

federal court, Mariana filed a second amended complaint that named San Gabriel, a non-diverse

party, as an additional defendant. Although the Hanson Defendants argue in a conclusory

fashion that Mariana fraudulently joined San Gabriel in an attempt to manipulate jurisdiction, the

Court cannot conclude that Mariana has no chance of succeeding on her claim against him,

particularly in light of the Hanson Defendants’ own contentions that San Gabriel bears

responsibility for the capsizing of the motorboat and Victor’s death. See Poulos v. Naas, 959

F.2d 69, 73 (7th Cir. 1992) (to find fraudulent joinder, a court must conclude that “after resolving

all issues of fact and law in favor of the plaintiff, the plaintiff cannot establish a cause of action

against the [non-diverse] defendant”). Therefore, San Gabriel’s addition as a defendant destroys

diversity jurisdiction and requires the Court to remand the wrongful death case to state court.

See Schur v. L.A. Weight Loss Ctrs., Inc., 577 F.3d 752, 759 (7th Cir. 2009) (“[T]he district court

may not permit joinder of a nondiverse defendant and retain jurisdiction.”); Johnlewis v. Apache



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     Case: 1:21-cv-03936 Document #: 38 Filed: 03/09/22 Page 9 of 9 PageID #:458
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                          (31 of 128)


Indus. Servs., Inc., No. 21-504, 2021 WL 6112558, at *3–4 (E.D. La. Dec. 27, 2021) (“The

Court lacks jurisdiction because Plaintiff originally filed his claim in state court pursuant to the

Savings to Suitors Clause. Although the case was removed based on diversity jurisdiction,

diversity has been destroyed by the addition of a non-diverse defendant. And, because Plaintiff

originally filed suit pursuant to the Savings to Suitors Clause ‘exception’ to original jurisdiction,

this Court cannot exercise jurisdiction based on § 1333.”).

                                          CONCLUSION

        For the foregoing reasons, the Court grants Mariana’s motion to lift the stay in the

limitation of liability case [No. 21 C 4295, Doc. 17] and lifts the stay as to Mariana’s wrongful

death claims against Hanson, subject to the conditions outlined in the stipulation Mariana filed in

connection with her motion to lift the stay [No. 21 C 4295, Doc. 17-1]. In the wrongful death

case, the Court grants Mariana’s amended motion to remand [No. 21 C 3936, Doc. 17] and

denies Mariana’s initial motion to remand [No. 21 C 3936, Doc. 13] as moot. The Court

remands Mariana’s wrongful death case, No. 21 C 3936, to the Circuit Court of Cook County,

Illinois.



Dated: March 9, 2022                                             _____________________
                                                                    ____
                                                               ______________________
                                                               SARA L. ELLIS
                                                               United States District Judge




                                                  9
     Case:
      Case:1:21-cv-03936
     Case: 22-1511
             22-1511 Document:
                        Document:
                         Document1-1
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                                  #:         Filed:04/15/2022
                                                    03/30/2022
                                             07/24/21             Pages:
                                                                   Pages:
                                                       Page 1 of 108     207
                                                                          124
                                                                     PageiD #:1            (32 of 128)




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

MARIANA M. OCHOA as Independent                 )
Administrator of the Estate of VICTOR           )
LOBATO OCHOA, Deceased,                         )
                                                )
       Plaintiff,                               )
                                                )
v.                                              ) Case No.: 1:21-cv-03936
                                                )
MATERIAL SERVICE CORPORATION     )
d/b/a HANSON MATERIAL SERVICE    )                  State Court No. 2021-L-006726
CORPORATION; LEHIGH HANSON       )                  (Circuit Court of Cook County,
SERVICES LLC.; HEIDELBERG CEMENT )                  Illinois, County Department, Law
GROUP and CAPTAIN KENNETH L.     )                  Division)
STUBBS,                          )
                                                )
       Defendants.                              )

                               NOTICE OF REMOVAL

       Defendants Hanson Aggregates Midwest, Inc. f/kJa Material Service

Corporation d/b/a Hanson Material Service Corporation 1, Lehigh Hanson Services

LLC, Captain Kenneth L. Stubbs, and HeidelbergCement AG (incorrectly named as

Heidelberg Cement Group) h ereby give notice of the removal of the case styled

Ochoa v. Material Serv. Corp., et al. (the "State Court Case"), currently pending in

the Circuit Court of Cook County, Illinois, County Department, Law Division, as

Case No. 2021-L-006726, to the United States District Court for the Northern

District of Illinois. Removal is proper pursuant to 28 U .S. C. §§ 1333(1), 1332(a),

1441(a), and 1446. As grounds for removal, Defendants state as follows:



1
 Defendant Material Service Corporation d/b/a Hanson Material Service Corporation, a
Delaware Corporation, was merged with and into Hanson Aggregates Midwest Inc. a Kentucky
Corporation, on or about February 1, 2021.
                                      Page 1 of 10

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     Case:
      Case:22-1511
            22-1511     Document:
                         Document:1-1
                                   4           Filed:
                                                Filed:04/15/2022
                                                       03/30/2022   Pages:
                                                                     Pages:207
                                                                            124        (33 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 2 of 108 PageiD #:2




I.     Background and Procedural History

       1.    Plaintiff Mariana M. Ochoa ("Plaintiff'), as Independent Administrator

of the Estate of Victor Lobato Ochoa, deceased, filed her Complaint on July 1, 2021,

in the Circuit Court of Cook County, Illinois, County Department, Law Division, as

Case No. 2021-L-006726. A true and correct copy of the Complaint is attached

hereto as Exhibit 1. See Ex. 1, Compl., ~ 1.

       2.    Plaintiff asserts claims against Defendants arising from an incident on

the Chicago River near Mile 324 on or about July 23, 2020, involving the drowning

of Victor Ochoa after the pleasure boat he was a passenger on capsized and sank in

the waters behind the towboat MIV KIOWA and barge MSC0103.

      3.     According to the Complaint, the "Kiowa and barge created a series of

wakes that were several feet high." Compl. ~ 27. The Complaint states that "the

wakes created by the Kiowa and barge washed over the open bow of the motorboat

and resulted in the motorboat capsizing." ld. ,, 28. The Complaint then states that

Victor became "trapped underneath the overturned and capsized boat[,]" and that

rescue attempts were unsuccessful. !d. ~~ 29-30. Plaintiff asserts claims for

negligence and negligent wrongful death. !d. ,,,, 36- 43.2




2 The numbered allegations for each Count in Plaintiffs Complaint restart at

paragraph 36 or 37 and then continue until paragraph 42 or 43, depending on the
Count. For purposes of this Notice of Removal, Defendant Hanson cites to Plaintiffs
paragraph designations generally to avoid further confusion.
                                     Page 2 of 10
      Case:
       Case:22-1511
             22-1511     Document:
                          Document:1-1
                                    4          Filed:
                                                Filed:04/15/2022
                                                       03/30/2022     Pages:
                                                                       Pages:207
                                                                              124          (34 of 128)
      Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 3 of 108 PageiD #:3




       4.     Copies of all other process, pleadings, and orders served upon

Defendants in the State Court Action are attached as Exhibit 2 in accordance with

28 U.S.C. § 1446(a).

       5.     Pursuant to 28 U.S.C. § 1441(a), venue is proper for removal to this

Court because it is the United States District Court for the district and division

embracing the place where the state action was pending.

       6.    Upon filing this Notice of Removal, and in accordance with 28 U.S.C. §

1446(d), Defendant Hanson will serve upon all counsel this Notice of Removal and

file a copy of this Notice with the Clerk of the Circuit Court of Cook County, Illinois.

       7.    Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is filed

within thirty days of service of Plaintiffs Complaint on Defendant Hanson (and all

other Defendants who have been served) and is timely. Defendants Hanson

Aggregates Midwest, Inc. f!k/a Material Service Corporation d/b/a Hanson Material

Service Corporation and Lehigh Hanson Services LLC were served with process on

July 14, 2021. See Ex. 2. Defendant Captain Kenneth Stubbs was served on July

17, 2021. Defendant HeidelbergCement AG (incorrectly named as Heidelberg

Cement Group) has not been properly served at this time.

II.    Grou nds for Removal

       8.    A civil action brought in state court is removable if the district court

has original jurisdiction over it. 28 U.S.C. § 1441(a). As set forth below, this Court

has original jurisdiction based on admiralty, 28 U.S.C. § 1333(1), and diversity

jurisdiction, 28 U.S.C. § 1332(a).


                                     Page 3 of 10
         Case:
          Case:22-1511
                22-1511     Document:
                             Document:1-1
                                       4            Filed:
                                                     Filed:04/15/2022
                                                            03/30/2022     Pages:
                                                                            Pages:207
                                                                                   124          (35 of 128)
         Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 4 of 108 PageiD #:4




          A.     Admiralty Jurisdiction

          9.     Federal courts "have original jurisdiction . .. of . . . [a]ny civil case of

admiralty or maritime jurisdiction, saving to suitors in all cases all other remedies

to which they are otherwise entitled." 28 U.S.C. § 1333(1). A civil case is one of
11
     admiralty jurisdiction" if (1) the alleged "tort occurred on navigable water" (the

location test), and (2) the activity in question has "a potentially disruptive impact on

maritime commerce" and bears a 11substantial relationship to traditional maritime

activity" (the connection test). Jerome B. Grubart, Inc. v. Great Lakes Dredge &

Dock Co. , 513 U.S. 527, 534 (1995) (quoting Sisson v. Ruby, 497 U.S. 358, 363-65,

364 n.2 (1990)); Lu Junhong v. Boeing Co., 792 F.3d 805, 813-17 (7th Cir. 2015);

Curry v. Boeing Co., No. 20 C 3088, 2021 WL 1088325, at *3- 7 (N.D. Ill. Mar. 22,

2021).

                 1.     The Location Test

          10.    The location test is met if the 11tort occurred on navigable water."

Grubart, 513 U.S. at 534. The Supreme Court has expressly recognized that the

Chicago River and its branches are navigable waters. Escanaba & Lake Michigan

Transp. Co. v. City of Chicago, 107 U.S. 678, 683 (1883).

          11.    Plaintiff alleges that Defendants' negligence occurred near Mile 324 on

the Chicago River. Ex. 1, Compl. ~~ 25-30.

          12.    Because the Chicago River is recognized as a navigable body of water,

the alleged "tort occurred on navigable water." Grubart, 513 U.S. at 534. The

location test for establishing admiralty jurisdiction is therefore satisfied. !d.


                                          Page 4 of 10
     Case:
      Case:22-1511
            22-1511      Document:
                          Document:1-1
                                    4          Filed:
                                                Filed:04/15/2022
                                                       03/30/2022    Pages:
                                                                      Pages:207
                                                                             124
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 5 of 108 PageiD #:5
                                                                                          (36 of 128)




             n.     The Connection Test

       13.   Under the two-pronged connection test, "[a] court, frrst, must 'assess

the general features of the type of incident involved' to determine whether the

incident has a 'potentially disruptive impact on maritime commerce."' Grubart, 513

U.S. at 534 (quoting Sisson, 497 U.S. at 363-65, 364 n.2). "Second, a court must

determine whether 'the general character' of the 'activity giving rise to the incident'

shows a 'substantial relationship to traditional maritime activity."' Id. (quoting

Sisson, 497 U.S. at 363-65, 364 n.2). The Seventh Circuit has stated that "[t]he

main practical use of the 'connection' test has been to expel from the admiralty

jurisdiction freak cases." Tagliere v. Harrah's Illinois Corp., 445 F. 3d 1012, 1014

(7th Cir. 2006).

                    a.     "Potentially Disruptive Impact on Maritime Commerce"

      14.    The first prong of the connection test requires a court "assess the

general features of the type of incident involved to determine whether such an

incident is likely to disrupt commercial activity." Sisson, 497 U.S. at 363; Grubart,

513 U.S. at 534. Courts have consistently affirmed that the analysis does not turn

on whether the incident did in fact disrupt maritime commerce, but whether the

incident merely had the potential or possibility to do so. Grubart, 513 U.S. at 538;

Sisson, 497 U.S. at 363; Tagliere, 445 F.3d at 1015 (affirming that an actual "effect

on maritime commerce is not necessary to admiralty jurisdictionO"); Curry, 2021

WL 1088325, at *6 ("It does not matter for the purposes of the 'potentially

disruptive impact on maritime commerce' inquiry whether the toxic air event on


                                     Page 5 of 10
     Case:
      Case:22-1511
            22-1511      Document:
                          Document:1-1
                                    4          Filed:
                                                Filed:04/15/2022
                                                       03/30/2022    Pages:
                                                                      Pages:207
                                                                             124           (37 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 6 of 108 PageiD #:6




Flight 71 had an actual impact on intercontinental commerce."); Brown v. Porter.

149 F. Supp. 3d 963, 967 (N.D. Ill. 2016) ("[A]ll that matters is that the conduct had

the potential to disrupt maritime commerce.").

       15.   The "general features" of the incident at issue center around the

drowning of a pleasure craft passenger allegedly caused by a towboat and its barge

then engaged in maritime commerce. Such an incident not only potentially

disrupted maritime commerce, but as seen in the instant case, it actually disrupted

Defendant Material Service Corporation d/b/a Hanson Material Service

Corporation's commercial activity. Its towboat and barge were held up while various

government agencies, including the Illinois Department of Natural Resources, the

Chicago Fire and Police Departments, and the United States Coast Guard,

undertook rescue operations. The operation of another of its towing vessels was

disrupted near Mile 324.5 while traveling Southbound due to the incident. The

rescue operations for a "man overboard" also more than likely held up or entirely

suspended the flow of commercial traffic near that point on the Chicago River.

      16.    The first prong of the connection test is therefore easily satisfied as the

incident had more than a "potentially disruptive impact on maritime commerce."

Grubart, 513 U.S. at 534. (quoting Sisson, 497 U.S. at 363-65, 364 n.2).

                    b.    "Substantial Relationship to Traditional Maritime
                          Activity"

      17.    The second prong of the connection test asks whether the activity bears

a "substantial relationship to traditional maritime activity." Grubart, 513 U.S. at

534. The key question is 11whether a tortfeasor's activity, commercial or

                                     Page 6 of 10
     Case:
      Case:22-1511
            22-1511      Document:
                          Document:1-1
                                    4          Filed:
                                                Filed:04/15/2022
                                                       03/30/2022    Pages:
                                                                      Pages:207
                                                                             124          (38 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 7 of 108 PageiD #:7




noncommercial, on navigable waters is so closely related to activity traditionally

subject to admiralty law." ld. at 539. "Navigation of boats in navigable waters

clearly falls within the substantial relationship." ld. at 540. The Supreme Court has

also noted that the "primary focus of admiralty jurisdiction is unquestionably the

protection of maritime commerce." Foremost Ins. Co. u. Richardson, 457 U.S. 668,

674 (1982).

       18.    Here, the incident involved the operation of a towboat and barge

engaged in maritime commerce, and a pleasure craft, all of which were travelling on

navigable waters. This type of maritime activity "clearly falls within the substantial

relationship." Grubart, 513 U.S. at 540; see also In re Garvey Marine, Inc., No. 03 C

5967, 2004 WL 2005824, at *2 (N.D. Ill. Sept. 3, 2004) (finding relation between

traditional maritime activity and tugboat pushing two barges over navigable

waterway).

      19.     The second prong of the connection test is therefore satisfied as the

alleged tort bears a "substantial relationship to traditional maritime activity."

Grubart, 513 U.S. at 534.

      20.     Both prongs of the connection test for establishing admiralty

jurisdiction are therefore satisfied. Id. at 534; Lu Junhong, 792 F.3d at 815-16.

      21.     Accordingly, because the location and connection tests are both

satisfied, this Court has admiralty jurisdiction over the present case, and the case is

independently removable under the plain language of 28 U.S. C.§ 1441(a); Lu

Junhong, 792 F.3d at 818.


                                     Page 7 of 10
     Case:
      Case:22-1511
            22-1511      Document:
                          Document:1-1
                                    4           Filed:
                                                 Filed:04/15/2022
                                                        03/30/2022    Pages:
                                                                       Pages:207
                                                                              124           (39 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 8 of 108 PageiD #:8




       B.     Diversity Jurisdiction

       22.   The district courts have original jurisdiction of all civil actions where

the matter in controversy exceeds $75,000.00 and there is diversity between the

plaintiffs, on the one hand, and the defendants, on the other. 28 U.S. C. § 1332(a).

Both requirements are satisfied here.

             1.     Amount-in-Controversy Requirement

       23.   Plaintiff "demands judgment . . . for a sum in excess of the jurisdiction

limits of the Circuit Court of Cook County, Illinois." Compl., Counts I- VIII. Mr.

Michael L. Gallagher stated under oath in his Attorney Affidavit attached to

Plaintiffs Complaint that "[t]he total of money damages sought by plaintiff does

exceed $50,000.00, exclusive of interest and cost." Exhibit A to Ex. 1, 1l 2. In light of

Plaintiff's serious allegation that Defendants negligently caused the drowning of

her child, the undefined amount in controversy certainly exceeds $75,000.00

exclusive of interest and costs. Such "a good-faith estimate of the stakes is

acceptable if it is plausible and supported by a preponderance of the evidence."

Oshana u. Coca-Cola Co., 472 F.3d 506, 511 (7th Cir. 2006). The amount-in-

controversy requirement of 28 U.S.C. § 1332(a) is therefore satisfied.

             11.    State Citizenship Requirement

      24.    For an individual, "[s]tate citizenship for the purpose of the state

diversity provision is equated with domicile." Sadat u. Mertes, 615 F.2d 1176, 1180

(7th Cir. 1980). For a corporation, it is "deemed to be a citizen of every State and

foreign state by which it has been incorporated and of the State or foreign state


                                       Page 8 of 10
     Case:
      Case:22-1511
            22-1511      Document:
                          Document:1-1
                                    4           Filed:
                                                 Filed:04/15/2022
                                                        03/30/2022    Pages:
                                                                       Pages:207
                                                                              124        (40 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 9 of 108 PageiD #:9




where it has its principal place of business." 28 U.S.C. § 1332(c)(l). Lastly, "for

diversity jurisdiction purposes, the citizenship of a limited liability company is the

citizenship of each of its members." Hukic v. Aurora Loan Servs., 588 F. 3d 420, 427

(7th Cir. 2009).

       25.    Plaintiff Mariana M. Ochoa, as Independent Administrator of the

Estate of Victor Lobato Ochoa is an individual and is a domiciliary and thus a

citizen of Illinois for diversity jurisdiction purposes. Ex. 1, Compl. ~ 2. Decedent

Victor Lobato Ochoa was a domiciliary and citizen of illinois as well.

       26.   Defendant Hanson Aggregates Midwest, Inc. f!k/a Material Service

Corporation d/b/a Hanson Material Service Corporation was organized and exists

under the laws of Kentucky and has its principal place of business in Texas. It is

thus a citizen of Kentucky and Texas for diversity jurisdiction purposes.

       27.   Defendant Lehigh Hanson Services LLC is a limited liability company

and is wholly owned by Lehigh Hanson, Inc., a Delaware corporation with its

principal place of business in Texas. Defendant Lehigh Hanson Services LLC is

thus a citizen of Delaware and Texas for diversity jurisdiction purposes.

       28.   Defendant HeidelbergCement AG (incorrectly named as Heidelberg

Cement Group) was organized and exists under the laws of Germany and has its

principal place of business in Germany. It is thus a citizen of Germany and only

Germany for diversity jurisdiction purposes.

      29.    Defendant Kenneth L. Stubbs, an individual, is a domiciliary and thus

a citizen of Missouri for diversity jurisdiction purposes.


                                      Page 9 of 10
        Case:
         Case:22-1511
               22-1511    Document:
                           Document:1-1
                                     4           Filed:
                                                  Filed:04/15/2022
                                                         03/30/2022    Pages:
                                                                        Pages:207
                                                                               124
       Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 10 of 108 PageiD #:10
                                                                                           (41 of 128)




         30.    Accordingly, because Plaintiff does not share state citizenship with any

defendant, the citizenship requirement of 28 U.S.C. § 1332(a) for establishing

diversity jurisdiction is therefore satisfied.

         31.    Because the amount-in-controversy and citizenship requirements are

satisfied, this Court has diversity jurisdiction over this case. 28 U.S.C. § 1332(a).

         32.    Either of the two above-stated bases-Admiralty or Diversity-is

sufficient to support federal jurisdiction and removal in this case.

III.     Conclusion

         WHEREFORE, Defendants hereby remove to this Court the case styled

Ochoa u. Material Serv. Corp., et al., currently pending in the Circuit Court of Cook

County, Illinois, County Department, Law Division, as Case No. 2021-L-006726.

                                   Respectfully submitted,

                                   GOULD & RATNER LLP

                                   By: Is I Paul W Carroll
                                   Paul W. Carroll
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                                   Chicago, IL 60601
                                   (312) 899-1657 direct dial
                                   Attorney for Defendants

                                   and

                                   GOLDSTEIN and PRICE, L.C.
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                                   St. Louis, MO 63102
                                   (314) 516-1711 direct dial
                                   (314) 421-2832 fax
                                   Attorneys for Defendants


                                      Page 10 of 10
                 Case:
                  Case:22-1511
                        22-1511      Document:
                                      Document:1-1
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                                                                     03/30/2022       Pages:
                                                                                       Pages:207
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               Case: 1:21·CV·03936 Document#: 1 Filed: 07/24/21 Page 13 of 108 Pagell:fl#~
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            MARIANA M. OCHOA as Independent
            Administrator of the Estate ofVICTOR
            LOBATO OCHOA, Deceased,
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...J        CORPORATION; LEHIGH HANSON
u::         SERVICES LLC.; HEIDELBERG CEMENT
            GROUP and CAPTAIN KENNETH L.
            STUBBS,

                   Defendants.

                                              COMPLAINT AT LAW

                  NOW COMES the Plaintiff, MARIANA M. OCHOA as Independent Administrator of the

           Estate of VICTOR LOBATO OCHOA, Deceased, by her attomeys WISE MORRISSEY, LLC

           and complaining against the defendants, MATERIAL SERVICE CORPORATION d/b/a

           HANSON MATERIAL SERVICE CORPORATION; LEHIGH HANSON SERVICES LLC.;

           HEIDELBERG CEMENT GROUP and CAPTAIN KENNETH L. STUBBS, states as follows:

                                                     PARTIES

                  1.      On July 23, 2020, and at all time relevant herein, plaintiff Mariana M. Ochoa

           ("MARIANA") is the mother and Independent Administrator of the Estate of seven year·old

           decedent VICTOR LOBATO OCHOA ("VICTOR").

                  2.      On July 23, 2020, and at all time relevant herein, MARIANA and VICTOR were

           residents of the City of Chicago and County of Cook.



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             Case:
              Case:
            Case:  22-1511
                    22-1511 Document:
                  1:21-cv-03936 Document:
                                        1-1
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                                                     07/24/2103/30/2022    Pages:
                                                                            Pages:
                                                               Page 14 of 108     207
                                                                                   124
                                                                              PageiD #:14                 (43 of 128)




                   3.   On July 23, 2020, and at all times relevant herein, defendant MATERIAL

       SERVICE CORPORATION ("MATERIAL") d/b/a HANSON MATERIAL SERVICE

       CORPORATION ("HANSON") was a Corporation registered to conduct business in Illinois.

                4.      On July 23, 2020, and at all times relevant herein, defendant MATERIAL d/b/a

       HANSON maintained a principle place of business located at 181 West Madison Street in the City

       of Chicago and County of Cook.
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0               5.      On July 23, 2020, and at all times relevant herein, defendant LEHIGH HANSON
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G:     SERVICES LLC. ("LEIDGH"), was a limited liability company registered to conduct business in

       Illinois.

                6.      On July 23, 2020, and at all times relevant herein, defendant LEHIGH maintained

       places of business located in the City of Chicago and the Village of McCook in the County of

       Coole.

                7.      On July, 23, 2020, and at all times relevant herein, defendant LEHIGH owned,

       operated, maintained or controlled its subsidiary defendant MATERIAL d/b/a HANSON.

                8.      On July 23, 2020, and at all times relevant herein, defendant HEIDELBERG

       CEMENT GROUP ("HEIDELBERG"), was one of the largest building materials companies in

       the world.

                9.      On July 23, 2020, defendant HEIDELBERG owned, operated, maintained or

       controlled its subsidiary defendant MATERIAL d/ b/a HANSON.

                10.     On July 23, 2020, defendant HEIDELBERG owned, operated, maintained or

       controlled its subsidiary defendant LEHIGH.

                11.     On July 23, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH

       L. STUBBS ("STUBBS") was the captain of the inland river towboat Kiowa ("Kiowa"). The



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              Case:
               Case:22-1511
                     22-1511       Document:
                                    Document:1-1
                                              4             Filed:
                                                             Filed:04/15/2022
                                                                    03/30/2022      Pages:
                                                                                     Pages:207
                                                                                            124             (44 of 128)
             Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 15 of 108 PageiD #:15




         Kiowa had a triple screw 1500 horse power engine with dimensions of 76 feet long and 26 feet

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         wide, while weighing approximately 292,000 pounds. At that time, the Kiowa was pushing a barge
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..J      MSC0103 that was 195 feet long and 35 feet wide and fully loaded with aggregate. The barge
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         MSC0103 weighed hundreds ofthousands ofpounds.

                12.     On July 23 , 2020, and at all times relevant herein, defendant STUBBS was an

         employee, agent or apparent agent of defendant MATERIAL d/b/a HANSON.

                13.     On July 23, 2020, and at all times relevant herein, defendant STUBBS was an

         employee, agent or apparent agent of defendant LEHIGH.

                14.     On July 23, 2020, and at all times relevant herein, defendant STUBBS was an

         employee, agent or apparent agent of defendant HEIDELBERG.

                                    FACTS COMMON TO ALL COUNTS

                15.     In March 2017, the National Transportation Safety Board {NTSB) issued a "Safety

         Recommendation Report" (Report) regarding safety of recreational and commercial vessels in

         shared waterways, like the Chicago River. (See below photo of the Chicago River from the Report)




                                                        3
             Case:
              Case:22-1511
                    22-1511         Document:
                                     Document:1-1
                                               4            Filed:
                                                             Filed:04/15/2022
                                                                    03/30/2022       Pages:
                                                                                      Pages:207
                                                                                             124             (45 of 128)
            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 16 of 108 PageiD #:16




               16.     The NTSB Rep011 stated that the Chicago River was unique among all shared

       waterways in the United States because of the "limited area in which vessels can maneuver", which

       increased the risk of recreational and commercial vehicle accidents.

               17.     The NTSB Report stated the increased risk of recreational and commercial vehicle

....   accidents on the Chicago River was compounded by the numerous waterborne events (e.g.
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;;:    fireworks and regattas) and multitude of recreational vessels (e.g. powerboats, kayaks, canoes and

       standup paddleboards).

               18.     As a result, the NTSB Report stated the Chicago River posed the "greatest risk for

       unsafe interaction between commercial and recreational waterway users" of any "Shared

       Waterway" in the United States.

               19.     On July 23, 2020, and at all times relevant herein, defendants MATERIAL,

       LEHIGH, HEIDELBERG and STUBBS were all aware of the increased risks of "unsafe

       interaction between commercial and recreational waterway users" on the Chicago River, including

       at the location of the tragic incident.

               20.     On July 23, 2020, and at all times relevant herein, defendant STUBBS was

       captaining the Kiowa and barge northbound on the South Branch of the Chicago River.

              21.      On July 23, 2020, and at all times relevant herein, Celio San Gabriel (San Gabriel)

       was operating an open motorboat with three additional adults and five small children. Among the

       occupants were MARIANA and VICTOR. The motorboat was a 16-17 foot long Capri Bayliner

       (motorboat).

              22.     On July 23 , 2020, and at all time relevant herein, all eight occupants were wearing

       Personal Floatation Devices (PFD) except for one of the adults, Jesus Lobato.




                                                        4
             Case:
              Case:22-1511
                    22-1511        Document:
                                    Document:1-1
                                              4              Filed:
                                                              Filed:04/15/2022
                                                                     03/30/2022       Pages:
                                                                                       Pages:207
                                                                                              124            (46 of 128)
            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 17 of 108 PageiD #:17




                23.    On July 23, 2020, the Chicago Yacht Works was located at 2550 South Ashland

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N       Avenue, Chicago Illinois. The Chicago Yacht Works facility was located on the Westside of the
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§....   South branch of the Chicago River and immediately south of the Ashland Avenue Bridge.
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                24.    On July 23, 2020, the Chicago Yacht Works had a closed captioned video that

        captured the Kiowa traveling northbound on the South Branch of the Chicago River. The video

        footage showed the Kiowa and the barge it was pushing creating a series oflarge wakes. The wakes

        created by the Kiowa and barge would then reverberate off the walls of the Chicago River

        increasing the size of the original wakes.

               25.     At approximately 5:30p.m., the Kiowa and barge were traveling southbound on

        South branch of the Chicago River in the area of mile marker 324 and the Ping Tom Memorial

        Park in Chinatown, Chicago.

               26.     At approximately 5:30 p.m., the motorboat was traveling northbound on South

        branch of the Chicago River in the area of mile marker 324 and the Ping Tom Memorial Park in

        Chinatown, Chicago.

               27.     At that time, San Gabriel and other occupants of the motorboat observed the Kiowa

        and barge traveling at a speed that was generating a series of large wakes.

               28.     At that time, the Kiowa and barge created a series of wakes that were several feet

        high. The wakes created by the Kiowa and barge would then reverberate off the walls of the

        Chicago River increasing the size of the original wakes.

               29.     At that time, the wakes created by the Kiowa and barge washed over the open bow

        of the motorboat and resulted in the motorboat capsizing. As a result, all of the occupants of the

        boat were thrown overboard and into the water.




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     Case:
      Case:22-1511
            22-1511        Document:
                            Document:1-1
                                      4              Filed:
                                                      Filed:04/15/2022
                                                             03/30/2022       Pages:
                                                                               Pages:207
                                                                                      124              (47 of 128)
    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 18 of 108 PageiD #:18




        30.     Tragically, VICTOR, was trapped undemeath the overtumed and capsized boat.

Law enforcement and rescue personnel were immediately notified and responded to the scene.

However, the first responders were unable to rescue VICTOR from under the motorboat and he

drowned.

        31.    On July 23, 2020, Illinois Department ofNatural Resources Officer Jeremy Swindle

(Officer Swindle) was one of the many law enforcement, rescue and medical personnel that

responded to the scene of the incident.

        32.    Officer Swindle subsequently conducted an investigation into the incident. Officer

Swindle's investigation included his fust-hand observations at the scene, witness accounts and

closed circuit television footage of the Kiowa as it traveled northbound on the South branch of the

Chicago River only minutes before the incident.

        33.    Officer Swindle's report stated that "[c]lear [video] footage of the Kiowa prior to

the incident shows a wake made by the Kiowa. The wake bolmcing off the walls of the river

create[d) an even bigger movement in the water. The Chicago River is a no wake river".

       34.     Officer Swindle's report stated that the "cause of the accident" was the "force of

wake" created by the Kiowa and barge.

       35.     The Chicago Administrative Code 10-40-261(a) (Restrictions on wake of vessels)

states that "(n]o person shall operate a vessel in such a way that the boat creates a wake in any of

the following areas in the Lake Michigan portions of the Chicago Harbor or upon any waterway

within the City, except in the case of an actual emergency".

       36.     The area of Chicago River where the incident occurred is designated as a "No

Wake" zone pursuant to the Chicago Administrative Code 10-40-261.




                                                 6
     Case:
      Case:22-1511
            22-1511        Document:
                            Document:1-1
                                      4               Filed:
                                                       Filed:04/15/2022
                                                              03/30/2022    Pages:
                                                                             Pages:207
                                                                                    124             (48 of 128)
    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 19 of 108 PageiD #:19




 COUNT I - NEGLIGENCE WRONGFUL DEATH - MATERIAL SERVICE INC. d/b/a
                  HANSON MATERIAL SERVICES CORP.

       1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

incorporates them as though fully set forth herein.

       37.     On July 23,2020, and at all times relevant herein, defendant MATERIAL, owed a

duty to operate the Kiowa and barge in a reasonable manner.

       38.     On July 23, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., by and through the actions,

acts and/or omissions of its agent, servant audlor employee CAPTAIN KENNETH L. STUBBS

was negligent in one or more of the following respects:

       a.      Violated United States CFR Title 33 §164.1l(p)
                      The person directing the movement of the vessel sets the vessel's speed
                      with consideration for:
                      (4) The comparative proportions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel's wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the current, and local speed-limits.

       c.     Violated United States Code 46 - Shipping- Subtitle II- Vessels and Seaman
                     Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                     interfering with the safe operation of a vessel, so as to endanger the life,
                     limb, or property of a person.

       d.     Violated United States Coast Guard Navigation Rules
                     Rule 5- Look-out
                     Every vessel shall at all times maintain a proper look-out by sight and
                     hearing as well as by all available means appropriate in the prevailing
                     circumstances and conditions so as to make a full appraisal of the situation
                     and of the risk of collision.



                                                7
               Case:
                Case:22-1511
                      22-1511       Document:
                                     Document:1-1
                                               4              Filed:
                                                               Filed:04/15/2022
                                                                      03/30/2022       Pages:
                                                                                        Pages:207
                                                                                               124              (49 of 128)
              Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 20 of 108 PageiD #:20




                                Rule 6 - Safe Speed Inland
                                Every vessel shall at all times proceed at a safe speed so that she can take
 (I)
,...
N                               proper and effective action to avoid collision and be stopped within a
                                distance appropriate to the prevailing circumstances and conditions
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N                               Rule 9 - Narrow Channels Inland
                                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
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N                               shall keep as near to the outer limit of the channel or fairway which lies on
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                                her starboard side as is safe and practicable.
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~                e.
;:::::                  Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
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                               No person shall operate a watercraft within 150 feet of a public launching
                               ramp owned, operated or maintained by the Department or a political
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~                              subdivision of the State at greater than a "No Wake" speed as defined in
u:                             Section 5-12 of this Act. Posting of the areas by the Department or a
                               political subdivision of the State is not required.

                 f.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                               A wake is defined as a movement of the water created by a boat underway
                               great enough to disturb a boat at rest, but under no circumstances shall a
                               boat underway exceed 5 miles per hour while in a posted "No Wake"
                               area.

                g.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                               No person shall operate any watercraft... so as to approach or pass another
                               watercraft in such a manner or at such a rate of speed as to create a
                               hazardous wake or wash.

                h.      Violated Chicago Administrative Code 10-40-261
                               No person shall operate a vessel in such a way that the boat creates a wake
                               in any of the following areas in the Lake Michigan portions of the Chicago
                               Harbor or upon any waterway within the City, except in the case of an
                               actual emergency:

                1.      Failed to properly train, supervise and monitor crew members, including but not
                        limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
                        fi·om traveling at excessive speeds and creating wakes in the "No Wake'' zones of
                        the Chicago River.

                39.    On and prior to July 23, 2020, and at all times relevant herein, defendant

         MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., had privity and

         knowledge of the their tow boats and barges repeatedly traveling at an excessive speed along the

         Chicago River. Defendant MATERIAL SERVICE INC. d/b/a HANSON MATERIAL


                                                         8
          Case:
           Case:22-1511
                 22-1511         Document:
                                  Document:1-1
                                            4              Filed:
                                                            Filed:04/15/2022
                                                                   03/30/2022       Pages:
                                                                                     Pages:207
                                                                                            124           (50 of 128)
         Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 21 of 108 PageiD #:21




     SERVICES CORP., also had privity and knowledge that their tow boats and barges were

     repeatedly causing wakes in the No Wake zone of the Chicago River.

             40.       On and prior to July 23, 2020, and at all times relevant herein, defendant

     MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., had privity and

     knowledge that there tow boats and barges were repeatedly violating local, State and Federal

     guidelines by traveling at an excessive speed resulting in wakes that placed smaller recreational
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0    watercraft at danger of capsizing.
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u:           41 .     As a direct and proximate result of one or more of the aforesaid negligent acts

     and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

     pecuniary nature resulting in his death.

             42.      Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

     Michael L. Gallagher is attached hereto as Exhibit A.

            WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

     Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

     MATERIAL SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP. for a sum in

     excess of the jurisdiction limits of the Circuit Court of Cook County, Illinois.

                    COUNT ll- NEGLIGENCE- LEHIGH HANSON SERVICES LLC.

            1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

     incoiporates them as though fully set forth herein.

            37.       On July 23, 2020, and at all times relevant herein, defendant LEHIGH owned,

     operated or maintained control over the Kiowa.

            38.       On July 23, 2020, and at times relevant herein, defendant CAPTAIN KENNETH

     L. STUBBS was an employee, agent or apparent agent of defendant LEHIGH.



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      Case:22-1511
            22-1511       Document:
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                                                            03/30/2022       Pages:
                                                                              Pages:207
                                                                                     124             (51 of 128)
    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 22 of 108 PageiD #:22




        39.   On July 23, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC, by and through the actions, acts and/or omissions of its agent, servant and/or

employee CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following

respects:

       a.     Violated United States CFR Title 33 §164.11 (p)
                     The person directing the movement of the vessel sets the vessel's speed
                     with consideration for:
                     (4) The comparative proportions of the vessel and the channel;
                     (5) The density of marine traffic;
                     (6) The damage that might be caused by the vessel's wake; and
                     (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                     The owner, master or operator of each vessel towing shall ensure that each
                     person directing and controlling the movement of the vessel:
                     (7) Proceeds at a safe speed taking into account the weather, visibility,
                        density of traffic, draft of tow, possibility of wake damage, speed and
                        direction of the current, and local speed-limits.

       c.       Violated United States Code 46 - Shipping - Subtitle II - Vessels and Seaman
                     Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                     interfering with the safe operation of a vessel, so as to endanger the life,
                     limb, or prope1iy of a person.

       d.       Violated United States Coast Guard Navigation Rules
                     Rule 5 - Look-out
                     Every vessel shall at all times maintain a proper look-out by sight and
                     hearing as well as by all available means appropriate in the prevailing
                     circumstances and conditions so as to make a full appraisal of the situation
                     and of the risk of collision.

                     Rule 6 - Safe Speed Inland
                     Every vessel shall at all times proceed at a safe speed so that she can take
                     proper and effective action to avoid collision and be stopped within a
                     distance appropriate to the prevailing circumstances and conditions

                     Rule 9 - Narrow Channels h1land
                     (a)(i) A vessel proceeding along the course of a nanow channel or faitway
                     shall keep as near to the outer limit of the channel or faixway which lies on
                     her starboard side as is safe and practicable.

       e.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7


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                                     Document:1-1
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                                                                      03/30/2022       Pages:
                                                                                        Pages:207
                                                                                               124              (52 of 128)
             Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 23 of 108 PageiD #:23




                                No person shall operate a watercraft within 150 feet of a public launching
                                ramp owned, operated or maintained by the Department or a political
                                subdivision of the State at greater than a "No Wake" speed as defined in
                                Section 5-12 of this Act. Posting of the areas by the Department or a
                                political subdivision of the State is not required.

                f.       Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
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.....                           A wake is defrned as a movement of the water created by a boat underway
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....                            great enough to disturb a boat at rest, but under no circumstances shall a
81                             boat underway exceed 5 miles per hour while in a posted "No Wake"
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;:::                            area.
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~               g.        Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
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w                              No person shall operate any watercraft... so as to approach or pass another
u::                            watercraft in such a manner or at such a rate of speed as to create a
                               hazardous wake or wash.

                h.      Violated Chicago Administrative Code 10-40-261
                               (a) No person shall operate a vessel in such a way that the boat creates a
                              wake in any of the following areas in the Lake Michigan portions of the
                               Chicago Harbor or upon any waterway within the City, except in the case
                              of an actual emergency.

                1.      Failed to properly train, supervise and monitor crew members, including but not
                        limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
                        from traveling at excessive speeds and creating wakes in the "No Wake" zones of
                        the Chicago River.

                40.     On and prior to July 23, 2020, and at all times relevant herein, defendant LEHIGH

        HANSON SERVICES LLC., had privity and knowledge of their tow boats and barges repeatedly

        traveling at an excessive speed along the Chicago River. Defendant MATERIAL SERVICE INC.

        d/b/a HANSON MATERIAL SERVICES CORP., also had privity and knowledge that their tow

        boats and barges were repeatedly causing wakes in the No Wake zone of the Chicago River.

               41.     On and prior to July 23, 2020, and at all times relevant herein, defendant LEHIGH

        HANSON SERVICES LLC., had privity and knowledge that there tow boats and barges were

        repeatedly violating local, State and Federal guidelines by traveling at an excessive speed resulting

        in wakes that placed smaller recreational watercraft at danger of capsizing.



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              Case:22-1511
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                                    Document:1-1
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                                                                      03/30/2022   Pages:
                                                                                    Pages:207
                                                                                           124            (53 of 128)
            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 24 of 108 PageiD #:24




                42.     As a direct and proximate result of one or more of the aforesaid negligent acts

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        and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and
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.....   pecuniary nature resulting in his death .
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               43.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

        Michael L. Gallagher is attached hereto as Exhibit A.

               WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

        Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

        HANSON SERVICES LLC for a sum in excess of the jurisdiction limits of the Circuit Court of

        Cook County, Illinois.

                      COUNT III - NEGLIGENCE- HEIDELBERG CEMENT GROUP

               1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

        incorporates them as though fully set forth herein.

               37.     On July 23, 2020, and at all times relevant herein, defendant HEIDELBERG

        CEMENT GROUP owned, operated or maintained control over the Kiowa.

               38.     On July 23, 2020, and at times relevant herein, defendant CAPTAIN KENNETH

        L. STUBBS was an employee, agent or apparent agent of defendant HEIDELBERG CEMENT

        GROUP.

               39.     On July 23, 2020, and at all times relevant herein, HEIDELBERG CEMENT

        GROUP, by and through the actions, acts and/or omissions of its agent, servant and/or employee

        CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following respects:

               a.      Violated United States CFR Title 33 §164.11 (p)
                              The person directing the movement of the vessel sets the vessel's speed
                              with consideration for:
                              (4) The comparative propox1ions of the vessel and the channel;
                              (5) The density of marine traffic;
                              (6) The damage that might be caused by the vessel's wake; and


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                                                      03/30/2022       Pages:
                                                                        Pages:207
                                                                               124              (54 of 128)
Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 25 of 108 PageiD #:25




                (8) Any local vessel speed limit.

   b.    Violated United States CFR Title 33 § 164.78 (a)
                The owner, master or operator of each vessel towing shall ensure that each
                person directing and controlling the movement of the vessel:
                (7) Proceeds at a safe speed taking into account the weather, visibility,
                   density of traffic, draft oftow, possibility ofwake damage, speed and
                   direction of the cuiTent, and local speed-limits.

   c.    Violated United States Code 46 - Shipping - Subtitle II- Vessels and Seaman
                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                interfering with the safe operation of a vessel, so as to endanger the life,
                limb, or property of a person.

  d.        Violated United States Coast Guard Navigation Rules
               Rule 5- Look-out
               Every vessel shall at all times maintain a proper look-out by sight and
               hearing as well as by all available means appropriate in the prevailing
               circumstances and conditions so as to make a full appraisal of the situation
               and of the risk of collision.

                Rule 6- Safe Speed Inland
                Every vessel shall at all times proceed at a safe speed so that she can take
                proper and effective action to avoid collision and be stopped within a
                distance appropriate to the prevailing circumstances and conditions

                Rule 9 - Narrow Channels Inland
                (a)(i) A vessel proceeding along the course of a narrow channel or faiJWay
                shall keep as near to the outer limit of the channel or fairway which lies on
                her starboard side as is safe and practicable.

  e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
               No person shall operate a watercraft within 150 feet of a public launching
               ramp owned, operated or maintained by the Department or a political
               subdivision of the State at greater than a "No Wake" speed as defined in
               Section 5-12 of this Act. Posting of the areas by the Department or a
               political subdivision of the State is not required.

  f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
               A wake is defined as a movement of the water created by a boat undeiWay
               great enough to disturb a boat at rest, but under no circumstances shall a
               boat undetway exceed 5 miles per hour while in a posted "No Wake"
               area.

  g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)



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                                                                               Pages:207
                                                                                      124            (55 of 128)
     Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 26 of 108 PageiD #:26




                       No person shall operate any watercraft... so as to approach or pass another
                       watercraft in such a manner or at such a rate of speed as to create a
                       hazardous wake or wash.

        h.      Violated Chicago Administrative Code 10-40-261
                       (a) No person shall operate a vessel in such a way that the boat creates a
                       wake in any ofthe following areas in the Lake Michigan portions of the
                       Chicago Harbor or upon any waterway within the City, except in the case
                       of an actual emergency.

        i.      Failed to properly train, supervise and monitor crew members, including but not
                limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
                from traveling at excessive speeds and creating wakes in the "No Wake" zones of
                the Chicago River.

        40.    On and prior to July 23, 2020, and at all times relevant herein, defendant

HEIDELBERG CEMENT GROUP, bad privity and knowledge of their tow boats and barges

repeatedly traveling at an excessive speed along the Chicago River. Defendant HEIDI;:LBERG

CEMENT GROUP, also had privity and knowledge that their tow boats and barges were

repeatedly causing wakes in the No Wake zone of the Chicago River.

        41.    On and prior to July 23, 2020, and at all times relevant herein, defendant

HEIDELBERG CEMENT GROUP, had privity and knowledge that there tow boats and barges

were repeatedly violating local, State and Federal guidelines by traveling at an excessive speed

resulting in wakes that placed smaller recreational watercraft at danger of capsizing.

       42.     As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       43.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant


                                                14
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                Case:22-1511
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                                      Document:1-1
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                                                                        03/30/2022    Pages:
                                                                                       Pages:207
                                                                                              124             (56 of 128)
              Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 27 of 108 PageiD #:27




          HEIDELBERG CEMENT GROUP for a sum in excess of the jurisdiction limits of the Circuit

re.....   Court of Cook County, Illinois.
§                            COUNT IV- NEGLIGENCE- KENNETH L. STUBBS
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                 1-36. Plaintiff re-plcads and re-alleges paragraphs 1-36 of this Complaint and hereby
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          incorporates them as though fully set forth herein.
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;:::             37.     On July 23, 2020, and at all times relevant herein, defendant KENNETH L .
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0         STUBBS owned, operated or maintained control over the Kiowa.
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u::              38.     On July 23, 2020, and at all times relevant herein, defendant, CAPTAIN

          KENNETH L. STUBBS was negligent in one or more of the following respects:

                 a.      Violated United States CFR Title 33 §I64.ll(p)
                                The person dlrecting the movement of the vessel sets the vessel's speed
                                with consideration for:
                                (4) The comparative proportions of the vessel and the channel;
                                {5) The density of marine traffic;
                                (6) The damage that might be caused by the vessel's wake; and
                                (8) Any local vessel speed limit.

                 b.      Violated United States CFR Title 33 §164.78 (a)
                                The owner, master or operator of each vessel towing shall ensure that each
                                person directing and controlling the movement of the vessel:
                                (7) Proceeds at a safe speed taking into account the weather, visibility,
                                   density of traffic, draft of tow, possibility of wake damage, speed and
                                   direction of the cunent, and local speed-limits.

                 c.     Violated United States Code 46 - Shipping- Subtitle II - Vessels and Seaman
                               Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                               interfering with the safe operation of a vessel, so as to endanger the life,
                               limb, or property of a person.

                 d.     Violated United States Coast Guard Navigation Rules
                               Rule 5 - Look-out
                               Every vessel shall at all times maintain a proper look-out by sight and
                               hearing as well as by all available means appropriate in the prevailing
                               circumstances and conditions so as to make a full appraisal of the situation
                               and of the risk of collision.

                                Rule 6 - Safe Speed Inland

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                                                                                             124             (57 of 128)
            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 28 of 108 PageiD #:28




                             Every vessel shall at all times proceed at a safe speed so that she can take
                             proper and effective action to avoid collision and be stopped within a
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N                            distance appropriate to the prevailing circumstances and conditions
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                             Rule 9 - Narrow Channels Inland
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N                            (a)(i) A vessel proceeding along the course of a naiTOW channel or fairway
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                             shall keep as near to the outer limit of the channel or fairway which lies on
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.-                           her starboard side as is safe and practicable.
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               e.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
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;:::                         No person shall operate a watercraft within 150 feet of a public launching
w                            ramp owned, operated or maintained by the Department or a political
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0                            subdivision of the State at greater than a "No Wake" speed as defined in
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                             Section 5-12 of this Act. Posting of the areas by the Department or a
u:                           political subdivision of the State is not required.

               f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                            A wake is defined as a movement of the water created by a boat underway
                            great enough to disturb a boat at rest, but under no circumstances shall a
                            boat underway exceed 5 miles per hour while in a posted "No Wake"
                            area.

               g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                            No person shall operate any watercraft... so as to approach or pass another
                            watercraft in such a manner or at such a rate of speed as to create a
                            hazardous wake or wash.

               h.    Violated Chicago Administrative Code 10-40-261
                            (a) No person shall operate a vessel in such a way that the boat creates a
                            wake in any of the following areas in the Lake Michigan portions of the
                            Chicago Harbor or upon any waterway within the City, except in the case
                            of an actual emergency.

              1.     Failed to properly train, supervise and monitor crew members, including but not
                     limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges from
                     traveling at excessive speeds and creating wakes in the "No Wake" zones of the
                     Chicago River.

              39.    On and prior to July 23, 2020, and at all times relevant herein, defendant

        KENNETH L. STUBBS, had privity and knowledge of the tow boats and barges he captained

        repeatedly traveled at an excessive speed along the Chicago River. Defendant KENNETH L.




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             22-1511       Document:
                            Document:1-1
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                                                              03/30/2022     Pages:
                                                                              Pages:207
                                                                                     124            (58 of 128)
    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 29 of 108 PageiD #:29




STUBBS, also had privity and knowledge that the tow boats and barges he captained were

repeatedly causing wakes in the No Wake zone of the Chicago River.

        40.     On and prior to July 23, 2020, and at all times relevant herein, defendant

KENNETH L. STUBBS, had privity and knowledge that the tow boats and barges he captained

were repeatedly violating local, State and Federal guidelines by traveling at an excessive speed

resulting in wakes that placed smaller recreational watercraft at danger of capsizing.

        41 .    As a direct and proximate result of one or more of the aforesaid negligent acts

and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

pecuniary nature resulting in his death.

       42.      Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

KENNETH L. STUBBS for a sum in excess of the jurisdiction limits of the Circuit Court of Cook

County, Illinois.

             COUNT V- SURVIVAL COUNT -MATERIAL SERVICE INC. d/b/a
                       HANSON MATERIAL SERVICES CORP.

       1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

incorporates them as though fully set forth herein.

       37.     On July 23, 2020, and at all times relevant herein, defendant MATERIAL, owed a

duty to operate the Kiowa and barge in a reasonable manner.

       38.     On July 23, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE INC. d/b/a HANSON MATERIAL SERVICES CORP., by and through the actions,




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               Case:22-1511
                     22-1511       Document:
                                    Document:1-1
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                                                                     03/30/2022       Pages:
                                                                                       Pages:207
                                                                                              124             (59 of 128)
             Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 30 of 108 PageiD #:30




         acts and/or omissions of its agent, servant and/or employee CAPTAIN KENNETH L. STUBBS

(I)
,...
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         was negligent in one or more of the following respects:
(I)

§.....          a.     Violated United States CFR Title 33 §164.ll(p)
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N                             The person directing the movement of the vessel sets the vessel's speed
                              with consideration for:
                              (4) The comparative proportions of the vessel and the channel;
....                          (5) The density of marine traffic;
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                              (6) The damage that might be caused by the vessel's wake; and
....
;;::                          (8) Any local vessel speed limit.
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~               b.     Violated United States CFR Title 33 §164.78 (a)
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w                             The owner, master or operator of each vessel towing shall ensure that each
u:                            person directing and controlling the movement of the vessel:
                              (7) Proceeds at a safe speed taking into account the weather, visibility,
                                 density of traffic, draft of tow, possibility of wake damage, speed and
                                 direction of the cutTcnt, and local speed-limits.

                c.     Violated United States Code 46- Shipping- Subtitle II - Vessels and Seaman
                              Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                              interfering with the safe operation of a vessel, so as to endanger the life,
                              limb, or property of a person.

                d.     Violated United States Coast Guard Navigation Rules
                              Rule 5 - Look-out
                              Every vessel shall at all times maintain a proper look-out by sight and
                              hearing as well as by all available means appropriate in the prevailing
                              circumstances and conditions so as to make a full appraisal of the situation
                              and of the risk of collision.

                              Rule 6 - Safe Speed Inland
                              Every vessel shall at all times proceed at a safe speed so that she can take
                              proper and effective action to avoid collision and be stopped within a
                              distance appropriate to the prevailing circumstances and conditions

                              Rule 9 - Narrow Chatmels Inland
                              (a)(i) A vessel proceeding along the comse of a narrow chatmel or fairway
                              shall keep as near to the outer limit of the channel or fairway which lies on
                              her starboard side as is safe and practicable.

               e.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                              No person shall operate a watercraft within 150 feet of a public launching
                              ramp owned, operated or maintained by the Department or a political
                              subdivision of the State at greater than a "No Wake" speed as defined in



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                                                                 03/30/2022       Pages:
                                                                                   Pages:207
                                                                                          124             (60 of 128)
         Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 31 of 108 PageiD #:31




                            Section 5-12 of this Act. Posting of the areas by the Department or a
                            political subdivision of the State is not required.
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to           f.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
9                           A wake is defined as a movement of the water created by a boat underway
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N                           great enough to disturb a boat at rest, but under no circumstances shall a
                            boat underway exceed 5 miles per hour while in a posted "No Wake"
                            area.

             g.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                           No person shall operate any watercraft ... so as to approach or pass another
                           watercraft in such a manner or at such a rate of speed as to create a
                           hazardous wake or wash.

             h.     Violated Chicago Administrative Code 10-40-261
                           (a) No person shall operate a vessel in such a way that the boat creates a
                           wake in any of the following areas in the Lake Michigan portions of the
                           Chicago Harbor or upon any wate1way within the City, except in the case
                           of an actual emergency.

             1.     Failed to properly train, supervise and monitor crew members, including but not
                    limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
                    from traveling at excessive speeds and creating wakes in the "No Wake" zones of
                    the Chicago River.

            39.     As a direct and proximate result of one or more of the aforesaid negligent acts

     and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

     pecuniary nature resulting in his death.

            40.     At the time of his death, Plaintiffs decedent, VICTOR LOBATO OCHOA, left

     surviving: Jesus Lobato Hernandez, his father (DOB 8/2511990); Mariana Manuela Ochoa, bis

     mother (DOB 10/2111993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

     Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

     6/13/2018).

            41 .    As a proximate result of one or more of the foregoing negligent acts or omissions,

     VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including




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              Case:22-1511
                    22-1511        Document:
                                    Document:1-1
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                                                                                       Pages:207
                                                                                              124          (61 of 128)
            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 32 of 108 PageiD #:32




       conscious pain and suffering, which would have entitled him to bring a cause of action and this

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N      cause of action has survived him.
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3              42.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate
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       of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled
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a;
       Statutes 5/27-6 et seq., commonly known as the Survival Act.
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;:::           43.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

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       Michael L. Gallagher is attached hereto as Exhibit A.
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u::            WHEREFORE, plaintiff, MARIANA M . OCHOA as Independent Administrator of the

       Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

       MATERIAL SERVICE INC. ciJb/a HANSON MATERIAL SERVICES CORP. for a sum in

       excess of the jurisdiction limits of the Circuit Court of Cook County, Illinois.

                   COUNT VI-SURVIVAL COUNT -LEHIGH HANSON SERVICES LLC

               1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

       incorporates them as though fully set forth herein.

              37.     On July 23, 2020, and at all times relevant herein, defendant LEHIGH HANSON

       SERVICES LLC, owed a duty to operate the Kiowa and barge in a reasonable manner.

              38.     On July 23, 2020, and at all times relevant herein, defendant LEHIGH HANSON

       SERVICES LLC, by and through the actions, acts and/or omissions of its agent, servant and/or

       employee CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following

       respects:

              a.      Violated United States CFR Title 33 §164.ll(p)
                             The person directing the movement of the vessel sets the vessel's speed
                             with consideration for:
                             (4) The comparative proportions of the vessel and the channel;
                             (5) The density of marine traffic;
                             (6) The damage that might be caused by the vessel's wake; and


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       Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 33 of 108 PageiD #:33




                       (8) Any local vessel speed limit.

          b.    Violated United States CFR Title 33 §164.78 (a)
                       The owner, master or operator of each vessel towing shall ensure that each
                       person directing and controlling the movement of the vessel:
                       (7) Proceeds at a safe speed taking into account the weather, visibility,
                          density of traffic, draft of tow, possibility of wake damage, speed and
                          direction of the cun·ent, and local speed-limits.
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N
0        c.     Violated United States Code 46- Shipping - Subtitle II - Vessels and Seaman
~
;:::                   Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
w                      interfering with the safe operation of a vessel, so as to endanger the life,
~                      limb, or property of a person.
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u::      d.    Violated United States Coast Guard Navigation Rules
                      Rule 5 - Look-out
                      Every vessel shall at all times maintain a proper look-out by sight and
                      hearing as well as by all available means appropriate in the prevailing
                      circumstances and conditions so as to make a full appraisal of the situation
                      and of the risk of collision.

                       Rule 6 - Safe Speed Inland
                       Every vessel shall at all times proceed at a safe speed so that she can take
                       proper and effective action to avoid collision and be stopped within a
                       distance appropriate to the prevailing circumstances and conditions

                       Rule 9 - Narrow Channels hlland
                       (a)(i) A vessel proceeding along the course of a narrow channel or faiiway
                       shall keep as near to the outer limit of the channel or faitway which lies on
                       her starboard side as is safe and practicable.

         e.    Violated Illinois Boat Registration and Safety Act 625 lLCS 45/5-7
                      No person shall operate a watercraft within 150 feet of a public launching
                      ramp owned, operated or maintained by the Department or a political
                      subdivision of the State at greater than a "No Wake" speed as defined in
                      Section 5-12 of this Act. Posting of the areas by the Depattment or a
                      political subdivision of the State is not required.

         f.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                      A wake is defined as a movement of the water created by a boat underway
                      great enough to disturb a boat at rest, but under no circumstances shall a
                      boat underway exceed 5 miles per hour while in a posted "No Wake''
                      area.

         g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)



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            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 34 of 108 PageiD #:34




                               No person shall operate any watercraft... so as to approach or pass another
                               watercraft in such a manner or at such a rate of speed as to create a
                               hazardous wake or wash.

               h.      Violated Chicago Administrative Code 10-40-261
                              (a) No person shall operate a vessel in such a way that the boat creates a
                              wake in any ofthe following areas in the Lake Michigan portions of the
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....
N                             Chicago Harbor or upon any waterway within the City, except in the case
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....                          of an actual emergency .
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;::::          i.      Failed to properly train, supervise and monitor crew members, including but not
Iii                    limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
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c                      from traveling at excessive speeds and creating wakes in the ''No Wake" zones of
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~                      the Chicago River.
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               39.     As a direct and proximate result of one or more of the aforesaid negligent acts

        and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

        pecuniary nature resulting in his death.

               40.     As a proximate result of one or more of the foregoing negligent acts or omissions,

        VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including

        conscious pain and suffering, which would have entitled him to bring a cause of action and this

        cause of action has survived him.

               41.     At the time of his death, Plaintiffs decedent, VICTOR LOBATO OCHOA, left

        surviving: Jesus Lobato Hemandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

        mother (DOB 10/2111993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

        Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

        6/13/2018).

               42.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

        of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 Illinois Compiled

        Statutes 5/27-6 et seq., commonly known as the Survival Act.




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    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 35 of 108 PageiD #:35




        43.    Pursuant to 2-622(a)(2) of the lllinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

        WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant LEHIGH

HANSON SERVICES LLC for a sum in excess of the jurisdiction limits of the Circuit Court of

Cook County, Illinois.

            COUNT VII - SURVIVAL COUNT- HEIDELBERG CEMENT GROUP

        1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby

incorporates them as though fully set forth herein.

       37.     On July 23, 2020, and at all times relevant herein, defendant HEIDELBERG

CEMENT GROUP, owed a duty to operate the Kiowa and barge in a reasonable manner.

       38.     On July 23, 2020, and at all times relevant herein, defendant HEIDELBERG

CEMENT GROUP, by and through the actions, acts and/or omissions of its agent, servant and/or

employee CAPTAIN KENNETH L. STUBBS was negligent in one or more of the following

respects:

       a.      Violated United States CFR Title 33 §164.ll(p)
                      The person directing the movement of the vessel sets the vessel's speed
                      with consideration for:
                      (4) The comparative prop01tions of the vessel and the channel;
                      (5) The density of marine traffic;
                      (6) The damage that might be caused by the vessel's wake; and
                      (8) Any local vessel speed limit.

       b.      Violated United States CFR Title 33 §164.78 (a)
                      The owner, master or operator of each vessel towing shall ensure that each
                      person directing and controlling the movement of the vessel:
                      (7) Proceeds at a safe speed taking into account the weather, visibility,
                         density of traffic, draft of tow, possibility of wake damage, speed and
                         direction of the cuiTent, and local speed-limits.

       c.      Violated United States Code 46 - Shipping - Subtitle II - Vessels and Seaman


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        Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 36 of 108 PageiD #:36




                        Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                        interfering with the safe operation of a vessel, so as to endanger the life,
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N                       limb, or property of a person.
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          d.     Violated United States Coast Guard Navigation Rules
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 N                      Rule 5- Look-out
                        Every vessel shall at all times maintain a proper look-out by sight and
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                        hearing as well as by all available means appropriate in the prevailing
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                        circumstances and conditions so as to make a full appraisal of the situation
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0                       and of the risk of collision.
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w                       Rule 6 - Safe Speed Inland
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0                       Every vessel shall at all times proceed at a safe speed so that she can take
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                        proper and effective action to avoid collision and be stopped within a
u:                      distance appropriate to the prevailing circumstances and conditions

                        Rule 9 - Narrow Channels Inland
                        (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                        shall keep as near to the outer limit of the channel or fairway which lies on
                        her starboard side as is safe and practicable.

          e.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                       No person shall operate a watercraft within 150 feet of a public launching
                       ramp owned, operated or maintained by the Department or a political
                       subdivision of the State at greater than a "No Wake" speed as defined in
                       Section 5-12 of this Act. Posting ofthe areas by the Department or a
                       political subdivision of the State is not required.

          f.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                       A wake is defined as a movement of the water created by a boat underway
                       great enough to disturb a boat at rest, but under no circumstances shall a
                       boat unde1way exceed 5 miles per hour while in a posted "No Wake"
                       area.

          g.    Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                       No person shall operate any watercraft... so as to approach or pass another
                       watercraft in such a manner or at such a rate of speed as to create a
                       hazardous wake or wash.

          h.    Violated Chicago Administrative Code I 0-40-261
                       (a) No person shall operate a vessel in such a way that the boat creates a
                       wake in any of the following areas in the Lake Michigan portions of the
                       Chicago Harbor or upon any wate1way within the City, except in the case
                       of an actual emergency.




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            Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 37 of 108 PageiD #:37




                I.     Failed to properly train, supervise and monitor crew members, including but not
                       limited to defendant Ketmeth L. Stubbs, to prevent their tug boats and barges from
                       traveling at excessive speeds and creating wakes in the "No Wake" zones of the
                       Chicago River.

                39.    As a direct and proximate result of one or more of the aforesaid negligent acts
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...a;
N       and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and
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0       pecuniary nature resulting in his death.
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                40.    As a proximate result of one or more of the foregoing negligent acts or omissions,
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        VICTOR LOBATO OCHOA, sustained personal injuries resulting in his death, including
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        conscious pain and suffering, which would have entitled him to bring a cause of action and this

        cause of action has survived him.

               41.     At the time of his death, P laintiff's decedent, VICTOR LOBATO OCHOA, left

        surviving: Jesus Lobato Hernandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

        mother (DOB 10/21/ 1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/2011); Jesus

        Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

        6/13/2018).

               42.     MARIANA M. 9CHOA is the duly appointed Special Administrator of the Estate

        of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755lllinois Compiled

        Statutes 5/27-6 et seq., commonly known as the Survival Act.

               43.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

        Michael L. Gallagher is attached hereto as Exhibit A.

               WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Administrator of the

        Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

        HEIDELBERG CEMENT GROUP for a sum in excess of the jurisdiction limits of the Circuit

        Court of Cook County, illinois.


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                          COUNT VIII-SURVIVAL COUNT- KENNETH L. STUBBS

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N                 1-36. Plaintiff re-pleads and re-alleges paragraphs 1-36 of this Complaint and hereby
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s,...      incorporates them as though fully set forth herein.
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                  37.     On July 23, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH
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           L. STUBBS, owed a duty to operate the Kiowa and barge in a reasonable manner.
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...;::::          38.     On July 23, 2020, and at all times relevant herein, defendant CAPTAIN KENNETH

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           L. STUBBS was negligent in one or more of the following respects:
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u::               a.      Violated United States CFR Title 33 § 164.11 (p)
                                 The person directing the movement of the vessel sets the vessel's speed
                                 with consideration for:
                                 (4) The comparative proportions of the vessel and the channel;
                                 (5) The density of marine traffic;
                                 (6) The damage that might be caused by the vessel's wake; and
                                 (8) Any local vessel speed limit

                  b.     Violated United States CFR Title 33 §164.78 (a)
                                The owner, master or operator of each vessel towing shall ensure that each
                                person directing and controlling the movement of the vessel:
                                (7) Proceeds at a safe speed taking into account the weather, visibility,
                                   density of traffic, draft of tow, possibility of wake damage, speed and
                                   direction of the cun·cnt, and local speed-limits.

                  c.     Violated United States Code 46- Shipping - Subtitle II - Vessels and Seaman
                                Chapter 23 § 2302(a) A person operating a vessel in a negligent manner or
                                interfering with the safe operation of a vessel, so as to endanger the life,
                                limb, or property of a person.

                  d.     Violated United States Coast Guard Navigation Rules
                                Rule 5- Look-out
                                Every vessel shall at all times maintain a proper look-out by sight and
                                bearing as well as by all available means appropriate in the prevailing
                                circumstances and conditions so as to make a full appraisal of the situation
                                and of the risk of collision.

                                 Rule 6 - Safe Speed Inland
                                 Every vessel shall at all times proceed at a safe speed so that she can take
                                 proper and effective action to avoid collision and be stopped within a
                                 distance appropriate to the prevailing circumstances and conditions



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             Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 39 of 108 PageiD #:39




                                Rule 9 - Narrow Channels Inland
                                (a)(i) A vessel proceeding along the course of a narrow channel or fairway
                                shall keep as near to the outer limit ofthe cha1mel or fairway which lies on
                                her starboard side as is safe and practicable.

                e.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-7
                               No person shall operate a watercraft within 150 feet of a public launching
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N                              ramp owned, operated or maintained by the Department or a political
                               subdivision of the State at greater than a "No Wake" speed as defined in
                               Section 5-12 of this Act. Posting of the areas by the Department or a
                               political subdivision of the State is not required.

                f.      Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-12
                               A wake is defined as a movement of the water created by a boat underway
                               great enough to disturb a boat at rest, but under no circumstances shall a
                               boat underway exceed 5 miles per hour while in a posted "No Wake"
                               area.

                g.     Violated Illinois Boat Registration and Safety Act 625 ILCS 45/5-2(a)
                              No person shall operate any watercraft... so as to approach or pass another
                              watercraft in such a manner or at such a rate of speed as to create a
                              hazardous wake or wash.

                h.     Violated Chicago Administrative Code 10-40-261
                              (a) No person shall operate a vessel in such a way that the boat creates a
                              wake in any of the following areas in the Lake Michigan portions of the
                              Chicago Harbor or upon any waterway within the City, except in the case
                              of an actual emergency.

               1.      Failed to properly train, supervise and monitor crew members, including but not
                       limited to defendant Kenneth L. Stubbs, to prevent their tug boats and barges
                       from traveling at excessive speeds and creating wakes in the "No Wake" zones of
                       the Chicago River.

               39.     As a direct and proximate result of one or more of the aforesaid negligent acts

        and/or omissions, Plaintiff VICTOR LOBATO OCHOA, sustained injuries of a personal and

        pecuniary nature resulting in his death.

               40.     As a proximate result of one or more of the foregoing negligent acts or omissions,

        PVICTOR LOBATO OCHOA, sustained personal injuries resulting in his deaU1, including




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    Case: 1:21-cv-03936 Document#: 1 Filed: 07/24/21 Page 40 of 108 PageiD #:40




conscious pain and suffering, which would have entitled him to bring a cause of action and this

cause of action has survived him.

       41.     At the time of his death, Plaintiff's decedent, VICTOR LOBATO OCHOA, left

surviving: Jesus Lobato Hemandez, his father (DOB 8/25/1990); Mariana Manuela Ochoa, his

mother (DOB 10/21/1993); Mariano Ignacio Ochoa Jr., his brother (DOB 5/23/201 1); Jesus

Francisco Lobato, his brother (DOB 7/25/2014); and Elena Monzahat Lobato-Ochoa, sister (DOB

6/13/2018).

       42.     MARIANA M. OCHOA is the duly appointed Special Administrator of the Estate

of VICTOR LOBATO OCHOA, and brings this cause of action pursuant to 755 lllinois Compiled

Statutes 5/27-6 et seq., commonly known as the Survival Act.

       43.     Pursuant to 2-622(a)(2) of the Illinois Code of Civil Procedure, the Affidavit of

Michael L. Gallagher is attached hereto as Exhibit A.

       WHEREFORE, plaintiff, MARIANA M. OCHOA as Independent Aduunistrator of the

Estate of VICTOR LOBATO OCHOA, Deceased, demands judgment against defendant

CAPTAIN KENNETH L . STUBBS for a sum in excess of the jurisdiction limits of the Circuit

Court of Cook County, Illinois.




                                            Att~r==
Michael L. Gallagher
Wise Morrissey, LLC
161 North Clark Street
Suite 3250
Chicago, IL 60601
P: (312) 580-2040
Firm No.: 63527
mlg((uwisemorrissey.com



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                                                                                                                        CIRCUIT CLERK
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                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
IJ)
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§.,...   MARIANA M. OCHOA as Independent
N
0        Administrator of the Estate ofVICTOR
N
         LOBATO OCHOA, Deceased,
                                                                                               Case No~021 L006726
                     Plaintiff,

                                        V.                                                     Attorney Affidavit Attached

         MATERIAL SERVICE CORPORATION                                                          Plaintiff Demands Trial by Jury
         d/b/a HANSON MATERIAL SERVICE
         CORPORATION; LEHIGH HANSON
         SERVICES LLC.; HEIDELBERG CEMENT
         GROUP and KENNETH L. STUBBS,

                     Defendants.

                                                                                       AFFIDAVIT

                     I, Michael L. Gallagher, state under oath:

                     1.                 T am an attorney associated with Wise Morrissey, LLC and am responsible for

         filing of the Complaint at Law in this matter.

                     2.                The total of money damages sought by plaintiff does exceed $50,000.00,

         exclusive of interest and costs.




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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

 MARIANA M. OCHOA as Independent
 Administrator of the Estate of VICTOR
 LOBATO OCHOA, Deceased,

        Plaintiff,

                v.
                                                      Case No. 1:21-cv-03936
 MATERIAL SERVICE CORPORATION
 d/b/a HANSON MATERIAL SERVICE                        Judge Sara L. Ellis
 CORPORATION; LEHIGH HANSON
                                                      Magistrate Judge Sunil R. Harjani
 SERVICES LLC.; HEIDELBERG CEMENT
 GROUP and CAPTAIN KENNETH L.
 STUBBS,

        Defendants.

       PLAINTIFF’S MOTION TO REMAND THE MATTER TO STATE COURT
       NOW COMES Plaintiff, MARIANA M. OCHOA (“Plaintiff”) as Independent

Administrator of the Estate of VICTOR LOBATO OCHOA (“Victor”), Deceased, by her attorneys

WISE MORRISSEY, LLC. against defendants, MATERIAL SERVICE CORPORATION d/b/a

HANSON MATERIAL SERVICE CORPORATION (“Material”); LEHIGH HANSON

SERVICES LLC. (“Lehigh Hanson LLC.); HEIDELBERG CEMENT GROUP and CAPTAIN

KENNETH L. STUBBS (“Stubbs”), for her Motion to remand the matter to State Court.

                                          Introduction

       Plaintiff’s Motion seeks to remand the above matter to State Court pursuant to 28 U.S.

Code § 1447(c) for the following reasons: 1) the Court lacks subject matter jurisdiction since the

Single Claimant exception applies to the present matter; 2) Defendants’ Notice of Removal is

deficient pursuant for failing to list the citizenship of each of Defendant Lehigh Hanson Services



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LLC. partners, limited partners and members; 3) the parties lack complete diversity where

Defendant Material’s principle place of business is in Illinois.

                                       Procedural History

       On July 22, 2020, at approximately 6:40 p.m., San Gabriel was operating a 16-17 foot long

open motorboat on the Chicago River with eight additional passengers, including three adults and

five small children. (Exhibit 1, First Amended Complaint ¶21). All eight occupants of the

motorboat were wearing Personal Flotation Devises (PFD) including the Plaintiff and Victor. (Exh.

1, ¶22). At that time, Defendant Captain Kenneth L. Stubbs (“Stubbs”) was operating the towboat

Kiowa (“Kiowa”) which was 76 feet long and 26 feet wide. (Id. at. ¶ 11). The Kiowa was pushing

a barge that was 195 feet long and 35 feet wide, while being fully loaded with aggregate. (Id. at

¶11). The First Amended Complaint alleges that Defendant Stubbs was an employee of Defendants

Material, Lehigh Hanson LLC. and/or Heidelberg. (Id. at ¶12-14).

       According to witness accounts and an investigation by the Illinois Department of Natural

Resources (“IDNR”), the Kiowa was traveling at a speed that created large wakes in the Chicago

River, which was a strict no-wake zone. (Id. at ¶¶33-35). At that time, the wakes created by the

Kiowa and barge washed over the open bow of the motorboat and resulted in it capsizing and the

occupants being thrown overboard. (Id. at ¶29). Victor was trapped underneath the motorboat and

tragically drowned. (Id. at ¶30). A subsequent IDNR investigation concluded that the “cause of

the accident” was the “force of wake” created by the Kiowa and barge. (Id. at ¶34).

       On July 1, 2021, Plaintiff filed her original Complaint in the Circuit Court of Cook County,

Illinois, County Department, under Case No. 2021-L-006726. (Exhibit 2, Original Complaint).

Plaintiff’s original Complaint was served on Defendants Material and Lehigh Hanson Services

LLC on July 14, 2021, and Defendant Stubbs on July 17, 2021. (Dkt. 1, pg.3, 43-45). Plaintiff filed



                                                 2
      Case: 1:21-cv-03936 Document #: 13 Filed: 08/23/21 Page 3 of 7 PageID #:243
        Case:
         Case:22-1511
                22-1511 Document:
                           Document:1-1
                                     4        Filed:
                                                Filed:04/15/2022
                                                       03/30/2022 Pages:
                                                                    Pages:207
                                                                           124                      (73 of 128)


her First Amended Complaint in the Circuit Court of Cook County on July 22, 2021. (Exh. 1).

Defendants filed their Notice of Removal of Plaintiff’s original Complaint on July 24, 2021. (Dkt.

1.)

                                              Argument

I)      The Court lacks subject matter jurisdiction where the Single Claimant exception
        applies.
        Defendants claim that this Court has original jurisdiction based admiralty and pursuant to

28 U.S.C. § 1333(1) which states “[a]ny civil case of admiralty or maritime jurisdiction, saving to

suitors in all cases all other remedies to which they are otherwise entitled”. (Dkt. 1, pg.3). As

stated, the “savings to suitors” clause in 28 U.S.C. § 1333(1), reserves to suitors in admiralty or

maritime cases their common-law remedies. These remedies include the right to select a forum

and the right to demand a jury trial. See American River Transp. Co. v. Ryan, 579 F.3d 820, 825

(7th Cir. 2009); citing Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 455 (2001); see also In

re McCarthy Brothers Co., 83 F.3d 821, 826–27 (7th Cir.1996) (describing the conflict between

the “savings to suitors” clause and the ship owner’s right to limited liability under 46 U.S.C §

30511(c) as “significant” because claimants have no right to a jury trial in admiralty actions in

federal court, and holding that a federal court must allow a claimant to proceed in state court if the

owner fails to prove her right to limited liability).

        The Supreme Court has determined that in light of this conflict between the public interest

in protecting the shipping industry reflected in the Limitation Act and the strong interest in

preserving common law remedies for injured parties underlying the “savings to suitors” clause

of § 1333(1), district courts have discretion to allow a case to proceed in state court if certain

conditions are met. Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 454 (2001).The Supreme

Court and the Seventh Circuit recognize two situations in which a district court should allow a


                                                   3
     Case: 1:21-cv-03936 Document #: 13 Filed: 08/23/21 Page 4 of 7 PageID #:244
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                                           (74 of 128)


state court action involving a maritime claim to proceed: (1) the “single claimant” exception; and

(2) the “adequate fund” exception. See Lake Tankers Corp. v. Henn, 354 U.S. 147, 154

(1957); Langnes v. Green, 282 U.S. 531, 541 (1931); see also In re Illinois Marine Towing,

Inc., 498 F.3d 645, 650 (7th Cir.2007).

          As its name suggests, the “single claimant” exception exists when there is only a single

claimant asserting his claim(s) against the shipowner—in that case, the Supreme Court has held

that there is no need for the “peculiar and exclusive jurisdiction of an admiralty court,” and the

district court should allow the action to proceed in state court, while retaining exclusive jurisdiction

over the question of liability limitation. Langnes, 282 U.S. at 541–42. The Supreme Court

reasoned that for a district court to retain the suit when a state court could afford relief “would be

to preserve the right of the shipowner, but to destroy the right of the suitor in the state court to a

common law remedy; [whereas] to remit the cause to the state court would be to preserve the rights

of both parties.” Illinois Marine, 498 F.3d at 650; citing Langnes, 282 U.S. at 541.1 In the present

case, Plaintiff has brought a single claim against the Defendants on behalf of her son, Victor.

Therefore, the “single claimant” exception applies to the present matter and the “saving to suitors”

clause of 28 U.S.C. § 1333(1) prevents the Court from having subject matter jurisdiction over the

present matter.

    II)       Defendants have failed to satisfy their burden to establish diversity.
          Defendants claim that this Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

(Dkt. 1, pg.3). “When challenged on allegations of jurisdictional facts, the parties must support



1
  Defendants have not sought to stay the underlying state matter pursuant to Limitation of Liability Act (Limitation
Act). 46 U.S.C. § 30505. Assuming Defendants seek such a stay, the Plaintiff is willing to enter into the requisite
stipulation needed to waive any claim of res judicata against Defendants based on a state court decision or judgment
with respect to issues arising under the Limitation Act. In addition, Plaintiff is willing to stipulate that she would not
seek to enforce any state court decision or judgment on any claim subject to limitation under the Act which exceeds
the value of the limitation fund as determined by the District Court.

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        Case: 1:21-cv-03936 Document #: 13 Filed: 08/23/21 Page 5 of 7 PageID #:245
          Case:
           Case:22-1511
                  22-1511 Document:
                             Document:1-1
                                       4        Filed:
                                                  Filed:04/15/2022
                                                         03/30/2022 Pages:
                                                                      Pages:207
                                                                             124                   (75 of 128)


their     allegations   by   competent   proof.” Hertz Corp. v. Friend, 559 U.S. 77, 96–97 (2010).

Ultimately, the removing party must establish the facts determining federal jurisdiction by a

preponderance of the evidence. Ill. Bell Tel. Co. v. Global NAPs Ill., Inc., 551 F.3d 587, 590 (7th

Cir. 2008). The party seeking removal has the burden of establishing federal jurisdiction, and

federal courts should interpret the removal statute narrowly, resolving any doubt in favor of the

plaintiff's choice of forum in state court. Doe v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th

Cir.1993). As the Supreme Court has long instructed, federal courts, as courts of limited

jurisdiction, must make their own inquiry to ensure that all statutory requirements are met before

exercising jurisdiction. See Great Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453

(1900).

          When it comes to corporations, however, the diversity statute itself makes clear that a

corporation is a citizen of both its state of incorporation and the state in which it maintains its

“principal place of business.” See 28 U.S.C. § 1332(c)(1). The Supreme Court has determined that

a corporation's principal place of business is the same as its “nerve center,” or “the place where

the corporation's high level officers direct, control, and coordinate the corporation's

activities.” Hertz Corp., 559 U.S. at 80. Determining the citizenship of other forms of business

associations is often more difficult. Page v. Democratic National Committee, 2 F.4th 630, 635 (7th

Cir. June 21, 2021). Partnerships, for example, are citizens of every state in which an individual

partner is a citizen. See Carden v. Arkoma Assocs., 494 U.S. 185, 195, 110 S.Ct. 1015, 108 L.Ed.2d

157 (1990). The same rule applies to other unincorporated entities, like limited liability companies,

whose citizenship is also determined by the citizenship of its “members.” See Americold Realty

Trust v. Conagra Foods, Inc., 577 U.S. 378, 381–82 (2016); see e.g., Carden v. Arkoma

Associates, 494 U.S. 185, 195-96 (1990) (citizenship of a partnership is that of every partner or



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    Case: 1:21-cv-03936 Document #: 13 Filed: 08/23/21 Page 6 of 7 PageID #:246
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                          (76 of 128)


member, limited as well as general). The only way to determine citizenship for diversity purposes

is to look at the individual partners—an analytical path repeatedly endorsed by the Supreme Court.

See, e.g., Lincoln Prop. Co. v. Roche, 546 U.S. 81 (2005)

        First, Defendants’ Notice fails to list the citizenship of Defendant Lehigh Hanson Services

LLC.’s individual partners or members. (Dkt. 1, ¶27). Instead, the Notice provides a single

paragraph regarding the citizenship of Lehigh Hanson Services LLC. claiming that it is “wholly

owned” by non-defendant Lehigh Hanson Inc. (Id.). As such, Defendants claim that Lehigh

Hanson Services LLC. is a Delaware Corporation with its principal place of business in Texas.

(Id.). As the Supreme Court and Seventh Circuit have repeatedly held, the party claiming diversity

jurisdiction must detail the citizenships of all its partners, limited partners and members. See.

Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998) (The citizenship of a partnership is the

citizenship of the partners, even if they are limited partners, so that if even one of the partners

(general or limited) is a citizen of the same state as the plaintiff, the suit cannot be maintained as

a diversity suit). In fact, a party’s failure to provide such requisite information has led to dismissal

for want of prosecution. See Guaranty National Title Co. v. J.E.G. Associates, 101 F.3d 57 (7th

Cir.1996) (Failure to go through all the layers can result in dismissal for want of jurisdiction).

        Second, Defendants’ Notice fails to satisfy their burden to establish that Defendant

Material d/b/a Hanson Material Service Corporation does not have its principal place of business

in Illinois. Defendants’ Notice contains the claim that Material “merged with and into” Hanson

Aggregate Midwest Inc. “on or about February 21, 2021”, approximately seven months after the

drowning occurred. (Dkt. 1, pg.1 n.1). The Notice goes on to make the conclusory claim that since

Hanson Aggregates Midwest Inc. was organized under the laws of Kentucky and has its principal

place of business in Texas, than Defendant Material shares the same citizenship. (Dkt. 1, ¶26).



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    Case: 1:21-cv-03936 Document #: 13 Filed: 08/23/21 Page 7 of 7 PageID #:247
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                         (77 of 128)


However, the single paragraph in Defendants’ Notice fails to satisfy their burden to establish that

Material does not maintain its principal place of business in Illinois. In reality, Material was formed

in Chicago, Illinois by the Crown family in 1919 and has maintained its principal place of business

in this state ever since. Moreover, Material currently has more than 800 employees working in

Illinois and Indiana, and although Material purportedly merged with Hanson Aggregate Midwest

Inc. in February 2021, Material still maintains its principle place of business in Illinois. See

http://www.ceram.com/news/mar/material-service.htm last visited August 23, 2021).

                                             Conclusion

       Wherefore, Plaintiff Mariana M. Ochoa as Independent Administrator of the Estate of

Victor Lobato Ochoa, Deceased respectfully requests that this Court grant her Motion to Remand

the matter to State Court.

                                               Respectfully submitted,
                                               MARIANA M. OCHOA

                                       By:     /s/ Michael L. Gallagher
                                               One of Her Attorneys
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 1 of 14 PageID #:385
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                 (78 of 128)



                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIANA M. OCHOA as Independent    )
Administrator of the Estate of VICTOR
                                   )
LOBOATO OCHOA, Deceased,           )
                                   )
                  Plaintiff,       )
                                   )
v.                                 )                   Case No.: 1:21-cv-03936
                                   )
HANSON AGGREGATES MIDWEST, INC. )                      District Judge Sarah L. Ellis
f/k/a MATERIAL SERVICE CORP.       )                   Magistrate Judge Sunil R. Harjani
d/b/a HANSON MATERIAL SERVICE      )
CORPORATION; LEHIGH HANSON         )
SERVICES LLC; LEHIGH HANSON, INC.; )
CAPTAIN KENNETH L. STUBBS;         )
and CELIO SAN GABRIEL,             )
                                   )
                  Defendants.      )

      RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTIONS TO REMAND 1

       Defendants Hanson Aggregates Midwest, Inc. f/k/a Material Service Corporation d/b/a

Hanson Material Service Corporation (“Hanson”) 2, Lehigh Hanson Services LLC (“LHS”),

Lehigh Hanson, Inc. (“LHI”), and Captain Kenneth L. Stubbs (“Stubbs”) submit the following as

their Response in Opposition to Plaintiff’s Motion to Remand [Doc. 13] and Plaintiff’s Amended

Motion to Remand [Doc. 17]:



1
  Defendants Hanson, LHS, LHI, and Stubbs submit that this matter should be stayed pursuant to
the Rule F injunction issued by Judge Shah in Case No. 1:21-cv-04295 (N.D. Ill.). A copy of
Judge Shah’s injunction was filed in this matter by Notice on September 9, 2021. See Docs. 18
and 18-1 and Section III.A, infra. However, out of an abundance of caution and to avoid any
potential argument for default or waiver, Defendants Hanson, LHS, LHI, and Stubbs timely
submit this Response in Opposition to Plaintiff’s Motion to Remand.
2
  Named Defendant Material Service Corporation d/b/a Hanson Material Service Corporation
was merged with and into Hanson Aggregates Midwest, Inc. on or about February 1, 2021. See,
infra, at Section III.B.3.b and Exhibits A and B attached hereto.
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 2 of 14 PageID #:386
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                        (79 of 128)


       I.      INTRODUCTION

       Plaintiff’s Motion to Remand and Amended Motion to Remand (“Plaintiff’s Motions”)

should not be granted for at least four reasons. First, on September 8, 2021, U.S. District Judge

Shah entered an injunction—under Rule F of the Supplemental Rules for Admiralty or Maritime

Claims and the Limitation of Liability Act, 46 U.S.C. Section 30505—that stays and restrains the

prosecution of any legal action against Defendant Hanson, except in the separate legal

proceeding pending before Judge Shah in Case No. 1:21-cv-4295. See Doc. 18. Absent

modification by Judge Shah of this injunction, this matter should be stayed and this Court should

not take action on Plaintiff’s Motions. Second, regardless of Judge Shah’s Rule F injunction,

removal of Plaintiff’s Complaint was proper under both the Court’s diversity and admiralty

jurisdiction, although either basis is sufficient. Third, none of the three reasons Plaintiff

submitted in support of remand are valid because they misstate admiralty law and assert incorrect

and inconsequential issues regarding diversity jurisdiction. Finally, in a last-ditch effort to defeat

this Court’s diversity jurisdiction, Plaintiff amended her Complaint to name a long-known party,

but she did so only after the usual 30-day time period for remand expired. This belated attempt

to defeat the Court’s diversity jurisdiction fails under 28 U.S.C. Section 1447 because the

Court’s subject matter jurisdiction remains secure in admiralty.

       II.     FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiff filed her original Complaint in Cook County, Illinois on July 1, 2021, seeking

wrongful death and survival damages against Defendants Hanson, LHS, Stubbs, and Heidelberg

Cement Group. 3 There is no dispute that this case involves the capsizing and sinking of a vessel




3
 Heidelberg Cement Group was not named as a Defendant in Plaintiff’s Second Amended
Complaint, which was filed on August 30, 2021, more than 30 days after Defendants removed
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 3 of 14 PageID #:387
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                           (80 of 128)


on the Chicago River, a navigable waterway of the United States. On July 24, 2021, Defendants

Hanson, LHS, Stubbs, and Heidelberg Cement Group timely and properly removed the case to

this Court under both diversity jurisdiction and admiralty jurisdiction, citing Lu Junhong v.

Boeing Co., 792 F.3d 805 (7th Cir. 2015) (approving removal based on admiralty jurisdiction).

        On August 23, 2021, Plaintiff moved to remand this matter to state court for three

reasons, but Plaintiff is incorrect on each of her points. First, Plaintiff misstates the applicable

admiralty law by improperly conflating admiralty jurisdiction with an abstention doctrine known

as the “Single Claimant Exception,” which is not presently at issue before this Court. Second,

with respect to diversity jurisdiction, Plaintiff claims Defendants did not adequately identify the

citizenship of Defendant LHS. This too is inaccurate because, as stated in the Notice of

Removal, LHS is a citizen of Delaware and Texas because its sole owner (and, therefore, sole

member) is Defendant LHI, which is a citizen of Delaware (its state of incorporation) and Texas

(its principal place of business). Finally, Plaintiff incorrectly asserts—based solely on a 2006

news article—that Defendant Hanson is a citizen of Illinois because the article incorrectly states

that Hanson’s principal place of business is in Illinois. Again, Plaintiff is incorrect because

Hanson’s principal place of business, and nerve center, is—as stated in the Notice of Removal—

in Texas, not Illinois.

        On August 30, 2021, the Court granted Plaintiff leave to file a Second Amended

Complaint. Doc. 15. At that same time, the Court also established a briefing schedule on

Plaintiff’s initial Motion to Remand. Id.




the case. Defendants LHI and Celio San Gabriel were added as Defendants in Plaintiff’s Second
Amended Complaint.
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 4 of 14 PageID #:388
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                         (81 of 128)


       On September 3, 2021—more than 30 days after the case had been removed—Plaintiff

filed an “Amended Motion to Remand the Matter to State Court.” Doc. 17. Plaintiff’s

Amended Motion is largely duplicative of her original Motion, except that it includes discussion

of Plaintiff’s addition of Defendant Celio San Gabriel (“San Gabriel”) in her Second Amended

Complaint. Because this Court’s subject matter jurisdiction is secure regardless of whether

Defendant San Gabriel’s status as a party or his citizenship, there is no need for the Court to

address Plaintiff’s untimely argument about Defendant San Gabriel.

       III.    LEGAL ARGUMENT

               A. This case should be stayed pursuant to Judge Shah’s Rule F injunction

       On August 11, 2021, and pursuant to its rights under Rule F and the Limitation of

Liability Act, Hanson filed a Complaint in this Court seeking exoneration from, or limitation of,

liability (hereafter, the “Limitation Case”). Limitation cases are within the exclusive jurisdiction

of federal courts. Hanson’s Limitation Case was assigned to District Judge Shah. 4 Consistent

with Rule F and the Limitation Act, Judge Shah entered an injunction on September 8, 2021, to

stay and restrain the prosecution of any legal action against Defendant Hanson, except in its

Limitation Case, No. 1:21-cv-4295. See Doc. 18. As such, this matter should be stayed,

including Plaintiff’s Motions, pending further Order from Judge Shah.

               B. Apart from Judge Shah’s injunction, Plaintiff’s Motions should be denied
                  because removal was proper

       If the Court reaches the merits of Plaintiff’s Motions despite Judge Shah’s injunction, it

should deny the Motions.

                       1.      Legal Standard for Motions to Remand



4
  In its civil cover sheet for its Limitation Case, Hanson identified its Limitation Case as being
related to this case.
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 5 of 14 PageID #:389
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                       (82 of 128)


       Defendants may properly remove to federal court a case filed in state court that could

have been filed originally in federal court. 28 U.S.C. § 1441. Whether a case was properly

removed to federal court is determined based upon “the situation which existed when the case

was removed.” Harmon v. OKI Systems, 115 F.3d 477, 480 (7th Cir. 1997); Matter of Shell, 970

F. 2d 355 (7th Cir. 1992) (per curiam) (“jurisdiction is determined as of the instant of removal”);

Elftmann v. Village Of Tinley Park, 191 F. Supp. 3d 874, 878 (N.D. Ill. 2016) (In considering a

motion for remand, the court must examine the plaintiffs’ complaint at the time of the

defendant’s removal); Brokaw v. Boeing Company, 137 F. Supp. 3d 1082, 1091 (N.D. Ill. 2015)

(“In considering a motion for remand, the court must examine the plaintiff’s complaint at the

time of the defendant’s removal and assume the truth of all factual allegations contained within

the original complaint”).

       Both the Court’s admiralty jurisdiction and diversity jurisdiction were satisfied when

Defendants removed this case, although either basis is alone sufficient to support removal.

                      2. Plaintiff’s argument about the “Single Claimant Exception” is a red
                         herring that has no relevance to the Court’s subject matter jurisdiction

       Plaintiff initial argument—and her only argument that even attempts to address the

Court’s admiralty jurisdiction—argues that this case should be remanded pursuant to the “Single

Claimant Exception” to the Limitation of Liability Act. 5 For a host of reasons set forth below,

this argument is deeply flawed and should be rejected.



5
   For a detailed discussion of the history and purpose of the Limitation Act and its “Single
Claimant Exception,” see Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438 (2001). In short,
the federal Limitation of Liability Act permits shipowners, like Hanson, to seek limited liability
in connection with maritime casualties. Such limitation proceedings are exclusively within the
jurisdiction of federal courts. In some circumstances, the Single Claimant Exception allows for
some issues (those not concerning limitation) to be resolved outside of the limitation proceeding
when only a single claimant has filed a claim against the shipowner along with certain
stipulations to protect the shipowner’s rights under the Limitation Act.
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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 6 of 14 PageID #:390
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                          (83 of 128)


       First, reference to the Single Claimant Exception raises a red herring that ignores the

applicable Seventh Circuit precedent cited in Defendants’ Notice of Removal, Lu Junhong v.

Boeing Co., 792 F.3d at 813–17 (affirming removal based on admiralty jurisdiction). Plaintiff

makes no attempt to address Lu Junhong in her Motions and makes no argument whatsoever that

admiralty jurisdiction is lacking in this case. As set forth in Defendants’ Notice of Removal, and

the cases cited therein, admiralty jurisdiction plainly exists over this dispute concerning the

navigation and capsizing of a vessel on a navigable waterway. See Jerome B. Grubart, Inc. v.

Great Lakes Dredge & Dock Co., 513 U.S. 527, 534 (1995) (quoting Sisson v. Ruby, 497 U.S.

358, 363–65, 364 n.2 (1990)); Foremost Ins. Co. v. Richardson, 457 U.S. 668 (1982); Lu

Junhong, 792 F.3d at 813–17.

       Second, unable to challenge the Court’s admiralty jurisdiction, Plaintiff instead conflates

the Court’s admiralty jurisdiction with an unrelated issue involving the Single Claimant

Exception and federal court’s exclusive jurisdiction over limitation cases. To support its

position, Plaintiff confusingly cites a number of cases involving the Limitation of Liability Act.

See American River, 579 F.3d 820; Lewis, 531 U.S. 438 (2001); McCarthy Brothers, 83 F.3d 821

(7th Cir. 1996), Illinois Marine Towing, 498 F.3d 645; Lake Tankers, 354 U.S. 147 (1957);

Langnes v. Green, 282 U.S. 531 (1931).

       The fatal flaw in Plaintiff’s argument is that none of the cases she cites involve issues of

removal, remand, or even a conflict about admiralty jurisdiction. Instead, they all concern when

a federal court should abstain 6 from exercising its jurisdiction, at least as to non-limitation issues,



       6
          The doctrine of abstention presupposes that jurisdiction is proper in more than one
court. Here, Plaintiff’s Motions ironically hinges on a supposed lack of subject matter
jurisdiction, while at the same time urging the Court to apply an abstention doctrine that is rooted
in multiple courts having proper jurisdiction.


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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 7 of 14 PageID #:391
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                             (84 of 128)


and dissolve a Rule F(3) injunction so one or more claimants may pursue litigation outside of the

shipowner’s limitation of liability case. The existence and effect of admiralty jurisdiction is an

entirely different concept than abstention. See, e.g., McCarthy Brothers, 83 F.3d at 828; Illinois

Marine Towing, 498 F.3d 650. Thus, all the cases cited by Plaintiff are irrelevant to the remand

analysis that Plaintiff’s Motions present. While the Single Claimant Exception may become an

issue in Hanson’s Limitation Case pending before Judge Shah, it has no bearing on Plaintiff’s

Motions pending before this Court.

        That Plaintiff is confusing legal apples with legal oranges when she urges this Court to

remand this case based upon the Single Claimant Exception is further underscored by Plaintiff’s

citations to the Supreme Court’s decision in Langnes v. Green, 282 U.S. 531 (1931), a case about

limitation of liability, not about whether a state court action properly was removed to federal

court. The other cases cited by Plaintiff are also based on Langnes. Plaintiff states that the

Supreme Court held that “the district court should allow the action to proceed in state court,

while retaining exclusive jurisdiction over the question of liability limitation.” Doc. 17 at 4

(emphasis added). But as the Supreme Court has explained, “[w]hen a district court remands a

case to state court, the district court disassociates itself from the case entirely, retaining nothing

of the matter on the federal court’s docket.” Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 714

(1996). In other words, if Langnes and its progeny of other limitation cases had any bearing on

the issue before this Court—whether this case was properly removed to federal court or instead

should be remanded—the law would not call for the federal court retaining jurisdiction over part

of the case. Rather, the law would grant a motion to remand based upon improper removal and

divorce the federal court from further involvement entirely, a set of facts and an outcome that

Langnes and Plaintiff’s other citations do not involve.



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    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 8 of 14 PageID #:392
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                          (85 of 128)


       Because federal subject matter jurisdiction plainly exists in this case, Plaintiff’s Motions

are essentially asking the Court to decline to exercise jurisdiction that it is duty-bound to

exercise. “We have often acknowledged that federal courts have a strict duty to exercise the

jurisdiction that is conferred upon them by Congress.” Quackenbush, 517 U.S. at 716.

Abstention from the exercise of that jurisdiction is permissible only when the relief sought by the

plaintiff is equitable or otherwise discretionary. Id. at 731. Of course, that is not the situation

here because Plaintiff in this case seeks damages, not equitable or discretionary

relief. Accordingly, Plaintiff’s urging this Court to refuse to exercise its proper jurisdiction,

based upon cases that have nothing to do with removal, is misguided and should be rejected.

       Third, Plaintiff’s argument about the Single Claimant Exception has no application in this

case because it is not a limitation case filed by a shipowner under Rule F; Hanson’s limitation

case is pending before Judge Shah. Instead, this case was filed by Plaintiff and removed to

federal court under both diversity and admiralty jurisdiction.

       Fourth, this case does not present an issue, like the cases cited in Plaintiff’s Motions,

about whether a Rule F(3) injunction should be dissolved since no such injunction was sought or

entered in this case.

       Fifth, it is premature for any court to determine whether this dispute involves only a

single claim because the deadline to file claims against Hanson has been set for November 1,

2021 in Judge Shah’s case.

       Finally, Plaintiff’s vague reference to the Savings to Suitors Clause of 28 U.S.C. Section

1333 (the statutory grant of admiralty jurisdiction) in the context of the Single Claimant

Exception does not aid her argument for remand. The Savings to Suitors Clause seeks to

preserve common law remedies, such as a jury trial. In this removed case, Plaintiff has



                                                  8
    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 9 of 14 PageID #:393
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                         (86 of 128)


demanded a jury trial and this Court is competent to provide that remedy. “State remedies under

the Savings to Suitors clause may be pursued in state court or, where there is a basis for federal

jurisdiction, in federal court.” Ballard Shipping Co. v. Beach Shellfish, 32 F. 3d 623, 626 (1st

Cir. 1994), cited favorably by Robinson v. Alter Barge Line, Inc., 513 F.3d 668, 673 (7th Cir.

2008). Here, this case was properly removed under both diversity and admiralty jurisdiction so

there is no possible violation of the Savings to Suitors Clause. See also Curry v. Boeing Co.,

2021 WL 1088325 (N.D. Ill. 2021) (admiralty case was properly removed within diversity

jurisdiction regardless of the Savings to Suitors Clause).

       As occurred in Lu Junhong, 792 F.3d at 813–17, Plaintiff has not argued in either of

Plaintiff’s Motions that the Savings to Suitors Clause forbids all removal of admiralty matters.

As such, there is no need for the Court to address this issue since Plaintiff has waived and

forfeited any potential argument on that issue. It is too late for Plaintiff to make such an

argument now. See also In re Chicago Board Options Exchange, 435 F. Supp. 3d 845 (N.D. Ill.

2020) (“arguments raised for the time in a reply brief are waived”) (quoting Gonzales v. Mize,

565 F.3d 373, 382 (7th Cir. 2009); Board of Trustees of Plumbers Local Union No. 93 v.

Waterworks, Inc., 524 F. Supp. 2d 1081, n. 1 (N.D. Ill. 2007) (citing Amerson v. Farrey, 492

F.3d 848, 852 (7th Cir. 2007)).

                   3. The only two timely arguments raised by Plaintiff about diversity
                      jurisdiction are also without merit

       Plaintiff’s initial Motion to Remand also raised two arguments for remand regarding the

Court’s diversity jurisdiction, but both lack merit.

                       a. Defendant LHS is a citizen of Delaware and Texas, as stated in the
                          Notice of Removal, because its sole owner and member is LHI, which
                          is a citizen of only Delaware (state of incorporation) and Texas
                          (principal place of business)



                                                  9
   Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 10 of 14 PageID #:394
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4         Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (87 of 128)


       Plaintiff claims that Defendants’ Notice of Removal did not adequately identify the

citizenship of Defendant LHS. This is inaccurate because, as stated in the Notice of Removal,

LHS is a citizen of Delaware and Texas because its sole owner/member is Defendant LHI, which

is a citizen of Delaware (its state of incorporation) and Texas (its principal place of business).

To remove any possibility of ambiguity about the citizenship of LHS, attached as Exhibit A is an

Affidavit of Carol Lowry, who is General Counsel, Vice President, and Secretary of LHI and

LHS. Ms. Lowry’s affidavit states:

       “2. Lehigh Hanson, Inc. is the sole member and owner of Lehigh Hanson Services
       LLC.

       3. Lehigh Hanson, Inc. is a Delaware corporation and has its principal place of
       business in Irving, Texas.”

Exhibit A. Plaintiff has not asserted any contrary facts about the citizenship of LHS and has

cited no case holding remand is proper under such circumstances.

       If the Court believes that the Notice of Removal should be clarified or amended to state

expressly that LHI is the only owner and only member of LHS, then removing Defendants

respectfully request the opportunity to amend its removal papers pursuant to 28 U.S.C. Section

1653. See Harmon, 115 F.3d 477 (affirming district court’s denial of remand and permitting

amendment of removal papers under Section 1653 to address omissions related to defendants’

principal place of business, the plaintiff’s citizenship, and the amount in controversy were

omissions).

                       b. Defendant Hanson is a citizen of only Kentucky (its state of
                          incorporation) and Texas (its principal place of business), as stated in
                          the Notice of Removal




                                                 10
   Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 11 of 14 PageID #:395
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4         Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (88 of 128)


       Plaintiff’s third and final timely argument for remand fares no better. Plaintiff asserts

that Defendants’ Notice of Removal is defective because Hanson’s principal place of business is

actually in Illinois, rather than Texas, as stated in the Notice of Removal.

       As the sole support for its argument, the Plaintiff cites a news article that is dated “March

2006.” Exhibit B. A fifteen-year-old news article is a far cry from reliable evidence about

Hanson’s principal place of business in 2021.

        To again remove any possibility of ambiguity about the citizenship of Hanson, Carol

Lowry’s Affidavit, states:

       “4. Attached is a true and correct copy of the Articles of Merger Merging Material
       Service Corporation With and Into Hanson Aggregates Midwest, Inc. As you can
       see from this document, Hanson Aggregates Midwest, Inc., a Kentucky
       corporation, was the surviving entity.

       5. Hanson Aggregates Midwest, Inc. has its principal place of business in Irving,
       Texas.”

Exhibit A. Plaintiff has failed to provide the Court with any reliable evidence to refute

Hanson’s citizenship as set forth in the Notice of Removal.

                   4. Plaintiff’s untimely argument about the addition of Defendant San Gabriel
                      has no impact on remand because the Court’s subject matter jurisdiction
                      is satisfied in admiralty regardless of whether diversity jurisdiction exists

       Plaintiff’s final argument in support of remand is set forth in its “Amended Motion to

Remand” [Doc. 17], which was filed more than 30 days after removal. The basis for this

“Amended Motion” appears to be the addition of Defendant San Gabriel on August 30, 2021,

who Plaintiff claims—without citation to any evidence—is a citizen of Illinois and thereby

defeats diversity jurisdiction.

       As set forth above, however, San Gabriel was added as a defendant to this case by

Plaintiff more than 30 days after it was removed. “The well-established general rule is that



                                                 11
   Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 12 of 14 PageID #:396
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4         Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (89 of 128)


jurisdiction is determined at the time of removal, and nothing filed after removal affects

jurisdiction.” Elftmann, 191 F. Supp. 3d 874 (quoting In re Burlington N. Santa Fe Ry. Co., 606

F.3d 379, 380 (7th Cir. 2010)).

       Under 28 U.S.C. Section 1447, “a motion to remand the case on the basis of any defect

other than lack of subject matter jurisdiction must be made within 30 days after the filing of the

notice of removal under section 1446(a).” Id. (emphasis added). Here, there can be no dispute

that Plaintiff did not move timely to remand on the basis of Defendant San Gabriel destroying

complete diversity within the 30-day deadline because San Gabriel was not a party until after the

30-day time period had expired. Accordingly, any motion to remand after 30 days—such as

Plaintiff’s Amended Motion to Remand filed September 3, 2021—can only be granted under

Section 1447 based on lack of subject matter jurisdiction.

       As such, resolution of Plaintiff’s Amended Motion only requires the Court to consider

whether it has subject matter jurisdiction. As made clear in Defendants’ Notice of Removal,

admiralty jurisdiction plainly exists in this case, a fact that Plaintiff does not contest. See Jerome

B. Grubart, Inc., 513 U.S. 527 (quoting Sisson, 497 U.S. 358); Foremost Ins. Co. 457 U.S. 668;

Lu Junhong, 792 F.3d 805. As a result of the Court’s admiralty jurisdiction—which Plaintiff has

not (and cannot) dispute, it is unnecessary for the Court to address whether San Gabriel’s

addition to the case defeats diversity jurisdiction. In other words, Plaintiff’s addition of San

Gabriel was too late to affect remand because the Court’s admiralty jurisdiction satisfies the

requirements for subject matter jurisdiction under Section 1447.

       Even if the Court were to consider San Gabriel’s addition to affect its decision on

remand, he was plainly added in an effort to defeat the Court’s diversity jurisdiction. Plaintiff

has been well aware of San Gabriel’s status as the operator of the pleasure craft from the



                                                 12
    Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 13 of 14 PageID #:397
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4         Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124     (90 of 128)


outset—she was in the pleasure craft with him when the incident occurred. In re

Bridgestone/Firestone, Inc., ATX, ATX II etc. v. Ford Motor Co., 129 F. Supp. 2d 1202, 1205

(S.D. Ind. 2001) (“When a plaintiff was aware at the time of the filing of her original complaint

of the identity of the defendant she now seeks to add, there arises some suspicion of plaintiff’s

motives to amend”). Presumably, Plaintiff decided against suing San Gabriel initially because he

was a friend or family member and/or lacks assets to pay a judgment. 7 Plaintiff’s belated

attempt to manipulate this Court’s diversity jurisdiction through the late addition of San Gabriel

should be rejected. Harmon, 115 F. 3d at 479-80 (the Seventh Circuit takes a dim view of

plaintiffs who “attempt to manipulate jurisdiction” in order to “pull the rug out from under the

district court”); Tate v. Werner Co., 2002 WL 1398533 at *2 (S.D. Ind. 2002) (“Furthermore,

once a defendant has removed the case, any later filings by a party attempting to divest federal

jurisdiction are irrelevant.”).

        IV.     CONCLUSION

        Plaintiff’s Motion to Remand and Amended Motion to Remand should each be denied.

Judge Shah’s Rule F injunction should require this matter be stayed, not remanded. On the

merits, Plaintiff’s Motions should be denied because removal was proper under either diversity

jurisdiction and/or admiralty jurisdiction. None of Plaintiff’s three timely arguments in support

of remand are meritorious, but instead conflate admiralty issues and raise inconsequential issues

about diversity based on incorrect facts. Finally, the addition of Defendant San Gabriel after the

30-day time period to seek remand was jurisdictional gamesmanship at its worst and does not

matter in any event because the Court’s subject matter jurisdiction is secure in admiralty.




7
 There is no indication in the record that Plaintiff has served or even attempted to serve
Defendant San Gabriel with her Second Amended Complaint.
                                                13
   Case: 1:21-cv-03936 Document #: 20 Filed: 09/21/21 Page 14 of 14 PageID #:398
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4         Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (91 of 128)


       For all of the foregoing reasons, Defendants Hanson, LHS, LHI, and Stubbs respectfully

request that Plaintiff’s Motions to Remand be denied.

                                      Respectfully submitted,

                                      GOLDSTEIN and PRICE, L.C.

                                             /s/ Neal W. Settergren
                                      By:__________________________________
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                                      Local Counsel Attorney for Defendants Hanson, LHS, LHI,
                                      and Stubbs



                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on the 21st day of September 2021, a true and accurate

copy of the foregoing and the documents referenced with were served upon all counsel of record

by filing the same with the Clerk of the Court for the Northern District of Illinois using the

CM/ECF system.

                                                          /s/ Neal W. Settergren
                                                        ________________________


                                                 14
     Case:
      Case:
    Case:   22-1511
             22-1511 Document:
          1:21-cv-03936 Document:1-1
                        Document#:416 Filed:Filed:
                                             Filed:04/15/2022
                                                    03/30/2022
                                             08/31/21 Page 1 of 32Pages:
                                                                   Pages:
                                                                   PageiD207
                                                                          124
                                                                          #:312                 (92 of 128)




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

 MARIANA M. OCHOA as Independent
 Administrator of the Estate of VICTOR
 LOBATO OCHOA, Deceased,

         Plaintiff,

                 v.                                 Case No. 1:21-cv-03936

 MATERJAL SERVICE CORPORATION                       Judge Sara L. Ellis
 d/b/a HANSON MATERIAL SERVICE
 CORPORATION; LEHIGH HANSON                         Magistrate Judge Sunil R. Harjani
 SERVICES LLC. ; HEIDELBERG CEMENT
 GROUP; CAPTAIN KENNETH L. STUBBS;
 and CELIO SAN GABRIEL,

         Defendants.

                       SECOND AMENDED COMPLAINT AT LAW

        NOW COMES the Plaintiff, MARIANA M. OCHOA as Independent Administrator ofthe

Estate of VICTOR LOBATO OCHOA, Deceased, by her attorneys WISE MORRISSEY, LLC

and complaining against the defendants, MATERIAL SERVICE CORPORATION d/b/a

HANSON MATERIAL SERVICE CORPORATION; LEHIGH HANSON SERVICES LLC. ;

LEHIGH HANSON, INC., CAPTAIN KENNETH L. STUBBS and CELIO SAN GABRIEL,

states as follows:

                                          PARTIES

        1.      On July 22, 2020, and at all time relevant herein, plaintiff Mariana M. Ochoa

("MARIANA") is the mother and Independent Administrator of the Estate of seven year-old

decedent VICTOR LOBATO OCHOA ("VICTOR").

       2.       On July 22, 2020, and at all time relevant herein, MARIANA and VICTOR were

residents of the City of Chicago, County of Cook.



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      Case:
       Case:
     Case:   22-1511
              22-1511 Document:
           1:21-cv-03936 Document:#:1-1
                         Document    416 Filed:Filed:
                                                Filed:04/15/2022
                                                       03/30/2022
                                                08/31/21  Page 2 of 32Pages:
                                                                       Pages:
                                                                       PageiD207
                                                                              124
                                                                              #:313                (93 of 128)



            3.   On July 22, 2020, and at all time relevant herein, defendant CELIO SAN GABRIEL

("SAN GABRIEL") was a resident of the City of Chicago, County of Cook.

            4.   On July 22, 2020, and at all times relevant herein, defendant MATERIAL

SERVICE CORPORATION ("MATERIAL")                    d/b/a HANSON MATERIAL SERVICE

CORPORATION ("HANSON") was a Corporation registered to conduct business in Illinois.

        5.       On July 22, 2020, and at all times relevant herein, defendant MATERIAL d/b/a

HANSON maintained a principle p lace of business located in Westchester, Illinois.

        6.       On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON

SERVICES LLC. ("LEHIGH"), was a limited liability company registered to conduct business in

illinois.

        7.       On July 22, 2020, and at all times relevant herein, defendant LEHIGH maintained

places of business located in the City of Chicago and the Village of McCook in the County of

Cook.

        8.       On July, 22, 2020, and at all times relevant herein, defendant LEHIGH owned,

operated, maintained or controlled its subsidiary defendant MATERIAL d/b/a HANSON.

        9.       On July 22, 2020, and at all times relevant herein, defendant LEHIGH HANSON,

INC., was one of the largest building materials companies in the country.

        10.      On July 22, 2020, defendant LEHIGH HANSON, INC. owned, operated,

maintained or controlled its subsidiary defendant MATERIAL d/b/a HANSON.

        11 .     On July 22, 2020, defendant LEHIGH HANSON, INC. owned, operated,

maintained or controlled its subsidiary defendant LEHIGH.

        12.      On July 22,2020, and at all times relevant herein, defendant CAPTAIN KENNETH

L. STUBBS ("STUBBS") was the captain of the inland river towboat K iowa ("Kiowa"). The



                                                2
     Case:
      Case:
    Case:   22-1511
             22-1511 Document:
          1:21-cv-03936 Document:1-1
                        Document#: 416 Filed:Filed:
                                              Filed:04/15/2022
                                                     03/30/2022
                                              08/31/21 Page 3 of 32Pages:
                                                                    Pages:
                                                                    PageiD207
                                                                           124
                                                                           #:314                   (94 of 128)




Kiowa had a triple screw ·1500 horse power engine with dimensions of 76 feet long and 26 feet

wide, while weighing approximately 292,000 pounds. At that time, the Kiowa was pushing a barge

MSCO 103 that was 195 feet long and 35 feet wide and fully loaded with aggregate. The barge

MSC0103 weighed hundreds ofthousands of pounds.

        13.    On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant MATERIAL d/b/a HANSON.

       14.     On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant LEHIGH.

       15.     On July 22, 2020, and at all times relevant herein, defendant STUBBS was an

employee, agent or apparent agent of defendant LEHIGH HANSON, INC.

       16.     On July 22, 2020, and at all times relevant herein, defendant MATERIAL d/b/a

HANSON owned, operated, maintained or controlled the Kiowa and barge.

       17.     On July 22, 2020, and at all times relevant herein, defendant LEHIGH owned,

operated, maintained or controlled the Kiowa and barge.

       18.    On July 22,2020, and at all times relevant herein, defendant LEHIGH HANSO Inc.

owned, operated, maintained or controlled the Kiowa and barge.

                           FACTS COMMON TO ALL COUNTS

       19.    In March 2017, the National Transportation Safety Board (NTSB) issued a "Safety

Recommendation Report" (Report) regarding safety of recreational and commercial vessels in

shared waterways, like the Chicago River. (See below photo of the Chicago River from the Report)




                                               3
       Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 1 of 8 PageID #:346
         Case:
          Case:22-1511
                 22-1511 Document:
                            Document:1-1
                                      4        Filed:
                                                 Filed:04/15/2022
                                                        03/30/2022 Pages:
                                                                     Pages:207
                                                                            124                          (95 of 128)


                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

    MARIANA M. OCHOA as Independent
    Administrator of the Estate of VICTOR
    LOBATO OCHOA, Deceased,

          Plaintiff,

                  v.
                                                           Case No. 1:21-cv-03936
    MATERIAL SERVICE CORPORATION
    d/b/a HANSON MATERIAL SERVICE                          Judge Sara L. Ellis
    CORPORATION; LEHIGH HANSON
    SERVICES LLC.; HEIDELBERG CEMENT
    GROUP; CAPTAIN KENNETH L. STUBBS;                      Magistrate Judge Sunil R. Harjani
    and CELIO SAN GABRIEL,

          Defendants.


PLAINTIFF’S AMENDED MOTION TO REMAND THE MATTER TO STATE COURT
         NOW COMES Plaintiff, MARIANA M. OCHOA (“Plaintiff”) as Independent

Administrator of the Estate of VICTOR LOBATO OCHOA (“Victor”), Deceased, by her attorneys

WISE MORRISSEY, LLC. against Defendants, MATERIAL SERVICE CORPORATION d/b/a

HANSON MATERIAL SERVICE CORPORATION (“Material”); LEHIGH HANSON

SERVICES LLC. (“Lehigh LLC.”); LEHIGH HANSON, INC. (“Lehigh Inc.”), CAPTAIN

KENNETH L. STUBBS (“Stubbs”) and CELIO SAN GABRIEL (“San Gabriel”), for her

Amended Motion to remand the matter to State Court1.

                                             Introduction




1
 Plaintiff’s Amended Motion to Remand is filed in response to the Plaintiff’s Second Amended Motion
being filed on August 31, 2021. (Dkt. 16). In particular, Plaintiff’s Second Amended Complaint added
Defendant Celio San Gabriel to the Complaint. Defendant San Gabriel is a resident of Cook County, Illinois.



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    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 2 of 8 PageID #:347
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                      (96 of 128)


       Plaintiff’s Motion seeks to remand the above matter to State Court pursuant to 28 U.S.

Code § 1447(c) for the following reasons: 1) the Court lacks subject matter jurisdiction since the

Single Claimant exception applies to the present matter; 2) Defendants’ Notice of Removal is

deficient for failing to list the citizenship of each of Defendant Lehigh Hanson Services LLC.’s

partners, limited partners and members; 3) the parties lack complete diversity where Defendant

San Gabriel is a citizen of Illinois and Material’s principle place of business is in Illinois.

                                        Procedural History

       On July 22, 2020, at approximately 6:40 p.m., San Gabriel was operating a 16-17 foot long

open motorboat on the Chicago River with eight additional passengers, including three adults and

five small children. (Exhibit 1, First Amended Complaint ¶21). All eight occupants of the

motorboat were wearing Personal Flotation Devises (PFD) including the Plaintiff and Victor. (Exh.

1, ¶22). At that time, Defendant Captain Kenneth L. Stubbs (“Stubbs”) was operating the towboat

Kiowa (“Kiowa”) which was 76 feet long and 26 feet wide. (Id. at. ¶ 11). The Kiowa was pushing

a barge that was 195 feet long and 35 feet wide, while being fully loaded with aggregate. (Id. at

¶11). The First Amended Complaint alleges that Defendant Stubbs was an employee of Defendants

Material, Lehigh LLC. and/or Lehigh Inc. (Id. at ¶12-14).

       According to witness accounts and an investigation by the Illinois Department of Natural

Resources (“IDNR”), the Kiowa was traveling at a speed that created large wakes in the Chicago

River, which was a strict no-wake zone. (Id. at ¶¶33-35). At that time, the wakes created by the

Kiowa and barge washed over the open bow of the motorboat and resulted in it capsizing and the

occupants being thrown overboard. (Id. at ¶29). Victor was trapped underneath the motorboat and

tragically drowned. (Id. at ¶30). A subsequent IDNR investigation concluded that the “cause of

the accident” was the “force of wake” created by the Kiowa and barge. (Id. at ¶34).



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     Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 3 of 8 PageID #:348
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                       (97 of 128)


        On July 1, 2021, Plaintiff filed her original Complaint in the Circuit Court of Cook County,

Illinois, County Department, under Case No. 2021-L-006726. (Exhibit 2, Original Complaint).

Plaintiff’s original Complaint was served on Defendants Material and Lehigh Hanson Services

LLC on July 14, 2021, and Defendant Stubbs on July 17, 2021. (Dkt. 1, pg.3, 43-45). Plaintiff filed

her First Amended Complaint in the Circuit Court of Cook County on July 22, 2021. (Exh. 1).

Defendants filed their Notice of Removal of Plaintiff’s original Complaint on July 24, 2021. (Dkt.

1). Finally, on August 31, 2021, plaintiff filed her Second Amended Complaint. (Dkt. 16).

                                              Argument

I)      The Court lacks subject matter jurisdiction where the Single Claimant exception
        applies.
        Defendants claim that this Court has original jurisdiction based on admiralty and pursuant

to 28 U.S.C. § 1333(1) which states “[a]ny civil case of admiralty or maritime jurisdiction, saving

to suitors in all cases all other remedies to which they are otherwise entitled”. (Dkt. 1, pg.3). As

stated, the “savings to suitors” clause in 28 U.S.C. § 1333(1), reserves to suitors in admiralty or

maritime cases their common-law remedies. These remedies include the right to select a forum

and the right to demand a jury trial. See American River Transp. Co. v. Ryan, 579 F.3d 820, 825

(7th Cir. 2009); citing Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 455 (2001); see also In

re McCarthy Brothers Co., 83 F.3d 821, 826–27 (7th Cir.1996) (describing the conflict between

the “savings to suitors” clause and the ship owner’s right to limited liability under 46 U.S.C §

30511(c) as “significant” because claimants have no right to a jury trial in admiralty actions in

federal court, and holding that a federal court must allow a claimant to proceed in state court if the

owner fails to prove her right to limited liability).

        The Supreme Court has determined that in light of this conflict between the public interest

in protecting the shipping industry reflected in the Limitation Act, and the strong interest in


                                                   3
     Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 4 of 8 PageID #:349
       Case:
        Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                               Filed:04/15/2022
                                                      03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                                           (98 of 128)


preserving common law remedies for injured parties underlying the “savings to suitors” clause

of § 1333(1), district courts have discretion to allow a case to proceed in state court if certain

conditions are met. Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 454 (2001). The Supreme

Court and the Seventh Circuit recognize two situations in which a district court should allow a

state court action involving a maritime claim to proceed: (1) the “single claimant” exception; and

(2) the “adequate fund” exception. See Lake Tankers Corp. v. Henn, 354 U.S. 147, 154

(1957); Langnes v. Green, 282 U.S. 531, 541 (1931); see also In re Illinois Marine Towing,

Inc., 498 F.3d 645, 650 (7th Cir.2007).

         As its name suggests, the “single claimant” exception exists when there is only a single

claimant asserting his claim(s) against the shipowner—in that case, the Supreme Court has held

that there is no need for the “peculiar and exclusive jurisdiction of an admiralty court,” and the

district court should allow the action to proceed in state court, while retaining exclusive jurisdiction

over the question of liability limitation. Langnes, 282 U.S. at 541–42. The Supreme Court

reasoned that for a district court to retain the suit when a state court could afford relief “would be

to preserve the right of the shipowner, but to destroy the right of the suitor in the state court to a

common law remedy; [whereas] to remit the cause to the state court would be to preserve the rights

of both parties.” Illinois Marine, 498 F.3d at 650; citing Langnes, 282 U.S. at 541.2 In the present

case, Plaintiff has brought a single claim against the Defendants on behalf of her son, Victor.

Therefore, the “single claimant” exception applies to the present matter and the “saving to suitors”




2
  Defendants have not sought to stay the underlying state matter pursuant to Limitation of Liability Act (Limitation
Act). 46 U.S.C. § 30505. Assuming Defendants seek such a stay, the Plaintiff is willing to enter into the requisite
stipulation needed to waive any claim of res judicata against Defendants based on a state court decision or judgment
with respect to issues arising under the Limitation Act. In addition, Plaintiff is willing to stipulate that she would not
seek to enforce any state court decision or judgment on any claim subject to limitation under the Act which exceeds
the value of the limitation fund as determined by the District Court.

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    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 5 of 8 PageID #:350
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                        (99 of 128)


clause of 28 U.S.C. § 1333(1) prevents the Court from having subject matter jurisdiction over the

present matter.

   II)      Defendants have failed to satisfy their burden to establish diversity.
         Defendants claim that this Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

because the corporate Defendants and tugboat captain are allegedly not “citizens” of the same state

as the Plaintiff. (Dkt. 1, pg.3). For an individual, “[s]tate citizenship for the purpose of the state

diversity provision is equated with domicile.” Sadat v. Mertes, 615 F.2d 1176, 1180 (7th Cir.

1980). For a corporation, it is “deemed to be a citizen of every State and foreign state by which it

has been incorporated and of the State or foreign state where it has its principal place of business.”

28 U.S.C. § 1332(c)(1).

         “When challenged on allegations of jurisdictional facts, the parties must support their

allegations by competent proof.” Hertz Corp. v. Friend, 559 U.S. 77, 96–97 (2010). Ultimately,

the removing party must establish the facts determining federal jurisdiction by a preponderance of

the evidence. Ill. Bell Tel. Co. v. Global NAPs Ill., Inc., 551 F.3d 587, 590 (7th Cir. 2008). The

party seeking removal has the burden of establishing federal jurisdiction, and federal courts should

interpret the removal statute narrowly, resolving any doubt in favor of the plaintiff's choice of

forum in state court. Doe v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th Cir.1993). As the Supreme

Court has long instructed, federal courts, as courts of limited jurisdiction, must make their own

inquiry to ensure that all statutory requirements are met before exercising jurisdiction. See Great

Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900).

         In the present case, defendant San Gabriel was the owner and operator of the open

motorboat that Plaintiff and Victor were traveling in at the time of the accident. (Dkt. 16, Second

Amended Complaint ¶25). Importantly, San Gabriel was a “citizen” and resident of Cook County,

Illinois at the time of the accident. Therefore, the parties lack “diversity” and this Court lacks

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       Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 6 of 8 PageID #:351
         Case:
          Case:22-1511
                 22-1511 Document:
                            Document:1-1
                                      4        Filed:
                                                 Filed:04/15/2022
                                                        03/30/2022 Pages:
                                                                     Pages:207
                                                                            124    (100 of 128)


jurisdiction over this matter whether both Plaintiff and Defendant San Gabriel are “citizens” of

Illinois.

         When it comes to corporations, the diversity statute itself makes clear that a corporation is

a citizen of both its state of incorporation and the state in which it maintains its “principal place of

business.” See 28 U.S.C. § 1332(c)(1). The Supreme Court has determined that a corporation's

principal place of business is the same as its “nerve center,” or “the place where the corporation's

high        level     officers    direct,    control,     and     coordinate      the     corporation's

activities.” Hertz Corp., 559 U.S. at 80. Determining the citizenship of other forms of business

associations is often more difficult. Page v. Democratic National Committee, 2 F.4th 630, 635 (7th

Cir. June 21, 2021). Partnerships, for example, are citizens of every state in which an individual

partner is a citizen. See Carden v. Arkoma Assocs., 494 U.S. 185, 195 (1990). The same rule

applies to other unincorporated entities, like limited liability companies, whose citizenship is also

determined by the citizenship of its “members.” See Americold Realty Trust v. Conagra Foods,

Inc., 577 U.S. 378, 381–82 (2016); see e.g., Carden v. Arkoma Associates, 494 U.S. 185, 195-96

(1990) (citizenship of a partnership is that of every partner or member, limited as well as

general). The only way to determine citizenship for diversity purposes is to look at the individual

partners—an analytical path repeatedly endorsed by the Supreme Court. See, e.g., Lincoln Prop.

Co. v. Roche, 546 U.S. 81 (2005)

            First, Defendants’ Notice fails to list the citizenship of Defendant Lehigh Hanson Services

LLC.’s individual partners or members. (Dkt. 1, ¶27). Instead, the Notice provides a single

paragraph regarding the citizenship of Lehigh Hanson Services LLC. claiming that it is “wholly

owned” by non-defendant Lehigh Hanson Inc. (Id.). As such, Defendants claim that Lehigh

Hanson Services LLC. is a Delaware Corporation with its principal place of business in Texas.



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    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 7 of 8 PageID #:352
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (101 of 128)


(Id.). As the Supreme Court and Seventh Circuit have repeatedly held, the party claiming diversity

jurisdiction must detail the citizenships of all its partners, limited partners and members. See.

Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998) (The citizenship of a partnership is the

citizenship of the partners, even if they are limited partners, so that if even one of the partners

(general or limited) is a citizen of the same state as the plaintiff, the suit cannot be maintained as

a diversity suit). In fact, a party’s failure to provide such requisite information has led to dismissal

for want of prosecution. See Guaranty National Title Co. v. J.E.G. Associates, 101 F.3d 57 (7th

Cir.1996) (Failure to go through all the layers can result in dismissal for want of jurisdiction).

        Second, Defendants’ Notice fails to satisfy their burden to establish that Defendant

Material d/b/a Hanson Material Service Corporation does not have its principal place of business

in Illinois. Defendants’ Notice contains the claim that Material “merged with and into” Hanson

Aggregate Midwest Inc. “on or about February 21, 2021”, approximately seven months after the

drowning occurred. (Dkt. 1, pg.1 n.1). The Notice goes on to make the conclusory claim that since

Hanson Aggregates Midwest Inc. was organized under the laws of Kentucky and has its principal

place of business in Texas, than Defendant Material shares the same citizenship. (Dkt. 1, ¶26).

However, the single paragraph in Defendants’ Notice fails to satisfy their burden to establish that

Material does not maintain its principal place of business in Illinois. In reality, Material was formed

in Chicago, Illinois by the Crown family in 1919 and has maintained its principal place of business

in this state ever since. Moreover, Material currently has more than 800 employees working in

Illinois and Indiana, and although Material purportedly merged with Hanson Aggregate Midwest

Inc. in February 2021, Material still maintains its principle place of business in Illinois. See

http://www.ceram.com/news/mar/material-service.htm last visited August 23, 2021).




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    Case: 1:21-cv-03936 Document #: 17 Filed: 09/03/21 Page 8 of 8 PageID #:353
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (102 of 128)


                                          Conclusion

       Wherefore, Plaintiff Mariana M. Ochoa as Independent Administrator of the Estate of

Victor Lobato Ochoa, Deceased respectfully requests that this Court grant her Motion to Remand

the matter to State Court.

                                           Respectfully submitted,
                                           MARIANA M. OCHOA

                                    By:    /s/ Michael L. Gallagher
                                           One of Her Attorneys
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    Case: 1:21-cv-03936 Document #: 37 Filed: 02/15/22 Page 1 of 4 PageID #:446
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (103 of 128)



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARIANA M. OCHOA as Independent )
Administrator of the Estate of VICTOR
                                )
LOBOATO OCHOA, Deceased,        )
                                )
                  Plaintiff,    )
                                )
v.                              )                         Case No.: 1:21-cv-03936
                                )
HANSON AGGREGATES MIDWEST, INC. )                         District Judge Sarah L. Ellis
f/k/a MATERIAL SERVICE CORP.    )                         Magistrate Judge Sunil R. Harjani
d/b/a HANSON MATERIAL SERVICE   )
CORPORATION, et al.             )
                                )
                  Defendants.   )

                DEFENDANTS’ SUPPLEMENTAL BRIEF IN OPPOSITION
                     TO PLAINTIFF’S MOTIONS TO REMAND

       Defendants Hanson Aggregates Midwest, Inc. f/k/a Material Service Corporation d/b/a

Hanson Material Service Corporation (“Hanson”), Lehigh Hanson Services LLC (“LHS”),

Lehigh Hanson, Inc. (“LHI”), and Captain Kenneth L. Stubbs (“Stubbs”) submit the following as

their Supplemental Brief in Opposition to Plaintiff’s Motion to Remand [Doc. 13] and Plaintiff’s

Amended Motion to Remand [Doc. 17]: 1

       I.      Introduction

       Despite the voluminous nature of the original briefing submitted to this Court regarding

these issues, resolution of the core dispute regarding removal is now relatively straightforward:

            “In determining whether a case is within a federal court’s removal jurisdiction, a
            court examines the situation as it existed at the time of the petition for removal.


1
  This Supplemental Brief was authorized by the Court during the status conference held on
February 8, 2022, wherein the Court advised the parties that it would resolve together the Motion
to Remand pending in this matter, along with the Motion to Lift the Rule F Stay pending in the
related matter, Case No. 1:21-cv-4295.
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    Case: 1:21-cv-03936 Document #: 37 Filed: 02/15/22 Page 2 of 4 PageID #:447
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (104 of 128)


           Where removal is proper at the outset, subsequent developments, particularly
           voluntary actions of the plaintiff, including the joinder of nondiverse parties, will
           not defeat jurisdiction.”

Poole v. Alpha Therapeutic Corp., 1987 WL 15176 at *1 (N.D. Ill. 1987) (citations omitted)

(emphasis added); Harmon v. OKI Systems, 115 F.3d 477 (7th Cir. 1997); Elftmann v. Village of

Tinley Park, 191 F.Supp.3d 874 (N.D. Ill. 2016).

       II. Remand should be denied because this Court’s Diversity Jurisdiction and
           Admiralty Jurisdiction were fully met at the time of Removal

       When this Case was removed on July 24, 2021, complete diversity existed, as follows:

        PARTY                                        CITIZENSHIP
        Plaintiff Mariana Ochoa                      Illinois
        Defendant Kenneth Stubbs                     Missouri
        Defendant Lehigh Hanson Services LLC         Delaware and Texas
        Defendant Material Service Corp.2            Kentucky and Texas
        Defendant Heidelberg Cement Group3           Germany

On August 23, 2021, Ochoa filed her initial motion to remand, but failed to put forth any serious

evidence to dispute the diversity of citizenship set forth above and conceded the amount in

controversy. See Affidavit of Carol Lowry, Doc. 20-1. As such, there should be no question that

diversity jurisdiction existed at the time of removal and until at least August 30, 2021, when—

more than 30 days after removal—Plaintiff obtained leave to file a Second Amended Complaint,

adding Defendant Celio San Gabriel, who Ochoa claims is a citizen of Illinois. There is nothing

in the record to indicate Plaintiff has ever served—or tried to serve—San Gabriel with her

Second Amended Complaint, which she filed nearly six months ago and, therefore, he should be

dismissed without prejudice under Rule 4(m). See also Harmon, 115 F.3d at 479-80 (Seventh


2
  As set forth in Defendant’s Notice of Removal, Material Service Corporation was merged with
and into Hanson Aggregates Midwest, Inc. on or about February 1, 2021. Doc. 1.
3
  Heidelberg Cement Group was omitted as a Defendant in Plaintiff’s Second Amended
Complaint filed on August 30, 2021. Instead, Defendant Lehigh Hanson, Inc.—a citizen of
Delaware and Texas (Doc. 20-1)—was added, along with San Gabriel.
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    Case: 1:21-cv-03936 Document #: 37 Filed: 02/15/22 Page 3 of 4 PageID #:448
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (105 of 128)


Circuit takes a dim view of Plaintiffs who “attempt to manipulate jurisdiction” in order to “pull

the rug out from under the district court”).

       On September 3, 2021, Ochoa filed an “Amended Motion to remand” that argued, for the

first time and more than 30 days after removal, that the addition of San Gabriel defeated this

Court’s jurisdiction. Ochoa‘s contention that her late addition of non-diverse defendant San

Gabriel defeats removal jurisdiction is incorrect. Pursuant to 28 U.S.C. 1447, Ochoa did not

timely move for remand on the basis that San Gabriel destroyed diversity jurisdiction because she

failed to do so within 30 days of removal. As such, the only basis for removal permitted by

§1447 in these circumstances is when the Courts lacks “subject matter jurisdiction.” In other

words, §1447 only permits remand for reasons raised after 30 days when there is a “lack of

subject matter jurisdiction”. Here, the parties agree that admiralty subject-matter jurisdiction

exists in this case. Ochoa’s own papers concede: “It is not contested that the incident that forms

the basis of this litigation is within the scope of federal admiralty and maritime jurisdiction.”

Case 1:21-cv-4295 at Doc. 17, page 2, ¶ 9. As such, there is no lawful basis to conclude that

this Court lacks subject-matter jurisdiction, which is required by §1447 for the untimely remand

Ochoa seeks here.

       In sum, removal jurisdiction was unquestionably proper at the time of removal and for

more than 30 days thereafter—until at least until September 3, 2021, when Plaintiff tried to

destroy diversity by adding San Gabriel. However, since §1447 only permits remand on grounds

raised more than 30 days after removal for “lack of subject matter jurisdiction,” there is no

lawful basis to remand in this case since the parties agree admiralty jurisdiction is satisfied.

                                       GOLDSTEIN and PRICE, L.C.

                                             /s/ Neal W. Settergren
                                       By:__________________________________

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    Case: 1:21-cv-03936 Document #: 37 Filed: 02/15/22 Page 4 of 4 PageID #:449
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124    (106 of 128)


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                                      and Stubbs



                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on the 15th day of February, 2022, a true and accurate

copy of the foregoing and the documents referenced with were served upon all counsel of record

by filing the same with the Clerk of the Court for the Northern District of Illinois using the

CM/ECF system.

                                                         /s/ Neal W. Settergren
                                                       ________________________




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     Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 1 of 6 PageID #:50
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                     (107 of 128)


                            IN THE UNITED STATES DISTRICT
                             COURT NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

IN THE MATTER OF THE COMPLAINT                       )
OF HANSON AGGRREGATES MIDWEST                        )
INC. F/K/A MATERIAL SERVICE                          )       Case No.: 1:21-cv-4295
CORPORATION D/B/A HANSON                             )
MATERIAL SERVICE CORPORATION                         )       District Judge Manish S. Shah
FOR EXONERATION FROM, OR                             )
LIMITATION OF, LIABILITY.                            )       Magistrate Judge M. David Weisman

                        CLAIMANT’S MOTION TO MODIFY STAY

       NOW COMES the Claimant, MARIANA M. OCHOA, as Independent Administrator of

the Estate of VICTOR LOBATO OCHOA, Deceased, by her attorneys, WISE MORRISSEY,

LLC, presents her MOTION TO MODIFY STAY, and states as follows:

       1.      On or about July 22, 2020, a towboat (“the M/V KIOWA”), allegedly owned by

Plaintiff Hanson Aggregates Midwest Inc. (Hanson), and its barge-in-tow, Barge MSC0103, were

operating on the Chicago River when it created a series of large wakes that caused a pleasure craft

to capsize and sink, within the City of Chicago, County of Cook, Illinois.

       2.      As a result of the pleasure craft capsizing and sinking, seven year-old Victor Lobato

Ochao (Victor) was trapped underneath the pleasure craft and drowned.

       3.      On or about July 1, 2021, Claimant Mariana M. Ochoa (Claimant), as mother and

Independent Administrator of the Estate of Victor, brought suit in Illinois State Court (Case No.

21 L 006726) against Plaintiffs Material Service Corporation (Material) d/b/a Hanson Material

Service Corp.; Lehigh Hanson Inland Marine Service, Inc. (Lehigh), Heidelberg Cement Group

and Captain Kenneth L. Stubbs (Stubbs).




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     Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 2 of 6 PageID #:51
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                        (108 of 128)


       4.      Plaintiffs were subsequently served with the Complaint on July 14, 2021(Hanson),

July 27, 2021 (Material), July 28, 2021 (Lehigh) and July 30, 2021 (Stubbs), respectively. On July

22, 2021, Claimant filed her First Amended Complaint correcting certain scrivener’s errors.

       5.      On August 11, 2021, Plaintiff Hanson filed a Complaint in this Court (Case No. 21

CV 4295) seeking to limit its liability pursuant to 46 U.S.C. §§181-195, and the various statutes,

rules and regulations related thereto. (21 CV 4295, Dkt.1). In its Complaint, Hanson alleges that it

was, at all relevant times, the owner of the M/V KIOWA and Barge MSC0103. (Dkt. 1, ¶2).

       6.      On September 8, 2021, the Honorable Manish S. Shah entered an Order Directing

Issuance and Restraining Suits. (21 CV 4295, Dkt. 10). This Order stayed and restrained the

institution and prosecution of any suits, actions or legal proceedings of any nature whatsoever,

against Plaintiff Hanson and alleged owner of M/V KIOWA and Barge MSC0103. (Id.)

       7.      On October 29, 2021, Claimant, as mother and Independent Administrator of the

Estate of Victor, filed an Answer in this limitation proceeding. (21 CV 4295, Dkt. 16).

       8.      The Claimant desires to litigate all claims in the state courts of Illinois, and hereby

move for this Court to modify its stay such that state actions may be instituted and proceed, while

retaining exclusive jurisdiction as to all limitation of liability issues, with the stay remaining in

effect against any entry of judgment.

       9.      28 U.S.C. § 1333(1) vests the Federal District Courts with original and exclusive

jurisdiction of “[a]ny civil case of admiralty or maritime jurisdiction, saving to suitors in all cases

all other remedies to which they are otherwise entitled”. It is not contested that the incident that

forms the basis of this litigation is within the scope of federal admiralty and maritime jurisdiction.

See Sisson v. Ruby, 497 U.S. 358 (1990). However, the “savings to suitors” clause in 28 U.S.C. §

1333(1), reserves to suitors in admiralty or maritime cases their common-law remedies. These


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      Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 3 of 6 PageID #:52
        Case:
         Case:22-1511
               22-1511 Document:
                          Document:1-1
                                    4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                   Pages:207
                                                                          124                       (109 of 128)


remedies include the right to select a forum and the right to demand a jury trial. See American

River Transp. Co. v. Ryan, 579 F.3d 820, 825 (7th Cir. 2009); citing Lewis v. Lewis & Clark

Marine, Inc., 531 U.S. 438, 455 (2001); see also In re McCarthy Brothers Co., 83 F.3d 821, 826–

27 (7th Cir.1996) (describing the conflict between the “savings to suitors” clause and the ship

owner’s right to limited liability under 46 U.S.C § 30511(c) as “significant” because claimants

have no right to a jury trial in admiralty actions in federal court, and holding that a federal court

must allow a claimant to proceed in state court if the owner fails to prove her right to limited

liability).

        This conflict is “significant” due to its impact on a litigant’s right to jury trial. McCarthy,

83 F.3d at 826. There is no right to a jury trial in admiralty actions, and thus a litigant would lose

his common-law remedies before a jury when forced into admiralty court under the Limitation

Act. Id.; citing Waring v. Clarke, 46 U.S. 441, 458-60 (1874). Thus, the saving to suitors clause in

28 U.S.C. 1333(1) embodies a presumption in favor of jury trial and common law remedies in the

forum of the plaintiff’s choice. In re Muer, 146 F.3d 410 (6th Cir. 1998); citing Langes v. Green,

282 U.S. 531, 539-40 (1931).

        The Supreme Court has determined that in light of this conflict between the public interest

in protecting the shipping industry reflected in the Limitation Act, and the strong interest in

preserving common law remedies for injured parties underlying the “savings to suitors” clause

of § 1333(1), district courts have discretion to allow a case to proceed in state court if certain

conditions are met. Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 454 (2001). The Supreme

Court and the Seventh Circuit recognize two situations in which a district court should allow a

state court action involving a maritime claim to proceed: (1) the “single claimant” exception; and

(2) the “adequate fund” exception. See Lake Tankers Corp. v. Henn, 354 U.S. 147, 154



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     Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 4 of 6 PageID #:53
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                             Filed:04/15/2022
                                                    03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                         (110 of 128)


(1957); Langnes v. Green, 282 U.S. 531, 541 (1931); see also In re Illinois Marine Towing,

Inc., 498 F.3d 645, 650 (7th Cir.2007).

       As its name suggests, the “single claimant” exception exists when there is only a single

claimant asserting his claim(s) against the ship owner in that case, the Supreme Court has held that

there is no need for the “peculiar and exclusive jurisdiction of an admiralty court,” and the district

court should allow the action to proceed in state court, while retaining exclusive jurisdiction over

the question of liability limitation. Langnes, 282 U.S. at 541–42. The Supreme Court reasoned that

for a district court to retain the suit when a state court could afford relief “would be to preserve the

right of the ship owner, but to destroy the right of the suitor in the state court to a common law

remedy; [whereas] to remit the cause to the state court would be to preserve the rights of both

parties.” In re Illinois Marine, 498 F.3d at 650; citing Langnes, 282 U.S. at 541.

       10.     The Seventh Circuit has further recognized that a ship owner’s rights under the

Limitation Act are adequately protected when the plaintiff makes certain stipulations. See In re

McCarthy Brothers Co., 83 F.3d at 831. The Court has held “the claimant must waive any claim

of res judicata from the state court proceedings relevant to the issue of limited liability and concede

the exclusive jurisdiction of the federal courts to determine all issues relating to limitation of

liability”. Id.; citing In Matter of Complaint of Port Arthur Towing Co., 42 F.3d 312, 316 (5th

Cir.1995). In re Illinois Marine Towing, the Seventh Circuit clarified by holding the plaintiffs’

stipulation was adequate where it “conceded that the district court has exclusive jurisdiction over

all limitation liability issues, agreed to waive any claims of res judicata respecting any limitation

liability issues, promised not to seek any amount in excess of the fund in the event that limitation

is held appropriate and conceded that the district court has exclusive jurisdiction to determine the

value of the limitation fund”. 498 F.3d at 652.



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     Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 5 of 6 PageID #:54
       Case:
        Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4        Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124                       (111 of 128)


       12.     In the present case, Plaintiff has provided the attached stipulation which tracks the

Court’s holding In re Illinois Marine by conceding this Court has exclusive jurisdiction to decide

all limited liability issues (Exh. 1, ¶1), agrees to waive any claims of res judicata on issues of

limited liability issues (Exh. 1, ¶3), agrees not seek to enforce or collect any judgment or amount

in excess of the limitations fund unless and until this Court adjudicates issues related to the

limitation proceeding (Exh. 1, ¶2) and concedes this Court has exclusive jurisdiction to determine

the value of the limitation fund. (Exh. 1, ¶4).

       13.     Plaintiff Hanson opposes the Claimant’s Motion to Stay and seeks twenty-one

(21) days to file a response.

       WHEREFORE, the Claimant, MARIANA M. OCHOA, as Independent Administrator of

the Estate of VICTOR LOBATO OCHOA, Deceased, respectfully request this Court to enter an

Order modifying the stay that is currently in place, thereby allowing the institution and prosecution

of legal proceedings in the state courts of Illinois, while retaining exclusive jurisdiction as to all

limitation of liability issues, with the stay remaining in effect as against any entry of judgment and

consequent enforcement of any recovery achieved in state court or related proceeding pending the

outcome of this limitation proceeding, and for such other and further relief the Court deems

necessary and just.

                                                  Respectfully submitted,
                                                  MARIANA M. OCHOA, Claimant

                                       By:        /s/ Michael L. Gallagher
                                                  One of Her Attorneys

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Chicago. IL 60601

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    Case: 1:21-cv-04295 Document #: 17 Filed: 11/02/21 Page 6 of 6 PageID #:55
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(312) 580-2040
mlg@wisemorrissey.com




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    Case: 1:21-cv-04295 Document #: 17-1 Filed: 11/02/21 Page 1 of 2 PageID #:56
      Case:
       Case:22-1511
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                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (113 of 128)


                            IN THE UNITED STATES DISTRICT
                             COURT NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

IN THE MATTER OF THE COMPLAINT                        )
OF HANSON AGGRREGATES MIDWEST                         )
INC. F/K/A MATERIAL SERVICE                           )      Case No.: 1:21-cv-4295
CORPORATION D/B/A HANSON                              )
MATERIAL SERVICE CORPORATION                          )      District Judge Manish S. Shah
FOR EXONERATION FROM, OR                              )
LIMITATION OF, LIABILITY.                             )       Magistrate Judge M. David Weisman

                             CLAIMANT’S STIPULATION

       Now comes the Defendant or Claimant, MARIANA M. OCHOA, as Independent

Administrator of the Estate of VICTOR LOBATO OCHOA, Deceased, by her undersigned

attorneys, and files her Stipulation as follows:

       1.      Defendant or Claimant, Mariana M. Ochoa (Claimant) Independent Administrator

of the Estate of Victor Lobato Ochoa (Victor), deceased, concedes and agrees that the United

States District Court for the Northern District of Illinois has exclusive jurisdiction to decide all

issues related to the limitation of liability arising out of the July 22, 2020, capsizing and

sinking of the pleasure craft which resulted in Victor’s death.

       2.      Claimant expressly concedes and agrees that in the event that a state court enters

judgment in an amount in excess of the limitations fund, he will not execute or otherwise

seek to enforce the judgment unless and until this Honorable Court adjudicates issues related

to the limitation proceeding.

       3.      Claimant expressly waives any claim of res judicata relevant to the issues of

limited liability, as distinct from exoneration, based on any judgment obtained in state court

or other proceedings arising out of the July 22, 2020, capsizing and sinking of the pleasure

craft which resulted in Victor’s death.



                                              Exhibit 1
    Case: 1:21-cv-04295 Document #: 17-1 Filed: 11/02/21 Page 2 of 2 PageID #:57
      Case:
       Case:22-1511
              22-1511 Document:
                         Document:1-1
                                   4         Filed:
                                              Filed:04/15/2022
                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (114 of 128)


       4.      Claimant expressly concedes and agrees that this Honorable Court’s exclusive

jurisdiction to determine the value of the limitations fund, and so long as the Claimant has an

opportunity to obtain an independent appraisal or related valuation, will stipulate to the value as

determined by the this Honorable Court.

       5.      Claimant OCHOA acknowledges the right of Hanson Aggregates Midwest, Inc.

to litigate all issues relating to limitation of liability, as distinct from exoneration, in the

limitation proceeding.

                                              Respectfully submitted,
                                              MARIANA M. OCHOA

                                      By:     /s/ Michael L. Gallagher

                                              Michael L. Gallagher
                                              ARDC #6281432
                                              WISE MORRISSEY, LLC
                                              161 N. Clark Street
                                              Suite 3250
                                              Chicago. IL 60601
                                              (312) 580-2040
                                              mlg@wisemorrissey.com
      Case: 1:21-cv-04295 Document #: 17-2 Filed: 11/02/21 Page 1 of 2 PageID #:58
        Case:
         Case:22-1511
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                                                       03/30/2022 Pages:
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                            IN THE UNITED STATES DISTRICT
                             COURT NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

IN THE MATTER OF THE COMPLAINT                       )
OF HANSON AGGRREGATES MIDWEST                        )
INC. F/K/A MATERIAL SERVICE                          )       Case No.: 1:21-cv-4295
CORPORATION D/B/A HANSON                             )
MATERIAL SERVICE CORPORATION                         )       District Judge Manish S. Shah
FOR EXONERATION FROM, OR                             )
LIMITATION OF, LIABILITY.                            )       Magistrate Judge M. David Weisman

                                     NOTICE OF FILING

TO:     Counsel of Record – See attached Service List

    PLEASE TAKE NOTICE that I have on this date filed the attached CLAIMANT’S MOTION TO
MODIFY STAY.

                        DATED at Chicago, Illinois, on November 2, 2021

                                              Wise Morrissey, LLC
                                              WISE MORRISSEY, LLC
                                              Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE
        I, Michael L. Gallagher, hereby certify that on November 2, 2021, I electronically filed the
foregoing Motion with the Clerk of the Court using the CM/ECF system. Notification and a copy of
such filing is sent through the CM/ECF system to counsel of record as listed above.

                                                     /s/ Michael L. Gallagher
                                                     Michael L. Gallagher #6281432
                                                     Wise Morrissey LLC
                                                     161 North Clark Street, Suite 3250
                                                     Chicago, Illinois 60601
                                                     (312) 580-2040
                                                     (312) 580-2041
                                                     mlg@wisemorrissey.com
    Case: 1:21-cv-04295 Document #: 17-2 Filed: 11/02/21 Page 2 of 2 PageID #:59
      Case:
       Case:22-1511
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                                                     03/30/2022 Pages:
                                                                  Pages:207
                                                                         124     (116 of 128)



                                       Service List
   Re: MARIANA M. OCHOA as Independent Administrator of the Estate of VICTOR
  LOBATO OCHOA, Deceased, v. MATERIAL SERVICE CORPORATION d/b/a HANSON
                         MATERIAL SERVICE CORPORATION, et al.
                            Northern District No.: 1:21-cv-03936



Attorneys for Defendants Defendants Hanson Aggregates Midwest, Inc. f/k/a Material Service
Corporation d/b/a Hanson Material Service Corporation1, Lehigh Hanson Services LLC,
Captain Kenneth L. Stubbs, and HeidelbergCement AG (incorrectly named as Heidelberg
Cement Group)

Gould & Ratner LLP
Paul W. Carroll
222 North LaSalle Street, Suite 300
Chicago, IL 60601
312.236.3003
pcarroll@gouldratner.com

GOLDSTEIN and PRICE, L.C.
Neal W. Settergren (pro hac vice)
Jacob D. Curtis (pro hac vice)
One Memorial Drive, Suite 1000
St. Louis, MO 63102
(314) 516-1711
neal@gp-law.com
jacob@gp-law.com
CM/ECF LIVE, Ver 6.3.4 - U.S. District Court, Northern Illinois       https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?170392719403909-L_1_0-1

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                                            United States District Court
                          Northern District of Illinois - CM/ECF LIVE, Ver 6.3.4 (Chicago)
                                  CIVIL DOCKET FOR CASE #: 1:21-cv-03936


         Ochoa v. Material Service Corporation et al                              Date Filed: 07/24/2021
         Assigned to: Honorable Sara L. Ellis                                     Date Terminated: 03/09/2022
         Case in other court: Circuit Court of Cook County, Illinois,             Jury Demand: Both
                             2021L006726                                          Nature of Suit: 340 P.I.: Marine
         Cause: 28:1331 Federal Question                                          Jurisdiction: Federal Question

         Plaintiff
         Mariana M Ochoa                                          represented by Michael L. Gallagher
         as Independent Administrator of the Estate                              Wise Morrissey, LLC
         of Victor Lobato Ochoa                                                  161 N. Clark Street
                                                                                 Suite 3200
                                                                                 Chicago, IL 60601
                                                                                 (312) 580-2040
                                                                                 Email: mlg@wisemorrissey.com
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


         V.
         Defendant
         Material Service Corporation                             represented by Neal W. Settergren
         d/b/a Hanson Material Service                                           Goldstein & Price
         Corporation                                                             One Memorial Drive
                                                                                 Suite 1000
                                                                                 St. Louis, MO 63102-2704
                                                                                 (314) 516-1711
                                                                                 Email: neal@gp-law.com
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                  Jacob Daniel Curtis
                                                                                  Goldstein and Price, L.C.
                                                                                  One Memorial Drive
                                                                                  St. Louis, MO 63012
                                                                                  (314) 516-1700
                                                                                  Email: jacob@gp-law.com
                                                                                  PRO HAC VICE
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Paul W. Carroll
                                                                                  Gould & Ratner
                                                                                  222 North LaSalle Street



1 of 8                                                                                                                  3/30/2022, 11:23 AM
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                                                                                Suite 300
                                                                                Chicago, IL 60601
                                                                                (312) 236-3003
                                                                                Email: pcarroll@gouldratner.com
                                                                                ATTORNEY TO BE NOTICED

         Defendant
         Lehigh Hanson Services LLC                               represented by Neal W. Settergren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jacob Daniel Curtis
                                                                                 (See above for address)
                                                                                 PRO HAC VICE
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Paul W. Carroll
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

         Defendant
         Heidelberg Cement Group                                  represented by Neal W. Settergren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jacob Daniel Curtis
                                                                                 (See above for address)
                                                                                 PRO HAC VICE
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Paul W. Carroll
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

         Defendant
         Kenneth L Stubbs                                         represented by Neal W. Settergren
         Captain                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jacob Daniel Curtis
                                                                                 (See above for address)
                                                                                 PRO HAC VICE
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Paul W. Carroll
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED


2 of 8                                                                                                                 3/30/2022, 11:23 AM
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         Defendant
         Celio San Gabriel

         Defendant
         Hanson Aggregates Midwest, Inc. f/k/a                    represented by Neal W. Settergren
         Material Service Corporation d/b/a                                      (See above for address)
         Hanson Material Service Corporation                                     ATTORNEY TO BE NOTICED

         Defendant
         Lehigh Hanson, Inc.                                      represented by Neal W. Settergren
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

         Cross Claimant
         Lehigh Hanson Services LLC                               represented by Neal W. Settergren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                  Jacob Daniel Curtis
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Paul W. Carroll
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

         Cross Claimant
         Kenneth L Stubbs                                         represented by Neal W. Settergren
         Captain                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                  Jacob Daniel Curtis
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Paul W. Carroll
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

         Cross Claimant
         Hanson Aggregates Midwest, Inc. f/k/a                    represented by Neal W. Settergren
         Material Service Corporation d/b/a                                      (See above for address)
         Hanson Material Service Corporation                                     ATTORNEY TO BE NOTICED

         Cross Claimant
         Lehigh Hanson, Inc.                                      represented by Neal W. Settergren
                                                                                 (See above for address)



3 of 8                                                                                                                  3/30/2022, 11:23 AM
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                                                                               03/30/2022 Pages:
                                                                                           Pages:207
                                                                                                  124                  (120 of 128)
                                                                               ATTORNEY TO BE NOTICED


         V.
         Cross Defendant
         Celio San Gabriel


          Date Filed          #    Docket Text
          07/24/2021          1 NOTICE of Removal from Circuit Court of Cook County, Illinois, case number
                                (2021L006726) filed by Heidelberg Cement Group, Lehigh Hanson Services LLC,
                                Material Service Corporation, Kenneth L Stubbs Filing fee $ 402, receipt number
                                0752-18494197. (Carroll, Paul) (Entered: 07/24/2021)
          07/24/2021          2 CIVIL Cover Sheet (Carroll, Paul) (Entered: 07/24/2021)
          07/24/2021          3 ATTORNEY Appearance for Defendants Heidelberg Cement Group, Lehigh Hanson
                                Services LLC, Material Service Corporation, Kenneth L Stubbs by Paul W. Carroll
                                (Carroll, Paul) (Entered: 07/24/2021)
          07/26/2021          4 MAILED Notice of Removal letter to counsel of record. (rc, ) (Entered: 07/26/2021)
          07/26/2021          5 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                                0752-18496755. (Curtis, Jacob) (Entered: 07/26/2021)
          07/26/2021               CASE ASSIGNED to the Honorable Sara L. Ellis. Designated as Magistrate Judge the
                                   Honorable Sunil R. Harjani. Case assignment: Random assignment. (cp, ) (Entered:
                                   07/26/2021)
          07/28/2021          6 ORDER: Motion by Jacob Curtis for leave to appear pro hac vice 5 is granted. The
                                initial telephonic status conference in this matter is set for 9/23/2021 at 1:30 PM. The
                                parties are directed to review the procedures and requirements for this conference on
                                Judge Ellis' web site and to submit the required Initial Status Report by 9/16/2021.
                                Attorneys/Parties should appear for the hearing by calling the Toll-Free Number: (866)
                                434-5269, Access Code: 8087837. Members of the public and media will be able to call
                                in to listen to this hearing (use toll free number). Please be sure to keep your phone on
                                mute when you are not speaking. Persons granted remote access to proceedings are
                                reminded of the general prohibition against photographing, recording, and
                                rebroadcasting of court proceedings. Violation of these prohibitions may result in
                                sanctions, including removal of court issued media credentials, restricted entry to future
                                hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
                                the Court. Signed by the Honorable Sara L. Ellis on 7/28/2021. Mailed notice (lma, )
                                (Entered: 07/28/2021)
          08/03/2021          7 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                                0752-18524908. (Settergren, Neal) (Entered: 08/03/2021)
          08/04/2021          8 ORDER: Motion for leave to appear pro hac vice 7 is granted. Signed by the Honorable
                                Sara L. Ellis on 8/4/2021: Mailed notice(gw, ) (Entered: 08/04/2021)
          08/06/2021          9 ANSWER to Complaint and Affirmative Defenses by Lehigh Hanson Services LLC,
                                Material Service Corporation, Kenneth L Stubbs(Settergren, Neal) (Entered:
                                08/06/2021)



4 of 8                                                                                                                3/30/2022, 11:23 AM
CM/ECF LIVE, Ver 6.3.4 - U.S. District Court, Northern Illinois     https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?170392719403909-L_1_0-1

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                                                                           03/30/2022 Pages:Pages:207
                                                                                                    124    (121 of 128)
          08/06/2021        10 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Lehigh Hanson Services
                                LLC, Material Service Corporation (Settergren, Neal) (Entered: 08/06/2021)
          08/23/2021         11 MOTION by Plaintiff Mariana M Ochoa for leave to file to File Second Amended
                                Complaint at Law (Attachments: # 1 Exhibit Proposed Second Amended Complaint, # 2
                                Exhibit Original Complaint, # 3 Exhibit First Amended Complaint, # 4 Exhibit Email
                                Correspondence)(Gallagher, Michael) (Entered: 08/23/2021)
          08/23/2021         12 NOTICE of Motion by Michael L. Gallagher for presentment of motion for leave to
                                file, 11 before Honorable Sara L. Ellis on 8/31/2021 at 09:45 AM. (Gallagher, Michael)
                                (Entered: 08/23/2021)
          08/23/2021         13 MOTION by Plaintiff Mariana M Ochoa to remand the matter to state court
                                (Attachments: # 1 Exhibit First Amended Complaint, # 2 Exhibit Original Complaint)
                                (Gallagher, Michael) (Entered: 08/23/2021)
          08/23/2021         14 NOTICE of Motion by Michael L. Gallagher for presentment of motion to remand 13
                                before Honorable Sara L. Ellis on 8/31/2021 at 09:45 AM. (Gallagher, Michael)
                                (Entered: 08/23/2021)
          08/30/2021         15 MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's motion
                                for leave to file a second amended complaint 11 . The Court sets the following briefing
                                schedule on Plaintiff's motion to remand 13 : Defendants' responses are due by
                                9/27/2021 and Plaintiff's reply is due by 10/12/2021. The Court strikes the initial status
                                hearing for 9/23/2021 and resets it to 12/14/2021 at 9:30 AM for ruling on Plaintiff's
                                motion to remand. The parties should submit the initial joint status report by 12/7/2021.
                                Attorneys/Parties should appear for the hearing by calling the Toll-Free Number: (866)
                                434-5269, Access Code: 8087837. Members of the public and media will be able to call
                                in to listen to this hearing (use toll free number). Please be sure to keep your phone on
                                mute when you are not speaking. Persons granted remote access to proceedings are
                                reminded of the general prohibition against photographing, recording, and
                                rebroadcasting of court proceedings. Violation of these prohibitions may result in
                                sanctions, including removal of court issued media credentials, restricted entry to future
                                hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
                                the Court. Mailed notice (ber, ) (Entered: 08/30/2021)
          08/31/2021         16 Second AMENDED complaint by Mariana M Ochoa against Heidelberg Cement
                                Group, Lehigh Hanson Services LLC, Material Service Corporation, Kenneth L Stubbs,
                                Celio San Gabriel (Attachments: # 1 Notice of Filing)(Gallagher, Michael) (Entered:
                                08/31/2021)
          09/03/2021         17 MOTION by Plaintiff Mariana M Ochoa to amend/correct MOTION by Plaintiff
                                Mariana M Ochoa to remand the matter to state court 13 (Attachments: # 1 Notice of
                                Filing)(Gallagher, Michael) (Entered: 09/03/2021)
          09/09/2021         18 NOTICE by Material Service Corporation of Order and Injunction (Attachments: # 1
                                Exhibit A - Order Approving Letter of Undertaking, Directing Issuance of Notice, and
                                Restraining Suits)(Curtis, Jacob) (Entered: 09/09/2021)
          09/10/2021         19 ANSWER to amended complaint , CROSSCLAIM by Lehigh Hanson Services LLC,
                                Kenneth L Stubbs, Hanson Aggregates Midwest, Inc. f/k/a Material Service
                                Corporation d/b/a Hanson Material Service Corporation, Lehigh Hanson, Inc. against
                                Celio San Gabriel . by Lehigh Hanson Services LLC, Kenneth L Stubbs, Hanson
                                Aggregates Midwest, Inc. f/k/a Material Service Corporation d/b/a Hanson Material



5 of 8                                                                                                                3/30/2022, 11:23 AM
CM/ECF LIVE, Ver 6.3.4 - U.S. District Court, Northern Illinois     https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?170392719403909-L_1_0-1

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                                 22-1511 Document:
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                                                                           03/30/2022 Pages:Pages:207124     (122 of 128)
                                Service Corporation, Lehigh Hanson, Inc.(Settergren, Neal) (Entered: 09/10/2021)
          09/21/2021         20 RESPONSE by Hanson Aggregates Midwest, Inc. f/k/a Material Service Corporation
                                d/b/a Hanson Material Service Corporation, Lehigh Hanson Services LLC, Lehigh
                                Hanson, Inc., Kenneth L Stubbsin Opposition to MOTION by Plaintiff Mariana M
                                Ochoa to amend/correct MOTION by Plaintiff Mariana M Ochoa to remand the matter
                                to state court 13 17 , MOTION by Plaintiff Mariana M Ochoa to remand the matter to
                                state court 13 (Attachments: # 1 Exhibit A - Carol Lowry Affidavit, # 2 Exhibit B -
                                2006 News Article)(Settergren, Neal) (Entered: 09/21/2021)
          10/11/2021         21 MOTION by Plaintiff Mariana M Ochoa for extension of time to file response/reply as
                                to motion to amend/correct 17 Plaintiff's Amended Motion to Remand (Gallagher,
                                Michael) (Entered: 10/11/2021)
          10/11/2021         22 Plaintiff's NOTICE of Motion by Michael L. Gallagher for presentment of motion for
                                extension of time to file response/reply 21 before Honorable Sara L. Ellis on
                                10/14/2021 at 01:45 PM. (Gallagher, Michael) (Entered: 10/11/2021)
          10/13/2021         23 MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's motion
                                for extension of time 21 . Plaintiff's reply in support on her motion to remand is due by
                                10/26/2021. No appearance required on 10/14/2021. Emailed notice (rj, ) (Entered:
                                10/13/2021)
          10/22/2021         24 MOTION by Plaintiff Mariana M Ochoa for extension of time to file response/reply as
                                to motion to amend/correct 17 Plaintiff's Amended Motion to Remand (Gallagher,
                                Michael) (Entered: 10/22/2021)
          10/22/2021         25 Plaintiff's NOTICE of Motion by Michael L. Gallagher for presentment of motion for
                                extension of time to file response/reply 24 before Honorable Sara L. Ellis on
                                10/26/2021 at 09:45 AM. (Gallagher, Michael) (Entered: 10/22/2021)
          10/25/2021         26 MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's motion
                                for extension of time 24 . Plaintiff's reply is due by 11/2/2021. Mailed notice (rj, )
                                (Entered: 10/25/2021)
          11/02/2021         27 MOTION by Plaintiff Mariana M Ochoa for extension of time to file response/reply as
                                to motion to amend/correct 17 Plaintiff's Amended Motion to Remand (Gallagher,
                                Michael) (Entered: 11/02/2021)
          11/02/2021         28 Plaintiff's NOTICE of Motion by Michael L. Gallagher for presentment of motion for
                                extension of time to file response/reply 27 before Honorable Sara L. Ellis on 11/9/2021
                                at 09:45 AM. (Gallagher, Michael) (Entered: 11/02/2021)
          11/05/2021         29 REPLY by Plaintiff Mariana M Ochoa to motion to amend/correct 17 (Attachments: # 1
                                Exhibit Notice of filing)(Gallagher, Michael) (Entered: 11/05/2021)
          11/08/2021         30 MOTION by Defendants Hanson Aggregates Midwest, Inc. f/k/a Material Service
                                Corporation d/b/a Hanson Material Service Corporation, Lehigh Hanson Services LLC,
                                Kenneth L Stubbs, Cross Claimant Lehigh Hanson, Inc. for leave to file Sur-Reply Brief
                                In Opposition to Plaintiff's Motion to Remand (Settergren, Neal) (Entered: 11/08/2021)
          11/08/2021         31 NOTICE of Motion by Neal W. Settergren for presentment of motion for leave to file,
                                30 before Honorable Sara L. Ellis on 11/11/2021 at 01:45 PM. (Settergren, Neal)
                                (Entered: 11/08/2021)




6 of 8                                                                                                                3/30/2022, 11:23 AM
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                                                                                 03/30/2022 Pages:
                                                                                                Pages:207 124     (123 of 128)
          11/08/2021        32 MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's motion
                                for extension of time 27 . Plaintiff's reply is due by 11/5/2021. The Court denies
                                Defendants' motion for leave to file a sur-reply 30 . The Court will not consider any
                                new arguments Plaintiff raises in her reply brief. Mailed notice (rj, ) (Entered:
                                11/08/2021)
          12/13/2021         33 MINUTE entry before the Honorable Sara L. Ellis: The Court stays this case pursuant
                                to the Order Approving Letter of Undertaking, Directing Issuance of Notice, and
                                Restraining Suits issued on September 8, 2021 in In re: Hanson Aggregates Midwest,
                                Inc., No. 21 C 4295, Doc. 11 (N.D. Ill. Sept. 8, 2011). The Court denies Plaintiff's
                                motions to remand 13 , 17 without prejudice to renewal once the stay is lifted. The
                                Court strikes the status hearing set for 12/14/21 and resets it to 2/8/22 at 9:30 a.m. The
                                Court orders the parties to file a joint status report by 2/1/22 indicating the status of In
                                re: Hanson Aggregates Midwest, Inc. and whether the stay has been lifted as to Ochoa's
                                claims. Mailed notice (rj, ) (Entered: 12/13/2021)
          01/31/2022         34 STATUS Report Joint Status Report by Mariana M Ochoa (Gallagher, Michael)
                                (Entered: 01/31/2022)
          02/08/2022         35 MINUTE entry before the Honorable Sara L. Ellis: Telephone conference set for 2/8/22
                                at 9:30 a.m. Attorneys/Parties should appear for the hearing by calling the Toll-Free
                                Number: (866) 434-5269, Access Code: 8087837. Members of the public and media
                                will be able to call in to listen to this hearing (use toll free number). Please be sure to
                                keep your phone on mute when you are not speaking. Persons granted remote access to
                                proceedings are reminded of the general prohibition against photographing, recording,
                                and rebroadcasting of court proceedings. Violation of these prohibitions may result in
                                sanctions, including removal of court issued media credentials, restricted entry to future
                                hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
                                the Court. Mailed notice (rj, ) (Entered: 02/08/2022)
          02/08/2022         36 MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held on
                                2/8/2022. Parties are given leave to supplement motion to lift stay and motion to
                                remand by three (3) pages by 2/15/2022. Defendant is given leave to issue subpoenas
                                for video of accident in limitations case. Telephone Conference set for 3/29/2022 at
                                9:30 AM for ruling on both motions. Attorneys/Parties should appear for the hearing by
                                calling the Toll-Free Number: (866) 434-5269, Access Code: 8087837. Members of the
                                public and media will be able to call in to listen to this hearing (use toll free number).
                                Please be sure to keep your phone on mute when you are not speaking. Persons granted
                                remote access to proceedings are reminded of the general prohibition against
                                photographing, recording, and rebroadcasting of court proceedings. Violation of these
                                prohibitions may result in sanctions, including removal of court issued media
                                credentials, restricted entry to future hearings, denial of entry to future hearings, or any
                                other sanctions deemed necessary by the Court. Mailed noticeMailed notice (rj, )
                                (Entered: 02/10/2022)
          02/15/2022         37 MEMORANDUM by Hanson Aggregates Midwest, Inc. f/k/a Material Service
                                Corporation d/b/a Hanson Material Service Corporation, Lehigh Hanson Services LLC,
                                Lehigh Hanson, Inc., Kenneth L Stubbs in Opposition to motion to amend/correct 17 ,
                                motion to remand 13 (Settergren, Neal) (Entered: 02/15/2022)
          03/09/2022         38 OPINION AND ORDER. For the reasons stated in the accompanying Opinion and
                                Order, the Court grants Mariana's motion to lift the stay in the limitation of liability case
                                [No. 21 C 4295, Doc. 17] and lifts the stay as to Mariana's wrongful death claims


7 of 8                                                                                                                 3/30/2022, 11:23 AM
CM/ECF LIVE, Ver 6.3.4 - U.S. District Court, Northern Illinois             https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?170392719403909-L_1_0-1

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                           Case:22-1511
                                 22-1511 Document:
                                                Document:1-1 4        Filed:
                                                                       Filed:04/15/2022
                                                                              03/30/2022 Pages:Pages:207
                                                                                                       124        (124 of 128)
                                against Hanson, subject to the conditions outlined in the stipulation Mariana filed in
                                connection with her motion to lift the stay [No. 21 C 4295, Doc. 17-1]. In the wrongful
                                death case, the Court grants Mariana's amended motion to remand [No. 21 C 3936, Doc.
                                17 and denies Mariana's initial motion to remand [No. 21 C 3936, Doc. 13 as moot. The
                                Court remands Mariana's wrongful death case, No. 21 C 3936, to the Circuit Court of
                                Cook County, Illinois. Signed by the Honorable Sara L. Ellis on 3/9/2022:Mailed
                                notice(rj, ) (Entered: 03/09/2022)
          03/09/2022         39 ENTERED JUDGMENT. Mailed notice. (rc, ) (Entered: 03/10/2022)



                                                          PACER Service Center
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8 of 8                                                                                                                        3/30/2022, 11:23 AM
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   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                              Office of the Clerk
        United States Courthouse
                                                                             Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                             www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                            NOTICE OF CASE OPENING
March 30, 2022

                                     IN RE:
No. 22-1511                          HANSON AGGREGATES MIDWEST, INC., et al.,
                                             Petitioners
Petition for Writ of Mandamus
District Court No. 1:21-cv-03936
Clerk/Agency Rep Thomas G. Bruton
District Judge Sara L. Ellis

Case filed: 03/30/2022
Case type: op/npman
Fee status: Due
Date NOA rc'd-AC: 03/30/2022


The above-captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit.
Deadlines:
Appeal No. Filer                                   Document Due Date
22-1511    Hanson Aggregates Midwest, Inc.         Fee Due      04/13/2022

22-1511         Lehigh Hanson, Inc.                         Fee Due     04/13/2022

22-1511         Lehigh Hanson Services LLC                  Fee Due     04/13/2022

22-1511         Kenneth Stubbs                              Fee Due     04/13/2022




THIS NOTICE SHALL NOT ACT AS A SUBSTITUTE FOR MOTIONS FOR NON-INVOLVEMENT /
SUBSTITUTION OF COUNSEL. COUNSEL ARE STILL REQUIRED TO FILE THE APPROPRIATE MOTIONS.

Important Scheduling Notice!
           Case:
           Case: 22-1511
                 22-1511              Document:
                                      Document: 41-2               Filed:
                                                                      Filed:
                                                                          04/15/2022
                                                                             03/30/2022 Pages:
                                                                                          Pages:
                                                                                               207
                                                                                                 2                        (126 of 128)


Hearing notices are mailed shortly before the date of oral argument. Please note that counsel's unavailability for oral
argument must be submitted by letter, filed electronically with the Clerk's Office, no later than the filing of the
appellant's brief in a criminal case and the filing of an appellee's brief in a civil case. See Cir. R. 34(b)(3). The court's
calendar is located at http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once scheduled, oral argument is
rescheduled only in extraordinary circumstances. See Cir. R. 34(b)(4), (e).


form name: c7_Docket_Notice     (form ID: 108)
           Case:
           Case: 22-1511
                 22-1511                   Document:
                                           Document: 41-3      Filed:
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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
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          Chicago, Illinois 60604




                                          NOTICE OF DOCKETING - Short Form
March 30, 2022

To: Thomas G. Bruton
    Clerk of Court



The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                Appellate Case No: 22-1511

                Caption:
                IN RE:
                HANSON AGGREGATES MIDWEST, INC., et al.,
                         Petitioners
                District Court No: 1:21-cv-03936
                Clerk/Agency Rep Thomas G. Bruton
                District Judge Sara L. Ellis

If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form        (form ID: 188)
           Case:
           Case: 22-1511
                 22-1511                  Document:
                                          Document: 41-4      Filed:
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                                                                        03/30/2022 Pages:
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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
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        United States Courthouse
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                                                                                       www.ca7.uscourts.gov
          Chicago, Illinois 60604




                         ORIGINAL PROCEEDING CIRCUIT RULE 3(b) NOTICE
March 30, 2022

                                     IN RE:
No. 22-1511                          HANSON AGGREGATES MIDWEST, INC., et al.,
                                             Petitioners
Petition for Writ of Mandamus
District Court No: 1:21-cv-03936
Clerk/Agency Rep Thomas G. Bruton
District Judge Sara L. Ellis


Circuit Rule 3(b) empowers the clerk to dismiss a petition if the docket fee is not paid within
fourteen (14) days of the docketing of the petition. This petition was docketed and the fee has
not been paid as of March 30, 2022. Depending on your situation, you should:

1.          Pay the required $500.00 docketing fee to the Clerk of the Court of Appeals.

2.          File a motion to proceed on appeal in forma pauperis with the Court of Appeals.
            An original and three (3) copies of that motion is required. This motion must be
            supported by an affidavit in the form of a sworn statement listing the assets and
            income of the petitioner(s). See Form 4 of the Appendix of Forms to the Federal Rules
            of Appellate Procedure.

If one of the above stated actions is not taken, the petition will be dismissed.


NOTE:
On March 2, 2015, the Seventh Circuit began accepting electronic fee payments for originating case filing fees
(petitions for review and original petitions) via the CM/ECF Filing menu & final processing by PACER. Details are
available at www.ca7.uscourts.gov.



form name: c7_OP_Fee_Notice_Sent          (form ID: 189)
     Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 1 of 14 PageID #:417
         Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

MARIANA M. OCHOA as Independent
Administrator of the Estate of VICTOR
LOBATO OCHOA, Deceased,

       Plaintiff,

               v.                                     Case No. 1:21-cv-03936

MATERIAL SERVICE CORPORATION et.                      Judge Sara L. Ellis
al.,
                                                      Magistrate Judge Sunil R. Harjani
       Defendants.

                        PLAINTIFF’S REPLY IN SUPPORT OF HER
                        MOTION TO REMAND TO STATE COURT

        Plaintiff, Mariana M. Ochoa (“Plaintiff”) as Independent Administrator of the Estate of

Victor Lobato Ochoa (“Victor”), Deceased, Replies in support of Plaintiff’s Motion to Remand

with the following:

I.      Defendant Hanson’s Complaint seeking exoneration from, or limitation of, liability
        should be consolidated with this matter.

        A brief accounting of this matter’s procedural history is warranted when determining

whether it should be consolidated with the Defendant Hanson Material Service Corporation’s

(“Hanson”) Complaint seeking exoneration, or limitation of liability, currently pending before

the Honorable Judge Manish Shah (“Judge Shah”). See N.D. Ill. Case No. 21-cv-04295. On July

1, 2021, Plaintiff filed her original Complaint in the Circuit Court of Cook County, Illinois,

County Department, under Case No. 2021-L-006726. (21-cv-03936, Dkt. 11, Plaintiff Motion for

leave to amend Ex. 2, Complaint). Plaintiff filed her First Amended Complaint in the Circuit

Court of Cook County on July 22, 2021, correcting a Scribner’s error. (Dkt. 11, Ex. 3).




                                                 1

                                           Exhibit E
    Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 2 of 14 PageID #:418
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


Defendants subsequently filed their Notice of Removal (“Notice”) of Plaintiff’s original

Complaint on July 24, 2021, and the matter was assigned to this Court. (Dkt. 1).

       On August 23, 2021, Plaintiff sought leave of Court pursuant to Fed. R. Civ. Pro. 15(a) to

file her Second Amended Complaint naming Defendant Celio San Gabriel (“San Gabriel”), who

was the owner and operator of the open motorboat carrying Plaintiff and Victor at the time of the

drowning. (Dkt. 11, pg.1). Plaintiff’s motion for leave provided a six-page memorandum

establishing that her addition of San Gabriel as defendant was allowed under Rule 15(a), and

provided the proposed Second Amended Complaint which explicitly alleged that San Gabriel

was a resident of Chicago, Illinois. (Dkt. 11, pg.1-6; Dkt. 11, Ex 1 Second ACAL ¶3). On that

same day, Plaintiff filed her Motion to remove the matter to state court based on this Court

lacking subject matter jurisdiction pursuant to 28 U.S.C. § 1333(1) under the saving to suitors

clause and based on a lack of complete diversity amongst the Defendants. (Dkt. 13, Motion to

remand pg.3-6).

       Defendants failed to object or respond to Plaintiff’s motion, and this Court granted

Plaintiff leave to file her Second Amended Complaint adding Defendant San Gabriel on August

30, 2021. (Dkt. 15). Unbeknownst to Plaintiff or her attorney, on August 8, 2021, Defendant

Hanson had filed a Complaint claiming ownership of the river towboat M/V KIOWA and barge

MSC0103, and seeking exoneration from, or limitation of, liability pursuant to 28 U.S.C. § 1333.

(21-cv-04295, Dkt. 1, pg.1). On September 9, 2021, Plaintiff and her counsel first received

notice of Hanson’s Complaint and Judge Shah’s Order granting a stay and injunction on matters

related to Hanson’s Complaint. (21-cv-03936 Dkt. 18).

       The above matters should be consolidated pursuant to Fed. Rule Civ. Proc. 42(a) because

they clearly involve “common questions of law or fact”. Hall v. Hall, 138 S. Ct. 1118, 1124




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      Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 3 of 14 PageID #:419
          Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


(2018). Rule 42(a) titled “[c]onsolidation” - provides that if “actions before the court involve a

common question of law or fact, the court may” take one of three measures. First, the court may

“join for hearing or trial any or all matters at issue in the actions.” Hall, 138 S.Ct. at 1124; citing

Fed. Rule Civ. Proc. 42(a)(1). Second, the court may “consolidate the actions.” Rule 42(a)(2).

Third, the court may “issue any other orders to avoid unnecessary cost or delay.” Rule

42(a)(3). In fact, Defendant Hanson’s “Status Report” filed in the limitation matter

acknowledged that “Judge Ellis’ decision on the motion to remand [in 21-cv-03936] will

determine whether the related case will remain in this Court. If so, Plaintiff intends to seek re-

assignment of this case to Judge Ellis to promote judicial efficiency”.1 (21-cv-4295, Dkt. 9 pg.2).

Therefore, Plaintiff respectfully requests this Court consolidate the related matters of 21-cv-

03936 and 21-cv-04295 in this Court pursuant to Rule 42(a)(2).

II.      Defendants’ claim that Plaintiff waived her subject matter jurisdiction argument is
         baseless.

         Defendants claim that Plaintiff “has not argued … that the Savings to Suitors Clause

forbids all removal of admiralty matters” and has waived the issue. (Dkt. 13 pg.3-4). As argued

more fully supra, Defendants’ waiver argument is a disingenuous attempt to circumvent the

savings to suitors clause which clearly bars removal of this matter absent complete diversity. In

reality, the first sentence of Section I of Plaintiff’s Motion to remand states “the ‘savings to

suitors’ clause in 28 U.S.C. § 1333(1), reserves to suitors in admiralty or maritime cases their

common-law remedies. These remedies include the right to select a forum and the right to

demand a jury trial”. (Dkt. 13 pg.3); citing See American River Transp. Co. v. Ryan, 579 F.3d
1
  On October 29, 2021, Plaintiff filed an Answer to Defendant Hanson’s Complaint for exoneration, or limitation of
liability in the matter of 21-cv-04295. (Dkt. 16). On November 2, 2021, Plaintiff filed a Motion to modify Judge
Shah’s stay pursuant to the Savings to Suitors Clause detailed in 28 U.S.C § 1331(1). (Dkt. 17). The Motion was
supported by Plaintiff’s stipulation which “waive[d] any claim of res judicata from the state court proceedings
relevant to the issue of limited liability and concede[d] the exclusive jurisdiction of the federal courts to determine
all issues relating to limitation of liability”. (Dkt. 17, Ex. 1); In re McCarthy Brothers Co., 83 F.3d 821, 831 (7th
Cir. 1996)


                                                          3
    Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 4 of 14 PageID #:420
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


820, 825 (7th Cir. 2009); citing Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 455 (2001);

see also In re McCarthy Brothers Co., 83 F.3d 821, 826–27 (7th Cir.1996). Plaintiff’s Motion

went on to argue that the “‘savings to suitors’ clause of § 1333(1)” preserves the “common law

remedies of the injured parties” which includes litigating the matter in state court. (Dkt. 13 pg.3);

citing Lewis, 531 U.S. at 454. As a result, Plaintiff’s Motion clearly argued that this Court lacked

subject matter jurisdiction as a result of the savings to suitors clause of 28 U.S.C. § 1333(1).

(Dkt. 13 pg.3-4). See Ibarra v. Port of Houston Authority of Harris County, 526 F.Supp.3d 202,

209 (S.D. Texas, March 17, 2021) (District court rejected defendants’ argument that plaintiff

waived his “saving to suitors” argument because his motion to remand alleged the district court

lacked subject matter jurisdiction pursuant to 28 U.S.C. § 1441(a))

        In contrast, Defendants’ Notice of Removal provides a single sentence making the

conclusory claim that “the case is independently removable under the plain language of 28

U.S.C. § 1441(a)” and cites Lu Junhong without any analysis of the Seventh Circuit’s holding in

the matter. (Dkt. 1, pg.7, ¶ 9, 20). Moreover, Defendants’ only mention of the savings to suitors

clause comes in a truncated recitation of 28 U.S.C. § 1333(1) which states that Federal courts

“have original jurisdiction . . . of . . . [a]ny civil case of admiralty or maritime jurisdiction, saving

to suitors in all cases all other remedies to which they are otherwise entitled.” (Dkt. 1 pg.4).

Defendants make absolutely no attempt to argue or explain how this Court has subject-matter

jurisdiction over a savings to suitors clause maritime matter filed in state court, absent complete

diversity of the Defendants. Nor does the Notice provide any argument or explanation how Lu

Junhong purportedly does away with the savings to suitors clause and provides this Court subject

matter jurisdiction without complete diversity.




                                                   4
       Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 5 of 14 PageID #:421
           Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


          As a result, Defendants’ argument that this Court has subject matter jurisdiction over a

state court matter despite the savings to suitors clause and non-diversity defendants, should be

deemed waived as underdeveloped. Waiver aside, Defendants underdeveloped arguments on this

matter falls woefully insufficient to satisfy their burden of establishing federal jurisdiction. Doe

v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th Cir.1993) (Party seeking removal has the burden of

establishing federal jurisdiction, and federal courts should interpret the removal statute narrowly,

resolving any doubt in favor of the plaintiff's choice of forum in state court).

          Assuming arguendo, the Supreme Court has repeatedly held that “subject matter

jurisdiction, because it involves a court's power to hear a case, can never be forfeited or waived.”

Arbaugh v. Y & H. Corp., 546 U.S. 500, 514 (2006); quoting United States v. Cotton, 535 U.S.

625, 630 (2002); see also GE Betz, Inc. v. Zee Co., Inc. 718 F.3d 615, 625-26 (7th Cir. 2013)(“Of

course, a plaintiff may object to removal based on a jurisdictional defect at any time”).

Moreover, federal courts “have an independent obligation to determine whether subject matter

jurisdiction exists, even in the absence of a challenge from any party. Ruhrgas AG v. Marathon

Oil Co., 526 U.S. 574, 583, 119 S.Ct. 1563, 143 L.Ed.2d 760 (1999). Therefore, Plaintiff’s

argument that this Court lacks subject matter jurisdiction pursuant to the savings to suitors clause

absent diversity, is properly before the Court.

III.      Defendants’ argument that the Seventh Circuit’s decision in Lu Junhong somehow
          supplants the savings to suitors clause is fatally flawed.

          Defendants’ Response bemoans the fact that “Plaintiff makes no attempt to address Lu

Junhong in her Motions and makes no argument that admiralty jurisdiction is lacking in this

case”. (Dkt. 20 pg.6) 792 F.3d 805 (7th Cir. 2015). Plaintiff’s lack of analysis is not surprising

considering Defendants’ Notice only cited the Lu Junhong case twice and the Notice failed to

provide even a parenthetical, let alone a detailed analysis, explaining how the holding in Lu



                                                  5
    Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 6 of 14 PageID #:422
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


Junhong allows removal of a savings to suitors clause claim filed in state court, where the only

basis is admiralty jurisdiction. See Brown v. Porter, 149 F.Supp.3d 963, 970 (N.D. Ill. 2016)

(Feinerman J.) (In analyzing Lu Junhong, the court held “the [2011] amendment to § 1441(b) did

not disturb the settled principle that § 1331(1)'s saving-to-suitors clause allows a plaintiff to

forestall removal where the only basis for federal jurisdiction is the admiralty jurisdiction”).

       The Supreme Court has explained that the saving to suitors clause preserves a plaintiffs

right to a common law remedy “in all cases where the common law is competent to give

it.” Leon v. Galceran, 78 U.S. 185, 191 (1870). The common law is “competent” in cases

proceeding in personam but not those proceeding in rem. Madruga v. Superior Court of

California, 346 U.S. 556, 560-61 (1954). Thus, “while ‘federal courts have exclusive jurisdiction

over in rem actions, federal and state courts have concurrent jurisdiction over in

personam actions, and the effect of the [saving-to-suitors] clause is to give an in

personam plaintiff the choice of proceeding in an ordinary civil action, rather than bringing a

libel in admiralty.”’ In re Lockheed Martin Corp., 503 F.3d 351, 354 (4th Cir. 2007), cert.

denied, 553 U.S. 1017 (2008); quoting In re Chimenti, 79 F.3d 534, 537 (6th Cir. 1996)).

       In Lu Junhong, the Seventh Circuit noted that the plaintiffs had not even argued that the

savings to suitors clause applied, and thus the Court’s discussion of it was dicta by its own

admission. 792 F.3d at 379-380 (“Perhaps it would be possible to argue that the saving-to-

suitors clause itself forbids removal, without regard to any language in § 1441. But plaintiffs,

who have not mentioned the saving-to-suitors clause, do not make such an argument. We do not

think that it is the sort of contention about subject-matter jurisdiction that a federal court must

resolve even if the parties disregard it.”). According to Plaintiff’s research, the only District

Court within this Circuit to analyze the Lu Junhong opinion in the context of the savings to




                                                  6
    Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 7 of 14 PageID #:423
        Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


suitors clause is the Honorable Judge Gary Feinerman (Judge Feinerman). Brown v. Porter, 149

F.Supp.3d 963 (N.D. Ill. Feb. 2, 2016).

       In Brown, the plaintiff brought a personal injury action in Cook County against the

operator of a boat that had caused him injuries on Lake Michigan. Id. at 965. The defendant

removed the matter to federal court, claiming admiralty jurisdiction, and the plaintiff sought

remand, arguing that the “saving-to-suitors” clause of Section 1333(1) dictated remand to his

state venue. Id. The Brown court established that “because [the plaintiff] brought this suit in

personam against a person …, the state court has concurrent jurisdiction.” Id. at 968. The court

then evaluated whether that meant the “saving-to-suitors” clause would “prevent removal” and

undertook a detailed examination of the law on that point.

       The Brown court observed that “actions brought in state court under the ‘saving to

suitors’ clause are not generally removable … since the entire purpose of the clause was to give

claimants pursuing a common law remedy the ability to choose their forum.” Id. at 968; quoting

In re Chimenti, 79 F.3d 534, 538 (6th Cir. 1996). Section 1333 “provides a basis for federal

jurisdiction in in personam actions if the claimant so chooses, [but] provides no basis for

removal if the claimant does not so choose.” Id. at 969; quoting Chimenti, 79 F.3d at 537-38

(emphasis in original). In reaching that conclusion, the Sixth Circuit relied on Romero v.

International Terminal Operating Co., where the Supreme Court explained that:

   [T]he historic option of a maritime suitor pursuing a common-law remedy to select his
   forum, state or federal, would be taken away by an expanded view of § 1331, since
   saving-clause actions would then be freely removable under [28 U.S.C.] § 1441… By
   making maritime cases removable to the federal courts it would make considerable
   inroads into the traditionally exercised concurrent jurisdiction of the state courts in
   admiralty matters - a jurisdiction which it was the unquestioned aim of the saving clause
   of 1789 to preserve. 358 U.S. 354, 371-72 (1959)




                                                 7
      Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 8 of 14 PageID #:424
          Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207


         The Brown court noted that “an exception to this rule provides that a defendant may

remove an admiralty case if there is an independent basis for federal subject matter jurisdiction -

i.e., a basis other than admiralty, such as complete diversity of citizenship with the requisite

amount in controversy under 28 U.S.C. § 1332(a).” Brown, 149 F.Supp.3d at 969; citing

Chimenti, 79 F.3d at 538. Thus, the court held: “[G]iven [the plaintiff’s] election to proceed in

state court and his invocation of § 1333(1)’s saving-to-suitors clause, and also given the lack of

any alternative, non-admiralty ground for federal jurisdiction, [the plaintiff] may forestall

removal and insist upon a remand.” Brown, 149 F. Supp.3d at 973.

         The Brown court also rejected the defendants’ claim that the 2011 amendment to §

1441(b) or the Lu Junhong opinion rendered the above interpretation of the savings to suitors

clause obsolete when it came to federal jurisdiction. Id. at 969-70. The court concluded after

“[h]aving carefully reviewed the arguments both pro and con, this court agrees with the decisions

holding that the amendment to § 1441(b) did not disturb the settled principle that § 1331(1)'s

saving-to-suitors clause allows a plaintiff to forestall removal where the only basis for federal

jurisdiction is the admiralty jurisdiction.” Id. at 970.

         In the present case, Plaintiff clearly brought an in personam suit in state court against

Defendant Captain Kenneth L. Stubbs alleging he negligently operated the river towboat. (Dkt.

21 ¶¶ 12, 42-47). As a result, the state court has concurrent jurisdiction over Plaintiff’s in

personam action, and the effect of the [saving-to-suitors] clause is to give an in

personam plaintiff the choice of proceeding in an ordinary civil action, rather than bringing a

libel in admiralty.”’ In re Lockheed Martin Corp., 503 F.3d 351, 354 (4th Cir. 2007), cert.

denied, 553 U.S. 1017 (2008) (quoting In re Chimenti, 79 F.3d 534, 537 (6th Cir. 1996)).

IV.      Defendants lack complete diversity where defendant San Gabriel is an Illinois
         Citizen.



                                                   8
       Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 9 of 14 PageID #:425
           Case: 22-1511    Document: 4         Filed: 04/15/2022    Pages: 207



          Defendants’ lack complete diversity where Defendant Celio San Gabriel (San Gabriel)

was a citizen of Illinois and resident of the City of Chicago, County of Cook, at the time of the

incident. (Dkt. 16, Second Amended Complaint ¶ 3). As stated in Plaintiff’s Second Amended

Complaint, San Gabriel was the owner and operator of the open motorboat that Plaintiff and

Victor were traveling in at the time of the accident. (Dkt. 16 ¶ 25). Defendants’ Response does

not refute that San Gabriel was a citizen of Illinois, but instead makes several baseless attempts

to discount this fact by claiming his addition was either untimely or fraudulent. (Dkt. 20 p.12-

13).

          Defendants begin by arguing the “well-established general rule is that jurisdiction is

determined at the time of removal, and nothing filed after removal affects jurisdiction”. (Dkt. 20

pg.11-12); quoting In re Burlington N. Santa Fe Ry. Co., 606 F.3d 379, 380 (7th Cir. 2010).

However, the Supreme Court has explicitly held that “when a plaintiff files a complaint in

federal court and then voluntarily amends the complaint, courts look to the amended complaint

to determine jurisdiction”. Rockwell Intern. Corp. v. U.S., 549 U.S. 457, 473-74 (2007). In fact,

the Supreme Court in Rockwell cited the Seventh Circuit’s holding in Wellness Cmty which

stated “when considering a motion to remand, the amended complaint supersedes the original

one, and the original complaint has ‘no function in the case.’” Rockwell Intern. Corp, 549 U.S. at

473-74; citing Wellness Cmty—Nat'l v. Wellness House, 70 F.3d 46, 49 (7th Cir.1995); see also

Jass v. Prudential Healthcare Plan, Inc., 88 F.3d 1482, 1492 (7th Cir.1996)(The Court is to

determine federal jurisdiction solely based on the amended complaint).

          Undeterred, Defendants go on to claim “there can be no dispute that Plaintiff did not

move timely to remand on the basis of Defendant San Gabriel destroying complete diversity

within the 30-day deadline because San Gabriel was not a party until after the 30-day time period



                                                   9
    Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 10 of 14 PageID #:426
        Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


had expired”.2 (Dkt. 20 pg.12). In support, Defendants cite 28 U.S.C. Section 1447(c) which

states “a motion to remand the case on the basis of any defect other than lack of subject matter

jurisdiction must be made within 30-days after the filing of the notice of removal under section

1446(a).” Id. (emphasis provided). However, Defendants’ reliance on § 1446(a) is misplaced

where it explicitly states the 30-day deadline applies to defects “other than lack of subject matter

jurisdiction”. (emphasis added).

       As the Court is well aware, Plaintiffs’ amended Motion to remand arguing that San

Gabriel destroys diversity is a subject matter jurisdiction defect that is not subject to § 1446(a)’s

30-day deadline. See GE Betz, Inc. v. Zee Co., Inc. 718 F.3d 615, 625-26 (7th Cir. 2013)(The

Seventh Circuit examined § 1446(a)’s 30-day deadline and emphasized that it applied to

statutory, not jurisdictional defects. The Court reiterated “[o]f course, a plaintiff may object

to removal based on a jurisdictional defect at any time”); see also See Ruhrgas AG v. Marathon

Oil Co., 526 U.S. 574, 583, 119 S.Ct. 1563, 143 L.Ed.2d 760 (1999) (reminding that “subject-

matter delineations must be policed by the courts on their own initiative even at the highest

level”). Therefore, Defendants’ claim that Plaintiff’s addition of San Gabriel as a Defendant is

untimely and barred by § 1447(c) is clearly erroneous.

VI.    The Court properly granted Plaintiff leave to amend and join a non-diverse
       Defendant.

       Defendants’ claim that Plaintiff fraudulently joined San Gabriel as a defendant is the

height of hypocrisy considering their answer to Plaintiff’s original complaint clearly blamed him

for the accident. In particular, Defendant provided numerous allegations against San Gabriel in

their Answer filed August 6, 2021, claiming it was his failure to “follow mandatory navigation


2
 Plaintiff would add that her motion for leave to file a Second Amended Complaint adding San Gabriel as
a defendant was filed on August 23, 2021, the same day she filed her motion to remand. (Dkt. 11 pg.1-6;
Dkt. 13).


                                                  10
   Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 11 of 14 PageID #:427
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


rules, overload their vessels with occupants and weight as Plaintiff’s vessel unfortunately did in

this case, and other operate their vessel in an unsafe manner”. (Dkt. 9, Defendants’ Answer ¶

19). Defendants further asserted an affirmative defense claiming that Victor’s injury and death

“were caused in whole by third-parties”, namely San Gabriel. (Dkt. 9 pg.16 ¶ 2). Finally,

Defendants’ Answer to Plaintiff’s Second Amended Complaint maintained the allegations

against San Gabriel asserted in their original answer, and in fact, filed a “Cross-Claim” against

San Gabriel claiming he overloaded the pleasure craft, failed to maintain a proper lookout, failed

to maintain proper speed and operated the pleasure craft in an “unsafe manner”. (Dkt. 19,

Defendants’ Answer to Second ACAL pg.23 ¶ 8). In reality, Defendants are the ones who have

“attempt[ed] to manipulate jurisdiction” by not filing a counter-claim against an indispensable

party they were aware of, and claimed was at fault for Victor’s drowning. Defendants clearly

intended not to name San Gabriel until after the Court decided on the issue of complete diversity,

the parties had engaged in significant discovery and then issue a cross-claim against him at the

last possible moment.

       The Seventh Circuit’s ruling in Schur v. L.A. Weight Loss Centers, Inc. provides further

clarity on the issue. 577 F.3d 752 (7th Cir. 2009). In Schur, the plaintiff brought a wrongful

death claim against L.A. Weight Loss Centers Inc. (L.A.) in Illinois state court, which L.A.

removed to the Southern District of Illinois based on diversity of citizenship. Id. at 756; see

Schur v. L.A. Weight Loss Centers, Inc., 2007 WL 685703 *1 (S.D. Ill. March 5, 2007). The

Plaintiff, having already amended their complaint once in federal court, sought leave to file a

Second Amended Complaint naming two employees of the L.A. as individual defendants. Id. at

756; Schur, 2007 WL 685703 at *2. Plaintiff subsequently filed a motion to remand the matter

based on a lack of diversity nearly seventeen months after the original complaint was filed. Id. 2.




                                                11
   Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 12 of 14 PageID #:428
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


         The Seventh Circuit began its analysis by stating that “[w]hen joinder of a nondiverse

party would destroy subject matter jurisdiction, 28 U.S.C. § 1447(e) applies and provides the

district court two options: (1) deny joinder, or (2) permit joinder and remand the action to state

court”. Id. at 759; citing Jass v. Prudential Health Care Plan, Inc., 88 F.3d 1482, 1486 (7th

Cir.1996). The Court clarified those “are the only options; the district court may not permit

joinder of a nondiverse defendant and retain jurisdiction”. (emphasis in original) Id.; citing

David D. Siegel, Commentary on 1988 Revision of Section 1447, in 28 U.S.C.A. § 1447 (2009)

(noting that Congress rejected an approach permitting a court to allow joinder and retain the

case).

         In addressing the district court’s finding of fraudulent joinder, the Court stated the

following:

   Fraudulent joinder is difficult to establish—a defendant must demonstrate that, after
   resolving all issues of fact and law in favor of the plaintiff, the plaintiff cannot establish a
   cause of action against the in-state defendant. ... Framed a different way, the district court
   must ask whether there is any reasonable possibility that the plaintiff could prevail
   against the non-diverse defendant. ... A defendant faces a heavy burden to demonstrate
   that the joinder is fraudulent, ... and some courts, including district courts within this
   circuit, have suggested that the burden is even more favorable to the plaintiff than the
   standard that applies to a motion to dismiss under Federal Rule of Civil Procedure
   12(b)(6).... In conducting this analysis, a district court must turn to state law to determine
   whether the plaintiff has any reasonable possibility of success Schur, 577 F.3d
   at 764 (citations and internal quotation marks omitted).

         In the present case, Plaintiff filed her motion for leave to amend and her motion to

remand on the same day and attached her proposed Second Amended Complaint. Plaintiff’s

motion for leave and Second Amended Complaint not only identified San Gabriel as the added

defendant, but clearly stated that he was a citizen of Illinois. In response, Defendants failed to

object and the Court properly granted leave. Therefore, this Court’s joinder of San Gabriel

destroys diversity and requires the Court to relinquish jurisdiction. Jass, 88 F.3d at 1486 (The




                                                 12
   Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 13 of 14 PageID #:429
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


Court clarified those “are the only options; the district court may not permit joinder of a

nondiverse defendant and retain jurisdiction”) (emphasis in original). 28 U.S.C. § 1447(e)

applies and provides the district court two options: (1) deny joinder, or (2) permit joinder and

remand the action to state court”. Id. at 759; citing Jass v. Prudential Health Care Plan, Inc., 88

F.3d 1482, 1486 (7th Cir.1996). The Court clarified those “are the only options; the district court

may not permit joinder of a nondiverse defendant and retain jurisdiction”. (emphasis in original)

Id.; citing David D. Siegel, Commentary on 1988 Revision of Section 1447, in 28 U.S.C.A. §

1447 (2009) (noting that Congress rejected an approach permitting a court to allow joinder and

retain the case).

        Plaintiff was also not dilatory in requesting amendment, where she sought leave to file

her Second Amended Complaint naming San Gabriel on the same day she filed her motion to

remand. (Dkt. 11, 13). Finally, there is no question that Plaintiff has a “reasonable possibility of

success” in her claim against San Gabriel. How could the Defendants argue otherwise where

their entire defense rests on his alleged negligence? Therefore, the Court should reject

Defendants’ argument that Plaintiff fraudulently joined San Gabriel.

VII.    Defendants have failed to satisfy their burden to establish diversity as to Defendants
        Lehigh Hanson Services LLC.

        As stated in Plaintiff’s Motion to remand, Defendants have utterly failed to satisfy their

burden as to the citizenship of Defendant Lehigh Hanson Services LLC. (“Lehigh”) and Material

Service Corporations (“Material”). In regard to Lehigh, limited liability companies citizenship is

determined by the citizenship of its “members.” See Americold Realty Trust v. Conagra Foods,

Inc., 577 U.S. 378, 381–82 (2016); see e.g., Carden v. Arkoma Associates, 494 U.S. 185, 195-96

(1990) (citizenship of a partnership is that of every partner or member, limited as well as

general). The only way to determine citizenship for diversity purposes is to look at the individual



                                                 13
   Case: 1:21-cv-03936 Document #: 29 Filed: 11/05/21 Page 14 of 14 PageID #:430
       Case: 22-1511     Document: 4         Filed: 04/15/2022   Pages: 207


partners—an analytical path repeatedly endorsed by the Supreme Court. See, e.g., Lincoln Prop.

Co. v. Roche, 546 U.S. 81 (2005). In response, Defendants merely provide an affidavit stating

“Lehigh Hanson, Inc. is the sole member and owner of Lehigh Hanson Services LLC.” (Dkt. 20,

pg.10). As clearly indicated by the precedent detailed above, Defendants are required to detail

the citizenship of all partners, limited partners and members. See. Cosgrove v. Bartolotta, 150

F.3d 729, 731 (7th Cir. 1998). Defendants refusal to provide that information and woeful

response is exactly the type of conduct that led to dismissal for want of jurisdiction in Guaranty

National Title Co. v. J.E.G. Associates.101 F.3d 57 (7th Cir.1996) (Failure to go through all the

layers can result in dismissal for want of jurisdiction)

                                          CONCLUSION

       Wherefore, for these reasons, Plaintiff, Mariana M. Ochoa as Independent Administrator

of the Estate of Victor Lobato Ochoa, deceased, respectfully request this Honorable Court grant

Plaintiffs’ Motion to Remand to State Court pursuant to 28 USC 1447(e).



                                               Respectfully Submitted,

                                               MARIANA M. OCHOA

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                                                 14
